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                         Exhibit A
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  (12) United States Patent                                                           (10) Patent No.:                  US 7,761,185 B2
         Wang et al.                                                                  (45) Date of Patent:                            Jul. 20, 2010
  (54) REMOTE PRESENCE DISPLAY THROUGH                                                  5,341,854    A     8, 1994   Zezulka et al.
          REMOTELY CONTROLLED ROBOT                                                     5,374,879    A    12/1994    Pinet al.
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  (75) Inventors: Yulun Wang, Goleta, CA (US); Charles                                  5,486,853.   A     1/1996    Baxter et al.
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                         Marco Pinter, Santa Barbara, CA (US);
                         Michael C. Chan, Santa Barbara, CA                             5,544,649    A     8, 1996   David et al.
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                 (US)                                                                                        (Continued)
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                         patent is extended or adjusted under 35                 CA                   22.89697 A1     11, 1998
                         U.S.C. 154(b) by 960 days.
  (21) Appl. No.: 11/542,912
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                                                                                                      OTHER PUBLICATIONS
  (65)                       Prior Publication Data
          US 2008/OO82211 A1                Apr. 3, 2008                         Baltus et al., “Towards Personal Service Robots for the Elderly”,
                                                                                 Computer Science and Robotoics.
  (51) Int. Cl.                                                                                           (Continued)
          G05B I5/00                    (2006.01)
  (52) U.S. Cl. ...................................................... 700/259   Primary Examiner Kim T Nguyen
  (58) Field of Classification Search ................. 700/245,                 (74) Attorney, Agent, or Firm Ben J. Yorks: Irell & Manella
                        700/248 249, 257, 259; 901/1, 46–47                      LLP
          See application file for complete search history.
                                                                                 (57)                       ABSTRACT
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                                                                                 A robot system that includes a robot and a remote station. The
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                                                         US 7,761,185 B2
                                  1.                                                                     2
            REMOTE PRESENCE DISPLAY THROUGH                                  FIG. 8 is a display user interface showing the highlighted
              REMOTELY CONTROLLED ROBOT                                    portion of the second screen transferred to the first screen;
                                                                             FIG. 9 is a display user interface showing the highlighted
              BACKGROUND OF THE INVENTION                                  portion of the screen shared with the robot monitor;
                                                                             FIG. 10 is a display user interface showing a live robot
      1. Field of the Invention                                            camera feed;
     The Subject matter disclosed generally relates to a system              FIG. 11 is a display user interface showing a live remote
   and method to provide patient consultation by a physician.              station camera feed.
     2. Background Information
                                                                      10
     There has been marketed a mobile robot introduced by                                  DETAILED DESCRIPTION
   InTouch-Health, Inc., the assignee of this application, under
   the trademarks COMPANION, RP-6 and RP-7. The InTouch                      Disclosed is a robot system that includes a robot and a
   robot is controlled by a user at a remote station. The remote           remote station. The robot and remote station contain moni
   station may be a personal computer with a joystick that allows          tors, cameras, speakers and microphones that allow for two
   the user to remotely control the movement of the robot. Both       15
                                                                           way videoconferencing between a physician at the remote
   the robot and remote station have cameras, monitors, speak              station and a patient in the vicinity of the robot. The system
   ers and microphones to allow for two-way video/audio com                also includes a patient monitor that displays patient informa
   munication.                                                             tion Such as an X-ray. The patient monitor can be seen by the
      The InTouch robot has been used by physicians to remotely            patient, and by the physician through the robot camera. The
   view and communicate with patients in healthcare facilities.            system allows for a physician to remotely review the medical
   The robot monitor displays an image of the doctor to create a           information with the patient.
   tele-presence of the physician. A doctor can move the robot                Referring to the drawings more particularly by reference
   from room to room of the facility to provide consultation and           numbers, FIG. 1 shows a system 10. The robotic system
   care for the patient. The cameras, monitors, speakers and               includes a robot 12, a base station 14 and a remote control
                                                                      25
   microphones of the robot and remote station allow the phy               station 16. The remote control station 16 may be coupled to
   sician to communicate with the patient through speech and               the base station 14 through a network 18. By way of example,
   visual images.                                                          the network 18 may be either a packet switched network such
      It is sometimes desirable to review medical information              as the Internet, or a circuit switched network such has a Public
   with the patient. For example, it may be desirable to review an    30   Switched Telephone Network (PSTN) or other broadband
   X-ray with a patient while providing consultation through the           system. The base station 14 may be coupled to the network 18
   tele-presence robot. The medical information can be provided            by a modem 20 or other broadband network interface device.
   to the patient by a medical assistant who is present at the             By way of example, the base station 14 may be a wireless
   remote patient location. This requires that the assistant be            router. Alternatively, the robot 12 may have a direct connec
   present in the room. Alternatively, the robot monitor can          35   tion to the network thru for example a satellite.
   display the medical information. Unfortunately, when the                   The remote control station 16 may include a computer 22
   information is displayed by the robot monitor the physicans             that has a monitor 24, a camera 26, a microphone 28 and a
   Video image is no longer displayed and the robot does not               speaker 30. The computer 22 may also contain an input device
   provide a tele-presence of the doctor. It would be desirable to         32 Such as a joystick or a mouse. The control station 16 is
   provide a system that allows a mobile robot to project a           40   typically located in a place that is remote from the robot 12.
   presence of a physician while reviewing medical information             Although only one remote control station 16 is shown, the
   of a patient without requiring a medical assistant.                     system 10 may include a plurality of remote stations. In
             BRIEF SUMMARY OF THE INVENTION                                general any number of robots 12 may be controlled by any
                                                                           number of remote stations 16 or other robots 12. For example,
                                                                      45   one remote station 16 may be coupled to a plurality of robots
     A robot system that includes a remote station coupled to a            12, or one robot 12 may be coupled to a plurality of remote
   mobile robot. The mobile robot has a robot monitor that
   displays an image captured by a remote station camera. Like             stations 16, or a plurality of robots 12.
   wise, the remote station has a monitor that displays an image              Each robot 12 includes a movement platform 34 that is
   captured by a robot camera. The system further includes a               attached to a robot housing 36. Also attached to the robot
   patient monitor that displays patient information that can be      50   housing 36 area camera38, a monitor 40, a microphone(s) 42
   captured by the robot camera.                                           and a speaker(s) 44. The microphone 42 and speaker 30 may
                                                                           create a stereophonic Sound. The robot 12 may also have an
            BRIEF DESCRIPTION OF THE DRAWINGS                              antenna 46 that is wirelessly coupled to an antenna 48 of the
                                                                           base station 14. The system 10 allows a user at the remote
     FIG. 1 is an illustration of a robotic system;                   55   control station 16 to move the robot 12 through operation of
                                                                           the input device 32. The robot camera 38 is coupled to the
     FIG. 2 is an illustration of the robotic system being used to         remote monitor 24 So that a user at the remote station 16 can
   provide physician consultation to a patient;                            view a patient. Likewise, the robot monitor 40 is coupled to
     FIG. 3 is a schematic of an electrical system of a robot;             the remote camera 26 so that the patient may view the user.
     FIG. 4 is a further schematic of the electrical system of the    60   The microphones 28 and 42, and speakers 30 and 44, allow for
   robot;                                                                  audible communication between the patient and the user. The
      FIG. 5 is a display user interface of a remote station having        monitor 40 and camera 38 may move together in two degrees
   a first screen field and a second screen field;                         of freedom such as pan and tilt.
      FIG. 6 is a display user interface showing a first screen               The remote station computer 22 may operate Microsoft OS
   field;                                                             65   software and WINDOWSXP or other operating systems such
     FIG. 7 is a display user interface showing a portion of the           as LINUX. The remote computer 22 may also operate a video
   second screen field being highlighted;                                  driver, a camera driver, an audio driver and a joystick driver.
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   The video images may be transmitted and received with com               have a separate antennae to receive the wireless signals from
   pression software such as MPEG CODEC.                                   the medical monitoring device.
      The system 10 includes a patient monitor 50 that can dis               The controller 64 may operate with a LINUXOS operating
   play patient information. The patient monitor 50 is typically           system. The controller 64 may also operate MS WINDOWS
   located within a patient's room at a healthcare facility. The           along with video, camera and audio drivers for communica
   patient monitor 50 can be any type of device that can display           tion with the remote control station 16. Video information
   graphics, video images and text. By way of example, the                 may be transceived using MPEG CODEC compression tech
   patient monitor 50 may be a CRT monitor, flat screen, or a              niques. The Software may allow the user to send e-mail to the
   laptop computer.
      The remote station 16 and patient monitor 50 may be             10   patient and vice versa, or allow the patient to access the
   coupled to a server 52 through the network 18. The server 52            Internet. In general the high level controller 60 operates to
   may contain electronic medical records of a patient. By way             control communication between the robot 12 and the remote
   of example, the electronic medical records may include writ             control station 16.
   ten records of treatment, patient history, medication informa              The high level controller 60 may be linked to the low level
   tion, a medical image. Such as an X-ray, MRI or CT scan,           15   controller 62 by serial ports 86 and 88. The low level control
   EKGs, laboratory results, physician notes, etc. The medical             ler 62 includes a processor 90 that is coupled to a RAM device
   records can be retrieved from the server 52 and displayed by            92 and non-volatile RAM device 94 by a bus 96. Each robot
   the patient monitor 50. The remote station 16 may allow the             12 contains a plurality of motors 98 and motor encoders 100.
   physician to modify the records and then store the modified             The motors 98 can activate the movement platform and move
   records back in the server 52. Although a server 52 is shown            other parts of the robot such as the monitor and camera. The
   and described, it is to be understood that the information may          encoders 100 provide feedback information regarding the
   be transferred directly from the remote station 16 to the               output of the motors 98. The motors 98 can be coupled to the
   patient monitor 50 without the server 52. Although a medical            bus 96 by a digital to analog converter 102 and a driver
   application is described, it is to be understood that the system        amplifier 104. The encoders 100 can be coupled to the bus 96
   may be used in a non-medical application. For example, the         25   by a decoder 106. Each robot 12 also has a number of prox
   monitor can be a computer monitor at an office or home, and             imity sensors 108 (see also FIG. 1). The position sensors 108
   the information can be business or personal in nature.                  can be coupled to the bus 96 by a signal conditioning circuit
      As shown in FIG. 2, the system allows a physician to                 110 and an analog to digital converter 112.
   review medical information with a patient. The robot 12 dis               The low level controller 62 runs software routines that
   plays an image of the physician so that the physician’s pres       30   mechanically actuate the robot 12. For example, the low level
   ence is projected into a patient’s room. The patient monitor 50         controller 62 provides instructions to actuate the movement
   displays medical information that can be reviewed by the                platform to move the robot 12. The low level controller 62
   patient. The robot camera 38 allows the physician to see the            may receive movement instructions from the high level con
   patient and to view the medical information displayed by the            troller 60. The movement instructions may be received as
   patient monitor 50. By way of example, the patient monitor         35   movement commands from the remote control station or
   50 can display an X-ray of the patient and the physician can            another robot. Although two controllers are shown, it is to be
   discuss the X-ray with the patient through the two-way video            understood that each robot 12 may have one controller, or
   conferencing function of the system. The system may also                more than two controllers, controlling the high and low level
   allow the physician to highlight features of the X-ray with a           functions.
   tele-strating function.                                            40
                                                                              The various electrical devices of each robot 12 may be
     FIGS. 3 and 4 show an embodiment of a robot 12. Each                  powered by a battery(ies) 114. The battery 114 may be
   robot 12 may include a high level control system 60 and a low           recharged by a battery recharger station 116. The low level
   level control system 62. The high level control system 60 may           controller 62 may include a battery control circuit 118 that
   include a processor 64 that is connected to a bus 66. The bus           senses the power level of the battery 114. The low level
   is coupled to the camera 38 by an input/output (I/O) port 68,      45
                                                                           controller 62 can sense when the power falls below a thresh
   and to the monitor 40 by a serial output port 70 and a VGA              old and then send a message to the high level controller 60.
   driver 72. The monitor 40 may include a touchscreen function               The system may be the same or similar to a robotic system
   that allows the patient to enter input by touching the monitor          provided by the assignee InTouch-Health, Inc. of Santa Bar
   SCC.
      The speaker 44 is coupled to the bus 66 by a digital to         50   bara, Calif. under the name RP-6 or RP-7, which is hereby
   analog converter 74. The microphone 42 is coupled to the bus            incorporated by reference. The system may also be the same
   66 by an analog to digital converter 76. The high level con             or similar to the system disclosed in application Ser. No.
   troller 60 may also contain random access memory (RAM)                  10/206,457 published on Jan. 29, 2004, which is hereby
   device 78, a non-volatile RAM device 80 and a mass storage              incorporated by reference.
   device 82 that are all coupled to the bus 72. The mass storage     55      FIG.5 shows a visual display 120 of the remote station. The
   device 82 may contain medical files of the patient that can be          visual display 120 displays a first screen field 122 and a
   accessed by the user at the remote control station 16. For              second screenfield 124. The two screen fields may be created
   example, the mass storage device 82 may contain a picture of            by two different monitors. Alternatively, the two screenfields
   the patient. The user, particularly a health care provider, can         may be displayed by one monitor. The first and second screen
   recall the old picture and make a side by side comparison on       60   fields 122 and 124 may be part of an application program(s)
   the monitor 24 with a present video image of the patient                stored and operated by the computer 22 of the remote station
   provided by the camera 38. The robot antennae 46 may be                 16.
   coupled to a wireless transceiver 84. By way of example, the               FIG. 6 shows a first screen field 122. The first screen field
   transceiver 84 may transmit and receive information in accor            122 may include a robot view field 126 that displays a video
   dance with IEEE 802.11b. The transceiver 84 may also pro           65   image captured by the camera of the robot. The first field 122
   cess signals from the medical monitoring device in accor                may also include a station view field 128 that displays a video
   dance with IEEE also known as Bluetooth. The robot may                  image provided by the camera of the remote station. The first
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                                                          US 7,761,185 B2
                                   5                                                                 6
   field 122 may have a capture button 130 that can be selected        arrangements shown and described, since various other modi
   to move at least a portion of the record field 124 into the robot   fications may occur to those ordinarily skilled in the art.
   view field 126.                                                       What is claimed is:
      As shown in FIGS. 7 and 8, the highlighted portion 132 of          1. A medical system for a patient, comprising:
   the second screen 124 may be copied to the robot view field 5         a patient monitor that displays patient information;
   126. By way of example, a graphical rectangle may be drawn            a mobile robot that has a robot monitor, and a robot camera
   around a portion of the second field through manipulation of             that captures an image, said robot camera being capable
   amouse. The ability to create the rectangle may be enabled by            of viewing the patient and said patient monitor, and
   the selection of the capture button 130. The highlighted por 10       a remote station that is coupled to said mobile robot, said
                                                                            remote station includes a remote station monitor that
   tion of the second screen 132 may automatically populate the             displays the image captured by said robot camera and a
   robot view field 126 when the rectangle is completed by the              remote station camera that captures an image that is
   USC.                                                                     displayed by said robot monitor.
     As shown in FIG. 9, the first screen field 122 may have a           2. The system of claim 1, further comprising a server that is
   share button 134 that transfers the contents of the robot image 15 coupled to said remote station and said patient monitor and
   field to the robot monitors. In this manner, the user can trans-    provides said patient information.
   fer the highlighted portion of the second screen field to the         3. The system of claim 1, wherein said patient information
   robot monitor. The transferred robot field contents are also        is displayed by said remote station monitor.
   displayed in the station view field 128. The user can switch          4. The system of claim 1, further comprising a broadband
   back to a live feed from the robot camera by Selecting the live 20 network that is coupled to said remote station and said mobile
   button 136, as shown in FIG. 10. Likewise, the robot monitor        robot.
   may display a live feed of the remote station operator by       5. The system of claim 1, wherein said robot monitor and
   selecting the live button 138, as shown in FIG. 11.           said robot camera move together in at least one degree of
      Referring to FIG. 6, the field 122 may have a button 144   freedom.
   that can be selected to transfer the contents of the second 25 6. The System of claim 1, wherein said patient information
   screen field 124 to the patient monitor 50. The system may          includes a medical image.
   provide the ability to annotate the image displayed in field          7. A method for interacting with a patient, comprising:
   126 and/or 128. For example, a doctor at the remote station           moving a mobile robot that has a camera to view a patient
   may annotate some portion of the image captured by the robot             and a patient monitor;
   camera. The annotated image may be stored by the system. 30           displaying patient information on the patient monitor, and,
   The system may also allow for annotation of images sent to               conducting a two-way video conference between the
   the patient monitor 50 through the button 140. For example, a            patient, and a medical personnel at a remote station that
   doctor may send a medical image, such as an X-ray, MRI or                controls movement of the robot.
   CT scan to the patient monitor. The medical image is dis-             8. The method of claim 7, wherein the patient information
   played by the patient monitor 50. The doctor can annotate the 35 is provided by the remote station.
   medical image to point out a portion of the medical image to      9. The method of claim 7, wherein the patient information
   personnel located at the robot site. This allows the doctor to is provided by a server.
   review the information with the patient as shown in FIG. 2.       10. The method of claim 7, wherein the patient information
      The second screen field may display a variety of different is displayed by a remote station monitor.
   applications. For example, the second field 124 may display 40 11. The method of claim 7, further comprising transmitting
   patient records, a medical image, etc. By way of example, the       robot control commands from the remote station to the
   record field 124 may be a medical records program provided
   by Global Care Quest Corp. of Los Angeles, Calif.
                                                                       mobile robot through abroadband network.
                                                                         12. The method of claim 7, further comprising moving
     While certain exemplary embodiments have been 45 together  degree
                                                                        a robot camera and a robot monitor in at least one
                                                                       of freedom.
   described and shown in the accompanying drawings, it is to
   be understood that such embodiments are merely illustrative includes a method
                                                                  13. The
                                                                           medical
                                                                                  of claim 7, wherein the patient information
                                                                                   image.
   of and not restrictive on the broad invention, and that this
   invention not be limited to the specific constructions and                                  k   .   .   .   .
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                         Exhibit B
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                                                                                               US010471588B2

           United States Patent                                            ( 10 ) Patent No.: US 10,471,588 B2
           Wright et al.                                                   (45 ) Date of Patent:   Nov. 12 , 2019
   ( 54 ) ROBOTIC BASED HEALTH CARE SYSTEM                            (58 ) Field of Classification Search
                                                                            USPC ............ 700/259 , 245 ; 901/47 , 1 ; 348 / 14.01 ,
   ( 75 ) Inventors: Timothy C. Wright, Santa Barbara , CA                                        348 / 14.03 , 14.08 ; 455 / 3.03 , 419
                     (US ); Fuji Lai, Goleta , CA (US );                    See application file for complete search history .
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                    patent is extended or adjusted under 35
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                      Related U.S. Application Data                   Primary Examiner George C Monikang
   (63) Continuation of application No. 12/082,953, filed on          (57)                   ABSTRACT
        Apr. 14 , 2008 , now Pat. No. 8,179,418 .
                                                                      A robotic system that can be used to treat a patient. The
   (51) Int. Ci.                                                      robotic system includes a mobile robot that has a camera .
             A61B 34/00                    (2016.01)                   The mobile robot is controlled by a remote station that has
             B25J 9/00                    (2006.01)                   a monitor. A physician can use the remote station to move
             B25J 9/16                     ( 2006.01 )                the mobile robot into view of a patient. An image of the
             B25 ) 19/02                  ( 2006.01)                  patient is transmitted from the robot camera to the remote
             GOOF 19/00                   ( 2018.01)                  station monitor. A medical personnel at the robot site can
             G060 50/22                   (2018.01 )                  enter patient information into the system through a user
                                   ( Continued )                      interface . The patient information can be stored in a server.
   (52 ) U.S. CI.                                                      The physician can access the information from the remote
             CPC             B25J 9/0003 (2013.01 ); B25J 9/1689      station . The remote station may provide graphical user
                         (2013.01 ); B25 ) 19/023 ( 2013.01 ); G06F   interfaces that display the patient information and provide
                        19/3418 (2013.01); G06Q 50/22 (2013.01 );     both a medical tool and a patient management plan .
                     G06Q 50/24 (2013.01); G16H 40/63 (2018.01 )                      7 Claims, 8 Drawing Sheets

                                                                                    Records                n
                                                                                     Server
                42                                                                    -50
                38                                                                                                    26
                              46               48                        -10                               | 28
           40                                                                                                                    -24
                                                                                                               16 .
                                                         -14   -20                                                               30
                                                                                    Network
                                    12                                                -18

                                                                                                                            22         32




                                                                       4
           44
      | 36                                                            Image
                                                                      Server
                                                                       -54
                                         52
                                                                 L                  Registry
      1198
                OOR                  -34
                                                                                     Server
                                                                                      -56
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                    Records Server-50                             Network -18                                 RegistryServer-56
                                              -10                                                Image Server-54
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            FIG
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           -60
                                                 RAM -78      NVRAM -80                             SPeoriatl -86         LDISC -82         Wirels Transceivr -84
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                  CPU -64


      LHighevel   Contrle             P1o3r9t4 -68            PSeoriatl -70                         VGADriver -72
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                                   Sensor -108          Encoders -10          Mot rs -98                    RechargeStaion -1 6
      -62                             Condit ng
                                  Signal -1 0
                                                                              AMP -104                        Bat ery -1 4

                                   D
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                                            -1 2          Decoder -106        A
                                                                              /
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                                                                                     -102                   Bat eryControl -1 8
                                                   96


                        CPU -90


      Level
      -
      Low
              Contrle                      RAM -92                       NVRAM -94          SPeoriatl -88


                 3
                 .
                 FIG
                                                                                            High
                                                                                            Level
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   U.S. Patent                                                                                                       Nov. 12 , 2019                                         Sheet 4 of 8                                                         US 10,471,588 B2



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Case 1:99-mc-09999 Document 1144-1 Filed 10/12/20 Page 33 of 300 PageID #: 114897


   U.S. Patent                                                             Nov. 12 , 2019                      Sheet 5 of 8                                     US 10,471,588 B2

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Case 1:99-mc-09999 Document 1144-1 Filed 10/12/20 Page 34 of 300 PageID #: 114898


   U.S. Patent              Nov. 12 , 2019                   Sheet 6 of 8                      US 10,471,588 B2

                                                172          174             176
               ADVANCED CONTROLS
                   Start        Patient Info             NIHSS          t -PA            Summary
                 Last Name: KANE                          First Name: JESSAMINE                         3:00:00

                        MRN : 3012296873                         Age: 75                           HR        90
      170
                                                                                                   BP      120/80
                     Gender : FEMALE                         Weight: 50.50         Kgs             NHSS       3

                   Patient History :                      Heart Rate : 90                          View Images
                           Diabetes

                                               178

                                                                                                    FIG . 6




                                                              174
               ADVANCED CONTROLS
                   Start        Patient Info            NIHSS           t-PA             Summary
                                     MIH Stroke Scale :                                                 3:00:00
               Level of Consciousness : Please Select :
                                        Please Select :                                            HR        84
      180             MOC Questions : 10 = Alert                                                   BP      130/90
                                        1 = Not alert
                                                                                                   NHSS
                     LOC Commands : 2 = Not responsive
                           Best Gaze : Please Select :                                             View Images


                                                                            182

                                                                                                    FIG , 7
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                                                                       176           194
              ADVANCED CONTROLS
                 Start      Patient Info         NIHSS             t-PA           Summary
                 Patient Weight: 77.7         Kgs      Total Dose ;                 Mg            3:00:00
                                                                                                              -196
                Dosage Options:            192        Bolus Dose :                  Mg       HR        84
    190                  0.9 mg/ kg O                   (administered IVP over 1 minute )
                          0.6 mg/kg O                      198                               BP      130/90
                                                    Infusion Date :                  Mg      NHSS
                     Calculate          200                (to infuse over 60 minutes)                        202
                     Print Oder                                                              View Images



                                                                                              FIG , 8
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   U.S. Patent                                                                                                                                                     Nov. 12 , 2019                                                                                    Sheet 8 of 8                                                                                                     US 10,471,588 B2

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                                                        US 10,471,588 B2
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       ROBOTIC BASED HEALTH CARE SYSTEM                                       FIG . 3 is a further schematic of the electrical system of the
                                                                           robot;
              CROSS -REFERENCE TO RELATED                                    FIG . 4 is a graphical user interface of a user interface ;
                          APPLICATION                                         FIG . 5 is a graphical user interface at a remote station ;
                                                                       5      FIG . 6 is a graphical user interface at the remote station ;
     This is a continuation of U.S.application Ser. No. 12/082,               FIG . 7 is a graphical user interface when a NIHSS tab is
   953 filed Apr. 14 , 2008 now U.S. Pat. No. 8,179,418 .                  selected ;
            BACKGROUND OF THE INVENTION                                       FIG . 8 is a graphical user interface displayed when a t-PA
                                                                           table is selected
     1. Field of the Invention                                        10      FIG.9 is a graphical user interface displayed when a view
       The subjectmatter disclosed generally relates to the fields         images button is selected .
   of health care and robotics.
      2. Background Information                                                              DETAILED DESCRIPTION
       The increasing complexity of healthcare and resulting
  clinical specialization is causing fragmentation ofcare com- 15 Disclosed is a robotic system that can be used to treat a
  promising patientsafety and hospital efficiency . There is the patient. The robotic system includes a mobile robot that has
  need for availability of clinical specialist expertise to cut a camera . The mobile robot is controlled by a remote station
  across time and space as well as the need for standardization that has a monitor. A physician can use the remote station to
  and dissemination of best practices and protocols for optimal move the mobile robot into view of a patient. An image of
  quality of care for citizens regardless of where they live. 20 the patient is transmitted from the robot camera to the
      The need for clinical specialist expertise is especially remote station monitor. A medical personnel at the robot site
  acute in the diagnosis , and treatment of stroke whereby can enter patient information into the system through a user
   immediate access to expertise and interdisciplinary commu interface. The patient information can stored in a server. The
  nication and collaboration is key . Stroke is the second cause physician can access the information from the remote sta
  of death worldwide and the third leading cause of death in 25 tion . The remote station may provide graphical user inter
  the United States. Recent development of several new                     faces that display the patient information and provide a
  therapies including tPA and neuro -endovascular procedures medical                 tool. By way of example , the remote station may
  such as coiling offers real hope to change the once bleak
  prognosis for stroke victims. However, these new therapies present               to the user a NIHSS questionnaire to determine the
   are notwidely available . Nationally , fewer than 5 % of stroke severity of a stroke. The graphical user interfaces may
  victims   are receiving any sort of treatment compared with 30 include            an interface that provides a patientmanagement plan
                                                                           such as a calculated dosage. The medical tool and dosage
   leading stroke centers where approximately 25 % of victims can               be transmitted to the user interface so that this infor
  are treated .Most community hospitals do not have the basic mation                can be viewed by medical personnel in physical
  patient   assessment  capability  in  place    on a  24/7  basis  nor
  have they established the appropriate ED treatment proto proximity to the patient. The system allows a clinical
  cols. Additionally , only a very few hospitals have the spe- 35 specialist to remotely observe and treat a patient. This is
  cialists on staff required for neuro -endovascular procedures . particularly advantageous when treating stroke patients ,
   Therefore stroke patients are either immediately transferred where time is critical.
  without proper evaluation or go untreated .                                 Referring to the drawings more particularly by reference
      A major challenge in delivering stroke care relates to the numbers, FIG . 1 shows a robotic system 10. The robotic
  time elements of stroke. The adage “ time is brain ” is often 40 system 10 includes one or more robots 12. Each robot 12 has
  heard . The challenge is to get the right expertise and a base station 14. The robot 12 is coupled to a remote control
  treatment to the patient at the right time. This encompasses station 16. The remote control station 16 may be coupled to
  the entire continuum of care from emergency medical ser                  the base station 14 through a network 18. By way of
  vices and ambulance transport to evaluation in the ED and example , the network 18 may be either a packet switched
  definitive treatment
  established           . Some stroke
                by the National          careforguidelines
                                  Institute                 have been
                                                   Neurological    Dis 45 network    such as the Internet, or a circuit switched network
  orders and Stroke (NINDS ). For example , the guidelines other broadband such  has  a Public Switched Telephone Network (PSTN ) or
  suggest getting a patient with symptoms of stroke to stroke to the network system                    . The base station 14 may be coupled
                                                                                               18 by a modem 20 or other broadband
  expertise (e.g. neurologist, stroke team activation ) within network
   fifteen minutes . The use of the word " expertise” here is 50 station 14 interface  may   be  a
                                                                                                   device. By way of example, the base
                                                                                                    wireless router. Alternatively, the robot
  significant in that the expert need not be physically present 12 may have a direct                   connection to the network thru for
  next to the patient but could be made available through a example                  a  satellite .
  consult, for example, over the phone.
                                                                              The remote control station 16 may include a computer 22
           BRIEF SUMMARY OF THE INVENTION                                  that has a monitor 24 , a camera 26 , a microphone 28 and a
                                                                        55 speaker 30. The computer 22 may also contain an input
      A robotic system that includes a mobile robot that has a device 32 such as a joystick or a mouse . The control station
  camera . The system also includes a user interface that allows 16 is typically located in a place that is remote from the robot
  medical information to be entered by a user . The mobile 12. Although only one remote control station 16 is shown ,
  robot is coupled to a remote station that can controlmove                the system 10 may include a plurality of remote stations. In
  ment of the robot. The remote station includes a monitor that 60 general any number of robots 12 may be controlled by any
  is coupled to the mobile robot camera and displays the number of remote stations 16 or other robots 12. For
  medical information .                                                    example , one remote station 16 may be coupled to a plurality
                                                                           of robots 12 , or one robot 12 may be coupled to a plurality
          BRIEF DESCRIPTION OF THE DRAWINGS                                of remote stations 16 , or a plurality of robots 12 .
                                                                        65    Each robot 12 includes a movement platform 34 that is
      FIG . 1 is an illustration of a robotic system ;                     attached to a robot housing 36. The robot 12 may also have
     FIG . 2 is a schematic of an electrical system of a robot;            a camera 38 , a monitor 40 , a microphone (s ) 42 and a
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                                                       US 10,471,588 B2
                                  3                                                                   4
   speaker (s) 44. The microphone 42 and speaker 30 may                example , the transceiver 84 may transmit and receive infor
   create a stereophonic sound . The robot 12 may also have an         mation in accordance with IEEE 802.11b .
   antenna 46 that is wirelessly coupled to an antenna 48 of the          The controller 64 may operate with a LINUX OS oper
   base station 14. The system 10 allows a user at the remote          ating system . The controller 64 may also operate MS WIN
   control station 16 to move the robot 12 through operation of 5 DOWS along with video , camera and audio drivers for
   the input device 32. The robot camera 38 is coupled to the           communication with the remote control station 16. Video
   remote monitor 24 so that a user at the remote station 16 can
  view a patient. Likewise, the robot monitor 40 is coupled to information
                                                                        pression
                                                                                     may be transceived using MPEG CODEC com
                                                                                  techniques . The software may allow the user to
  the remote camera 26 so that the patient can view the user. send e-mail to the patient            and vice versa, or allow the patient
   The microphones 28 and 42 , and speakers 30 and 44 , allow 10 to access the Internet. In general
  for audible communication between the patient and the user. operates to control communicationthebetween       high level controller 60
                                                                                                                        the robot 12 and
     The remote station computer 22 may operate Microsoft the remote control station 16 .
  OS software and WINDOWS XP or other operating systems                    The high level controller 60 may be linked to the low level
  such as LINUX . The remote computer 22 may also operate
  a video driver, a camera driver, an audio driver and a joystick 15 controller 62 by a serial port 88. The low level controller 62
  driver. The video images may be transmitted and received includes a processor 90 that is coupled to a RAM device 92
  with compression software such as MPEG CODEC .                        and non -volatile RAM device 94 by a bus 96.Each robot 12
     The system 10 may include a records server 50 that can contains a plurality of motors 98 and motor encoders 100 .
  be accessed through the network 18. Patient information can The encoders 100 provide feedback information regarding
  be provided to the server 50 through a user interface 52. The 20 the output of the motors 98. Themotors 98 can be coupled
  user interface 52 may or may not be in close proximity to the to the bus 96 by a digital to analog converter 102 and a driver
  robot 12. For example, the user interface may be a computer amplifier 104. The encoders 100 can be coupled to the bus
  located at a nurses station where information is entered 86 by a decoder 106. Each robot 12 may have a number of
  when a patient checks into a facility. The robot 12 can be proximity sensors 108 ( see also FIG . 1). The sensors 108 can
  moved into view of the patient so that patient information 25 be coupled to the bus 96 by a signal conditioning circuit 110
  can be entered into the system while a physician is viewing and an analog to digital converter 112 .
  the patient through the robot camera. The physician can                  The low level controller 62 runs software routines that
  remotely move the robot to obtain different viewing angles mechanically actuate the robot 12. For example , the low
  of the patient. The user interface 52 may be a separate level controller62 provides instructions to actuate the move
  computer
  be integralterminal
              with the. Alternatively, the user, theinterface
                         robot. For example                   52 may 30 ment platform to move the robot 12. The low level controller
                                                       robot monitor
  may be a touch screen that allows a user to enter data into 62           may receive movement instructions from the high level
                                                                        controller 60. The movement instructionsmay be received
  the system through the robot 12. The server 50 may contain as movement               commands from the remote control station or
  other medical records of a patient such as written records of another robot. Although           two controllers are shown, it is to be
  treatment, patient history, medication information , X -rays , 35 understood that each robot          12 may have one controller, or
  EKGs, laboratory results , physician notes , etc.                     more  than two  controllers , controlling the high and low level
     The system 10 may also include an image server 54 and
  a registry server 56. The image server 54 may include functions.
  medical images. For example, the medical images may                      The various electrical devices of each robot 12 may be
   include CT scans of a patient's brain . The images can be 40 powered by a battery ( ies ) 114. The battery 114 may be
  downloaded to one of the remote stations 14 through the              recharged by a battery recharger station 116 (see also FIG .
  network 18. The registry server 56 may store historical data         1 ). The low level controller 62 may include a battery control
  on patients . The historical data can be downloaded to a             circuit 118 that senses the power level of the battery 114. The
  remote computer 16 through the network 18 .                          low level controller 62 can sense when the power falls below
     FIGS. 2 and 3 show an embodiment of a robot 12. Each 45           a threshold and then send a message to the high level
  robot 12 may include a high level control system 60 and a            controller 60 .
  low level control system 62. The high level control system               The system may be the sameor similar to a robotic system
  60 may include a processor 64 that is connected to a bus 66 .        provided by the assignee InTouch Technology, Inc. of Santa
   The bus is coupled to the camera 38 by an input/ output (I/O )      Barbara , Calif. under the name RP -7 , which is hereby
  port 68 , and to the monitor 40 by a serial outputport 70 and 50     incorporated by reference. The system may also be the same
  a VGA driver 72. The monitor 40 may include a touchscreen            or similar to the system disclosed in U.S. Pat. No. 7,292,912 ,
  function that allows a user to enter input by touching the           which is hereby incorporated by reference .
  monitor screen .                                                         FIG . 4 shows a graphical user interface 150 provided at
     The speaker 44 is coupled to the bus 56 by a digital to           the user interface 52. The graphical user interface 150
  analog converter 74. The microphone 42 is coupled to the 55          includes a plurality of data fields 152 that can be filled by the
  bus 66 by an analog to digital converter 76. The high level          user. The data fields 152 can request patient information
  controller 60 may also contain random access memory                  such as name, age, etc. The data fields may also include
  (RAM ) device 78 , a non - volatile RAM device 80 and a mass         request formedical data such as heart rate , glucose level and
  storage device 82 that are all coupled to the bus 72. The mass       blood pressure (“ SBP” and “ DBP” ).
  storage device 82 may contain medical files of the patient 60            FIG . 5 shows a display user interface (“ DUI” ) 160 that
  that can be accessed by the user at the remote control station       can be displayed at the remote station 14. The DUI 160 may
   16. For example, the mass storage device 82 may contain a           include a robot view field 162 that displays a video image
  picture of the patient. The user, particularly a health care         captured by the camera of the robot. The DUI 160 may also
  provider , can recall the old picture and make a side by side        include a station view field 164 that displays a video image
  comparison on the monitor 24 with a present video image of 65        provided by the camera of the remote station 14. The DUI
  the patient provided by the camera 38. The robot antennae             160 may be part of an application program stored and
  46 may be coupled to a wireless transceiver 84. By way of            operated by the computer 22 of the remote station 14 .
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                                                      US 10,471,588 B2
                                 5                                                                   6
     FIG . 6 shows a graphical user interface 170 that is                What is claimed is :
   displayed by the monitor of the remote station 16. The                1. A robotic system , comprising:
   interface 170 includes a “ PATIENT INFO ” tab 172 , a                 a network ;
   “ NIHSS ” tab 174 and a “ t- PA ” tab 176. Selection of the           a robot in the vicinity of a patient and coupled to the
  PATIENT INFO tab 172 displays various data fields 178 5                  network , the robot having a robot camera , a robot
  including patientname, age, weight, heart rate , etc. This may           monitor, a robot microphone , and a robot speaker, the
  be the same information through the user interface .                     robot camera captures an image of the patient;
      FIG . 7 shows an interface 180 when the " NIHSS ” tab 174          a computer at a nurses station that displays a user inter
   is selected . The interface 180 has a data field 182 that            face , the user interface allows medical information to
   provides a questionnaire to rate the severity of a stroke 10         be   entered by displaying a plurality of data fields that
  victim using the NIHSS stroke scale . This provides a readily         include    at least one patient information field and at least
  available medical tool for the physician .                            one medical data field that are filled by a user at the
     FIG . 8 shows an interface 190 when the “ t- PA ” tab 176 is
  selected . The interface 190 may include a data field 192 that        computer, said computer is separate from said robot
  provides the patient's weight, a “ TOTAL DOSE ” data field 15         and is coupled to the network independently of the
   194 , a " BOLUS DOSE ” data field 196 and an “ INFUSION              robot ; and ,
  DOSE ” data field 198. The interface 190 may also include          a remote station located remotely from both the robot and
  a “CALCULATE ” button 200. When the CALCULATE                         the computer at the nurses station , the remote station is
  button 182 is selected the data fields 194 , 196 and 198 are          coupled to said robot via the network and controls said
  automatically populated with a calculated dosage . This 20            robot, said remote station includes a monitor that
  provides a patient management plan for the physician to               displays both the image of the patient and said patient
  review . The interfaces 170 , 180 and 190 also have a “ VIEW          information and said medical data provided by the user
  IMAGES” button 202 that when selected displays an inter               at  the computer at the nurses station .
  face 210 shown in FIG.9. The interface 210 includes a data         2.  The   system of claim 1, further comprising a records
  field 212 and an image field 214. The image field 214 can 25    server   that  is coupled to said remote station and said user
  provide a plurality of medical images such as a CT scan of interface        and stores said medical information .
                                                                     3. The system of claim 1, further comprising an image
  the patient's head .                                            server that is coupled to said remote station and stores a
     The system is useful for allowing a physician to remotely plurality      of medical images .
  view and treat a stroke patient. The system provides patient      4.   The   system of claim 2 , wherein said medical informa
   information , NIHSS stroke severity assessment, calculated 30
  t-PA dosage and CT head images that allow the physician to tion5. includes        patient statistics.
                                                                         The system of claim 1 , wherein said remote station
  provide real time remote patient treatment.
     While certain exemplary embodiments have been provides                   a medical tool.
                                                                    6. The system of claim 1 , wherein said remote station
  described and shown in the accompanying drawings, it is to
   be understood that such embodiments are merely illustrative 35 mation
                                                                  providesanda graphical
                                                                                display a user
                                                                                          patientinterface that canplanreceive
                                                                                                   management            . infor
   of and not restrictive on the broad invention , and that this         7. The system of claim 6 , wherein said medical tool is a
  invention not be limited to the specific construction's and         stroke evaluation .
  arrangements shown and described , since various other
  modifications may occur to those ordinarily skilled in the art.
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                         Exhibit C
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                                                                                               US008179418B2


   (12) United States Patent                                                (10) Patent No.:     US 8,179,418 B2
          Wright et al.                                                     (45) Date of Patent:    *May 15, 2012
   (54) ROBOTIC BASED HEALTHCARE SYSTEM                                       4,875,172 A       10/1989 Kanayama
                                                                              4,977,971 A       12/1990 Crane, III et al.
   (75) Inventors: Timothy C. Wright, Santa Barbara, CA                       5,073,749 A       12/1991 Kanayama
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   (*) Notice:           Subject to any disclaimer, the term of this
                         patent is extended or adjusted under 35                                   (Continued)
                         U.S.C. 154(b) by 1052 days.
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                         This patent is Subject to a terminal dis
                         claimer.                                      International Preliminary report on Patentability received for PCT
                                                                       Application No. PCT/US2009/036541, mailed on Oct. 28, 2010, 6
   (21) Appl. No.: 12/082,953                                          pageS.
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   (65)                     Prior Publication Data
           US 2009/O259339 A1            Oct. 15, 2009                 Primary Examiner — Gerald Gauthier
                                                                       (74) Attorney, Agent, or Firm — Paul Evans
   (51) Int. Cl.
           H04N 7/4                  (2006.01)
           G05B I5/00                (2006.01)                         (57)                       ABSTRACT
           G06F 9/00                 (2011.01)
   (52) U.S. Cl. ....... 348/14.05: 283/54; 283/115:318/567;           A robotic system that can be used to treat a patient. The
                          318/.568.11: 434/262: 600/300; 700/245;      robotic system includes a mobile robot that has a camera. The
                         700/258; 700/259; 700/264; 705/2; 705/3;      mobile robot is controlled by a remote station that has a
                                                           71.5/719    monitor. A physician can use the remote station to move the
   (58) Field of Classification Search .................. 3.18/567,    mobile robot into view of a patient. An image of the patient is
                 318/.568.11: 348/1405; 600/300; 700/245,              transmitted from the robot camera to the remote station moni
                     700/258, 259,264; 901/1; 283/54, 115;             tor. A medical personnel at the robot site can enter patient
                                  434/262; 705/2,3: 715/719            information into the system through a user interface. The
        See application file for complete search history.              patient information can be stored in a server. The physician
                                                                       can access the information from the remote station. The
   (56)                     References Cited                           remote station may provide graphical user interfaces that
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                                                                       tool and a patient management plan.
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   U.S. Patent         May 15, 2012    Sheet 5 of 8         US 8,179,418 B2
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   U.S. Patent              May 15, 2012                       Sheet 6 of 8                   US 8,179,418 B2


                                                  172          174            176
                ADVANCED CONTROLS
                                  Patient Info

                                                           First Name: JESSAMINE

                         MRN: 301.2296873                        Age:                        HR     90
       170
                                                                                             BP 120/80
                      Gender: FEMALE             to            Weight: 50.50 Kgs             NHSS   3

                    Patient History:                       Heart Rate:
                            Diabetes
                                                 178

                                                                                             FIG, 6




                                                               174
                ADVANCED CONTROLS


                                       MIHStroke Scale:
                Level of Consciousness:   Please Select:                            V
                                          Please Select:                                     HR     84
       180             MOC Questions: 0 = Alert                                              BP 130/90
                                          1st Notaert
                                          2 = Not responsive                                 NHSS
                      LOC Commands:

                            Best Gaze:    Please select:                 V          W.   V

                                                                             182

                                                                                             FIG, 7
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               ADVANCED CONTROLS


                 Patient Weight:             Kgs      Total DOSe:
                 DOSage Options:         192         Bolus Dose:
     190                 0.9 mg/kg O                   (administered VP over 1 minute)
                        0.6 mg/kg O                       fir
                                                   Infusion Date:                    Mg
                                       200                (to infuse over 60 minutes)               202
                      Print Oder




                                                                                          FIG, 8
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                                                          US 8,179,418 B2
                                  1.                                                                      2
        ROBOTC BASED HEALTHCARE SYSTEM                                        FIG. 5 is a graphical user interface at a remote station;
                                                                              FIG. 6 is a graphical user interface at the remote station:
              BACKGROUND OF THE INVENTION                                     FIG. 7 is a graphical user interface when a NIHSS tab is
                                                                            selected;
      1. Field of the Invention                                               FIG. 8 is a graphical user interface displayed when a t-PA
     The subject matter disclosed generally relates to the fields           table is selected
   of health care and robotics.                                               FIG. 9 is a graphical user interface displayed when a view
      2. Background Information                                             images button is selected.
      The increasing complexity of healthcare and resulting
   clinical specialization is causing fragmentation of care com        10                   DETAILED DESCRIPTION
   promising patient safety and hospital efficiency. There is the
   need for availability of clinical specialist expertise to cut               Disclosed is a robotic system that can be used to treat a
   across time and space as well as the need for standardization            patient. The robotic system includes a mobile robot that has a
   and dissemination of best practices and protocols for optimal            camera. The mobile robot is controlled by a remote station
   quality of care for citizens regardless of where they live.         15   that has a monitor. A physician can use the remote station to
      The need for clinical specialist expertise is especially acute        move the mobile robot into view of a patient. An image of the
   in the diagnosis and treatment of stroke whereby immediate               patient is transmitted from the robot camera to the remote
   access to expertise and interdisciplinary communication and              station monitor. A medical personnel at the robot site can
   collaboration is key. Stroke is the second cause of death                enter patient information into the system through a user inter
   worldwide and the third leading cause of death in the United             face. The patient information can stored in a server. The
   States. Recent development of several new therapies includ               physician can access the information from the remote station.
   ing t?A and neuro-endovascular procedures such as coiling                The remote station may provide graphical user interfaces that
   offers real hope to change the once bleak prognosis for stroke           display the patient information and provide a medical tool. By
   victims. However, these new therapies are not widely avail               way of example, the remote station may present to the user a
   able. Nationally, fewer than 5% of stroke victims are receiv        25   NIHSS questionnaire to determine the severity of a stroke.
   ing any sort of treatment compared with leading stroke cen               The graphical user interfaces may include an interface that
   ters where approximately 25% of victims are treated. Most                provides a patient management plan Such as a calculated
   community hospitals do not have the basic patient assessment             dosage. The medical tool and dosage can be transmitted to the
   capability in place on a 24/7 basis nor have they established            user interface so that this information can be viewed by medi
   the appropriate ED treatment protocols. Additionally, only a        30   cal personnel in physical proximity to the patient. The system
   very few hospitals have the specialists on staff required for            allows a clinical specialist to remotely observe and treat a
   neuro-endovascular procedures. Therefore stroke patients are             patient. This is particularly advantageous when treating
   either immediately transferred without proper evaluation or              stroke patients, where time is critical.
   go untreated.                                                               Referring to the drawings more particularly by reference
      A major challenge in delivering stroke care relates to the       35   numbers, FIG. 1 shows a robotic system 10. The robotic
   time elements of stroke. The adage “time is brain' is often              system 10 includes one or more robots 12. Each robot 12 has
   heard. The challenge is to get the right expertise and treatment         a base station 14. The robot 12 is coupled to a remote control
   to the patient at the right time. This encompasses the-entire            station 16. The remote control station 16 may be coupled to
   continuum of care from emergency medical services and                    the base station 14 through a network 18. By way of example,
   ambulance transport to evaluation in the ED and definitive          40   the network 18 may be either a packet switched network such
   treatment. Some stroke care guidelines have been established             as the Internet, or a circuit switched network such has a Public
   by the National Institute for Neurological Disorders and                 Switched Telephone Network (PSTN) or other broadband
   Stroke (NINDS). For example, the guidelines suggest getting              system. The base station 14 may be coupled to the network 18
   a patient with symptoms of stroke to stroke expertise (e.g.              by a modem 20 or other broadband network interface device.
   neurologist, stroke team activation) within fifteen minutes.        45   By way of example, the base station 14 may be a wireless
   The use of the word “expertise' here is significant in that the          router. Alternatively, the robot 12 may have a direct connec
   expert need not be physically present next to the patient but            tion to the network thru for example a satellite.
   could be made available through a consult, for example, over                The remote control station 16 may include a computer 22
   the phone.                                                               that has a monitor 24, a camera 26, a microphone 28 and a
                                                                       50   speaker 30. The computer 22 may also contain an input device
             BRIEF SUMMARY OF THE INVENTION                                 32 Such as a joystick or a mouse. The control station 16 is
                                                                            typically located in a place that is remote from the robot 12.
      A robotic system that includes a mobile robot that has a              Although only one remote control station 16 is shown, the
   camera. The system also includes a user interface that allows            system 10 may include a plurality of remote stations. In
   medical information to be entered by a user. The mobile robot       55   general any number of robots 12 may be controlled by any
   is coupled to a remote station that can control movement of              number of remote stations 16 or other robots 12. For example,
   the robot. The remote station includes a monitor that is                 one remote station 16 may be coupled to a plurality of robots
   coupled to the mobile robot camera and displays the medical              12, or one robot 12 may be coupled to a plurality of remote
   information.                                                             stations 16, or a plurality of robots 12.
                                                                       60      Each robot 12 includes a movement platform 34 that is
            BRIEF DESCRIPTION OF THE DRAWINGS                               attached to a robot housing 36. The robot 12 may also have a
                                                                            camera38, a monitor 40, a microphone(s) 42 and a speaker(s)
     FIG. 1 is an illustration of a robotic system;                         44. The microphone 42 and speaker 30 may create a stereo
     FIG. 2 is a schematic of an electrical system of a robot;              phonic sound. The robot 12 may also have an antenna 46 that
     FIG. 3 is a further schematic of the electrical system of the     65   is wirelessly coupled to an antenna 48 of the base station 14.
   robot;                                                                   The system 10 allows a user at the remote control station 16 to
     FIG. 4 is a graphical user interface of a user interface;              move the robot 12 through operation of the input device 32.
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   The robot camera 38 is coupled to the remote monitor 24 so             tion with the remote control station 16. Video information
   that a user at the remote station 16 can view a patient. Like          may be transceived using MPEG CODEC compression tech
   wise, the robot monitor 40 is coupled to the remote camera 26          niques. The Software may allow the user to send e-mail to the
   so that the patient can view the user. The microphones 28 and          patient and vice versa, or allow the patient to access the
   42, and speakers 30 and 44, allow for audible communication            Internet. In general the high level controller 60 operates to
   between the patient and the user.                                      control communication between the robot 12 and the remote
      The remote station computer 22 may operate Microsoft OS             control station 16.
   software and WINDOWSXP or other operating systems such                    The high level controller 60 may be linked to the low level
   as LINUX. The remote computer 22 may also operate a video              controller 62 by a serial port 88. The low level controller 62
   driver, a camera driver, an audio driver and a joystick driver.   10   includes a processor 90 that is coupled to a RAM device 92
   The video images may be transmitted and received with com              and non-volatile RAM device 94 by a bus 96. Each robot 12
   pression software such as MPEG CODEC.                                  contains a plurality of motors 98 and motor encoders 100. The
      The system 10 may include a records server 50 that can be           encoders 100 provide feedback information regarding the
   accessed through the network 18. Patient information can be            output of the motors 98. The motors 98 can be coupled to the
   provided to the server 50 through a user interface 52. The user   15   bus 96 by a digital to analog converter 102 and a driver
   interface 52 may or may not be in close proximity to the robot         amplifier 104. The encoders 100 can be coupled to the bus 86
   12. For example, the user interface may be a computer located          by a decoder 106. Each robot 12 may have a number of
   at a nurses station where information is entered when a patient        proximity sensors 108 (see also FIG. 1). The sensors 108 can
   checks into a facility. The robot 12 can be moved into view of         be coupled to the bus 96 by a signal conditioning circuit 110
   the patient so that patient information can be entered into the        and an analog to digital converter 112.
   system while a physician is viewing the patient through the              The low level controller 62 runs software routines that
   robot camera. The physician can remotely move the robot to             mechanically actuate the robot 12. For example, the low level
   obtain different viewing angles of the patient. The user inter         controller 62 provides instructions to actuate the movement
   face 52 may be a separate computer terminal. Alternatively,            platform to move the robot 12. The low level controller 62
   the user interface 52 may be integral with the robot. For         25   may receive movement instructions from the high level con
   example, the robot monitor may be a touch screen that allows           troller 60. The movement instructions may be received as
   a user to enter data into the system through the robot 12. The         movement commands from the remote control station or
   server 50 may contain other medical records of a patient such          another robot. Although two controllers are shown, it is to be
   as written records of treatment, patient history, medication           understood that each robot 12 may have one controller, or
   information, X-rays, EKGs, laboratory results, physician          30   more than two controllers, controlling the high and low level
   notes, etc.                                                            functions.
      The system 10 may also include an image server 54 and a                The various electrical devices of each robot 12 may be
   registry server 56. The image server 54 may include medical            powered by a battery(ies) 114. The battery 114 may be
   images. For example, the medical images may include CT                 recharged by a battery recharger station 116 (see also FIG. 1).
   scans of a patient’s brain. The images can be downloaded to       35   The low level controller 62 may include a battery control
   one of the remote stations 14 through the network 18. The              circuit 118 that senses the power level of the battery 114. The
   registry server 56 may store historical data on patients. The          low level controller 62 can sense when the powerfalls below
   historical data can be downloaded to a remote computer 16              a threshold and then send a message to the high level control
   through the network 18.                                                ler 60.
     FIGS. 2 and 3 show an embodiment of a robot 12. Each            40      The system may be the same or similar to a robotic system
   robot 12 may include a high level control system 60 and a low          provided by the assignee InTouch Technology, Inc. of Santa
   level control system 62. The high level control system 60 may          Barbara, Calif. under the name RP-7, which is hereby incor
   include a processor 64 that is connected to a bus 66. The bus          porated by reference. The system may also be the same or
   is coupled to the camera 38 by an input/output (I/O) port 68,          similar to the system disclosed in U.S. Pat. No. 7.292,912,
   and to the monitor 40 by a serial output port 70 and a VGA        45   which is hereby incorporated by reference.
   driver 72. The monitor 40 may include a touchscreen function              FIG. 4 shows a graphical user interface 150 provided at the
   that allows a user to enter input by touching the monitor              user interface 52. The graphical user interface 150 includes a
   SCC.                                                                   plurality of data fields 152 that can be filled by the user. The
      The speaker 44 is coupled to the bus 56 by a digital to             data fields 152 can request patient information Such as name,
   analog converter 74. The microphone 42 is coupled to the bus      50   age, etc. The data fields may also include request for medical
   66 by an analog to digital converter 76. The high level con            data Such as heart rate, glucose level and blood pressure
   troller 60 may also contain random access memory (RAM)                 (SBP and “DBP).
   device 78, a non-volatile RAM device 80 and a mass storage                FIG.5 shows a display user interface (“DUI) 160 that can
   device 82 that are all coupled to the bus 72. The mass storage         be displayed at the remote station 14. The DUI 160 may
   device 82 may contain medical files of the patient that can be    55   include a robot view field 162 that displays a video image
   accessed by the user at the remote control station 16. For             captured by the camera of the robot. The DUI 160 may also
   example, the mass storage device 82 may contain a picture of           include a station view field 164 that displays a video image
   the patient. The user, particularly a health care provider, can        provided by the camera of the remote station 14. The DUI 160
   recall the old picture and make a side by side comparison on           may be part of an application program stored and operated by
   the monitor 24 with a present video image of the patient          60   the computer 22 of the remote station 14.
   provided by the camera 38. The robot antennae 46 may be                   FIG. 6 shows a graphical user interface 170 that is dis
   coupled to a wireless transceiver 84. By way of example, the           played by the monitor of the remote station 16. The interface
   transceiver 84 may transmit and receive information in accor           170 includes a “PATIENT INFO tab 172, a “NIHSS” tab 174
   dance with IEEE 802.11b.                                               and a “t-PA tab 176. Selection of the PATIENT INFO tab 172
     The controller 64 may operate with a LINUXOS operating          65   displays various data fields 178 including patient name, age,
   system. The controller 64 may also operate MS WINDOWS                  weight, heart rate, etc. This may be the same information
   along with video, camera and audio drivers for communica               through the user interface.
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     FIG. 7 shows an interface 180 when the “NIHSS tab 174                     10. The system of claim 9, wherein said mobile robot
   is selected. The interface180 has a data field 182 that provides         includes a speaker and a microphone.
   a questionnaire to rate the severity of a stroke victim using the          11. A robotic system, comprising:
   NIHSS stroke scale. This provides a readily available medical              a mobile robot that has a camera;
   tool for the physician.                                             5      a user interface that allows patient information and patient
     FIG. 8 shows an interface 190 when the “t-PA tab 176 is                     statistics to be entered by a user;
   selected. The interface 190 may include a data field 192 that              a remote station that is coupled to said mobile robot to
   provides the patient’s weight, a “TOTAL DOSE' data field                      control movement of said mobile robot, said remote
   194, a “BOLUS DOSE data field 196 and an “INFUSION                            station includes a monitor that is coupled to said mobile
   DOSE' data field 198. The interface 190 may also include a          10        robot camera, and that displays a plurality of graphical
   “CALCULATE' button 200. When the CALCULATE button                             user interfaces, said graphical user interfaces provide
   182 is selected the data fields 194, 196 and 198 are automati                 said patient statistics, a medical tool and a patient man
   cally populated with a calculated dosage. This provides a                     agement plan.
   patient management plan for the physician to review. The                    12. The system of claim 11, further comprising a records
   interfaces 170, 180 and 190 also have a “VIEW IMAGES                15   server that is coupled to said remote station and said user
   button 202 that when selected displays an interface 210                  interface and stores said patient information and said patient
   shown in FIG. 9. The interface 210 includes a data field 212             statistics.
   and an image field 214. The image field 214 can provide a                   13. The system of claim 11, further comprising an image
   plurality of medical images such as a CT scan of the patients            server that is coupled to said remote station and stores a
   head.                                                                    plurality of medical images.
     The system is useful for allowing a physician to remotely                 14. The system of claim 13, wherein at least one of said
   view and treat a stroke patient. The system provides patient             graphical user interfaces displays at least one of said medical
   information, NIHSS stroke severity assessment, calculated                images.
   t-PA dosage and CT head images that allow the physician to                  15. The system of claim 11, wherein said user interface is
   provide real time remote patient treatment.                         25   a computer terminal.
     While certain exemplary embodiments have been                             16. The system of claim 11, wherein said mobile robot
   described and shown in the accompanying drawings, it is to               includes a monitor coupled to a camera of said remote station.
   be understood that such embodiments are merely illustrative                 17. The system of claim 16, wherein said mobile robot
   of and not restrictive on the broad invention, and that this             includes a speaker and a microphone.
   invention not be limited to the specific constructions and          30      18. A method for treating a patient, comprising:
   arrangements shown and described, since various other modi                  moving a mobile robot into a vicinity of a patientata robot
   fications may occur to those ordinarily skilled in the art.                    site through commands from a remote station:
     What is claimed is:                                                       viewing the patient at the remote station through a camera
     1. A robotic system, comprising:                                            of the mobile robot;
     a mobile robot that has a camera and is located at a robot        35     entering information about the patient through a user inter
        site;                                                                    face located at the robot site;
     a user interface that is located at the robot site and allows            displaying the patient information at the remote station;
       medical information to be entered by a user, and,                         and,
     a remote station that is coupled to said mobile robot to                  displayingapatient management planat the remote station.
        control movement of said mobile robot, said remote             40      19. The method of claim 18, further comprising displaying
        station includes a monitor that is coupled to said mobile           a medical image at the remote station.
        robot camera, and displays agraphical user interface that              20. The method of claim 18, wherein the patient manage
        provides said medical information.                                  ment plan includes a calculated dosage at the remote station.
     2. The system of claim 1, further comprising a records                    21. The method of claim 18, wherein the patient manage
   server that is coupled to said remote station and said user         45   ment plan is a stroke evaluation.
   interface and stores said medical information.                              22. A graphical user interface that is displayed on a monitor
      3. The system of claim 1, further comprising an image                 of a remote station that controls a mobile robot, the mobile
   server that is coupled to said remote station and stores a               robot having a camera, comprising:
   plurality of medical, images.                                              a graphical user interface that includes:
      4. The system of claim 2, wherein said medical information       50        a patient information area;
   includes patient statistics.                                                  a medical assessment area; and,
      5. The system of claim 1, wherein said remote station                      a patient management plan area.
   provides a medical tool.                                                   23. The user interface of claim 22, wherein selection within
      6. The system of claim 1, wherein said remote station                 said medical assessment area causes a display of a NIHSS
   provides a graphical user interface that can receive informa        55   scale questionnaire.
   tion and display a patient management plan.                                24. The user interface of claim 22, wherein selection within
      7. The system of claim 6, wherein said medical tool is a              said patient management plan area causes a display with input
   stroke evaluation.                                                       fields and a calculation button that provides a calculated dos
     8. The system of claim 1, wherein said user interface is a             age when selected.
   computer terminal.                                                  60
     9. The system of claim 1, wherein said mobile robot
   includes a monitor coupled to a camera of said remote station.
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                         Exhibit D
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   (12) United States Patent                                                                (10) Patent No.:     US 8,849,680 B2
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   (*) Notice:            Subject to any disclaimer, the term of this                               FOREIGN PATENT DOCUMENTS
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   (21) Appl. No.: 12/362.454                                                                                     (Continued)
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   (22) Filed:            Jan. 29, 2009
   (65)                        Prior Publication Data                                  Goldenberg, et al., “Telemedicine in Otolaryngology'. American
                                                                                       Journal of Otolaryngology, vol. 23, No. 1, 2002, pp. 35-43.
           US 2010/O191375A1                   Jul. 29, 2010
                                                                                                                  (Continued)
   (51) Int. Cl.
           G06F I7/00                      (2006.01)                                   Primary Examiner — Hiep V Nguyen
           G06F 9/00                       (2011.01)                                   (74) Attorney, Agent, or Firm — Chris Lambrecht
           G05B I5/00                      (2006.01)
           G06O 30/00                      (2012.01)                                   (57)                      ABSTRACT
           B25.9/6                         (2006.01)
        G06O 30/02            (2012.01)                                                A robotic system that is used in a tele-presence session. For
   (52) U.S. Cl.                                                                       example, the system can be used by medical personnel to
        CPC. B25J 9/1689 (2013.01); G05B 2219/451 17                                   examine, diagnose and prescribe medical treatment in the
                 (2013.01); G06Q30/0283 (2013.01); G06F                                session. The system includes a robot that has a camera and is
                                        19/3418 (2013.01)                              controlled by a remote station. The system further includes a
           USPC ................................ 705/2; 700/264; 700/245               storage device that stores session content data regarding the
   (58) Field of Classification Search                                                 session. The data may include a video/audio taping of the
           USPC .............................................................. 705/2   session by the robot. The session content data may also
           See application file for complete search history.                           include time stamps that allow a user to determine the times
                                                                                       that events occurred during the session. The session content
   (56)                       References Cited                                         data may be stored on a server that accessible by multiple
                                                                                       users. Billing information may be automatically generated
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                                               Sessions               62
                                  Dr. Reynolds, 04/02/07, 13:15
                                      Patient: Jack Spratt
                 F.IG, 2             Patient: George Porge
                                  Dr. Smith, 04/02/07, 18:32
                                     Patieff;:StéSchoo::
                                  Dr. Snyder, 04/02/07, 9:15
                                     Patient: Alice Palace
                                     Patient: Sam Pajam




                             Sue Schmoo, 04/02/07, 18:45
              F.IG, 3            18:45D0CtOr enterSr00m
                                 18:47 Doctor initiates strokes Screening
                                 18:52DOctor finishes stroke Screening
                                 18:54 Doctor performs TPA calculation
                                 18:56 Doctor prescribes TPA
                                 18:59 Doctor exits patient room
                                66                    68




                              Archive ACCeSS and Retrieval: Database Search
          F.IG, 4           Database Search Criteria:
                            EnCOUnter Profile
                  70                       Date of Session
                                              Physician, clinical team members
                                              EVent
                            Patient Profile
                  72                          Demographics
                                              History
                            Clinical Management Profile
                  74                          Presentation
                                              ASSeSSment
                                              Diagnosis
                                              Care Management Decision
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                             Archive ACCeSS and Retrieval: Database Search
        F.IG, 5           Database Search Criteria:
                          EnCOUnter Profile
                                         Date of Session
                                            Physician, clinical team members
                                            EVent

                          Patient Profile                  41               S.         76
                                            Demographics        Asian
                                                                African-American
                                                                Hispanic
                          Clinical Management Profile           Pacific Islander
                                            Presentation
                                            ASSeSSment          White
                                            Diagnosis
                                            Care Management Decision




                            Archive ACCeSS and Retrieval: Database Search
        FIG, 6            Database Search Criteria:
                          EnCOUnter Profile
                                         Date of Session
                                         Physician, clinical team members
                      04/02/08, 10:17, Juan Sanchez
                      04/03/08, 05:15, Edelmira Rico                                   80
                      04/17/08, 15:03, Rosa Chavez
                      04/18/08, 21:07, Lupe Rodriguez Asian  African-American
                      04/21/08, 17:05, Analise Lopez
                                                                PaCIFIC Sander
                                            Presentation        White
                                            ASSeSSment
                                            Diagnosis
                                            Care Management Decision
                                                                             82
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             FIG, 1 0              272                          2.74              276
                 ADVANCED CONTROLS 2                            2                (1.
                                                                                                    4a
                    Last Name:                               First Name: JESSAMINE                        3:00:00


       270                 MRN: 3012296873                          Age: 75                              HR     90
                                                                                                         BP 120/80
                        Gender: FEMALE IR                       Weight: 5050 kgs                         NHSS   3

                      Patient History:                       Heart Rate:
                              Diabetes
                                                  278


             FIG 11                                              274
                 ADVANCED CONTROLS



                  Level of Consciousness:
                                         MIH Stroke Scale:
                                            Please Select:                                 w        if solo
                                            Please Select:                                               HR     84
       280               MOC Questions: 0 = Alert                                                        BP 130/90
                                            1 = Not alert
                                            2 = Notresponsive                                            NHSS
                        LOC Commands:

                              Best Gaze:




              FIG, 12
                 ADVANCED CONTROLS


                     Patient Weight:                 Kgs
                    DOSage Options:                292
       290                   0.9 mg/kg (O)                        (administered VP over 1 minute)
                             0.6 mg/kg O                            3r
                                                             Infusion Date:                    Mg
                           Calculate           300                  (to infuse Over 60 minutes)                      302
                          Print Oder
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                                                           US 8,849,680 B2
                                   1.                                                                      2
         DOCUMENTATION THROUGH A REMOTE                                      personnel to examine, diagnose and prescribe medical treat
                 PRESENCE ROBOT                                              ment in the session. The system includes a robot that has a
                                                                             camera and is controlled by a remote station. The system
               BACKGROUND OF THE INVENTION                                   further includes a storage device that stores session content
      1. Field of the Invention
                                                                             data regarding the session. The data may include a video/
                                                                             audio taping of the session by the robot. The session content
      The subject matter disclosed generally relates to a robotic            data may also include time stamps that allow a user to deter
   tele-presence system.                                                     mine the times that events occurred during the session. The
      2. Background Information                                              session data may be stored on a server that is accessible to
      Robots have been used in a variety of applications ranging        10   multiple users. Billing information may be automatically
   from remote control of hazardous material to assisting in the             generated using the session data.
   performance of surgery. For example, U.S. Pat. No. 5,762,                    Referring to the drawings more particularly by reference
   458 issued to Wang et al. discloses a system that allows a
   Surgeon to perform minimally invasive medical procedures                  numbers, FIG. 1 shows a robotic system 10. The robotic
   through the use of robotically controlled instruments. One of             system 10 includes one or more robots 12. Each robot 12 may
   the robotic arms in the Wang system moves an endoscope that          15   have a base station 14. The robot 12 is coupled to a remote
   has a camera. The camera allows a Surgeon to view a Surgical              control station 16. The remote control station 16 may be
   area of a patient.                                                        coupled to the base station 14 through a network 18. By way
      There has been marketed a mobile robot introduced by                   of example, the network 18 may be either a packet switched
   InTouch-Health, Inc., the assignee of this application, under             network such as the Internet, or a circuit switched network
   the trademark RP-7. The InTouch robot is controlled by a user             such has a Public Switched Telephone Network (PSTN) or
   at a remote station. The remote station includes personal                 other broadband system. The base station 14 may be coupled
   computer with a joystick that allows the user to remotely                 to the network 18 by a modem 20 or other broadband network
   control the movement of the robot. Both the robot and remote              interface device. By way of example, the base station 14 may
   station have cameras, monitors, speakers and microphones to               be a wireless router. Alternatively, the robot 12 may have a
   allow for two-way video/audio communication.                         25   direct connection to the network 18 through, for example, a
      The InTouch RP-7 system is used by medical personnel to                satellite.
   remotely “visit a patient. The system is particularly useful                 The remote control station 16 may include a computer 22
   for medical specialist. For example, medical personnel spe                that has a monitor 24, a camera 26, a microphone 28 and a
   cializing in patient stroke care can remotely examine, diag               speaker 30. The computer 22 may also contain an input device
   nose and prescribe a patient management plan. With the pro           30   32 Such as a joystick or a mouse. The control station 16 is
   liferation of such robots it would be desirable to track and
   store data related to tele-presence sessions.                             typically located in a place that is remote from the robot 12.
                                                                             Although only one remote control station 16 is shown, the
              BRIEF SUMMARY OF THE INVENTION                                 system 10 may include a plurality of remote stations. In
                                                                             general any number of robots 12 may be controlled by any
     A robotic system with a robot that has a camera and a              35   number of remote stations 16 or other robots 12. For example,
   remote station coupled to the robot. The remote station con               one remote station 16 may be coupled to a plurality of robots
   trols the robot in a session that results in session content data.        12, or one robot 12 may be coupled to a plurality of remote
   The system further includes a storage device that stores the              stations 16, or a plurality of robots 12.
   session content data.                                                        Each robot 12 includes a movement platform 34 that is
                                                                        40   attached to a robot housing 36. The robot 12 may also have a
             BRIEF DESCRIPTION OF THE DRAWINGS                               camera38, a monitor 40, a microphone(s) 42 and a speaker(s)
                                                                             44. The microphone 42 and speaker 30 may create a stereo
     FIG. 1 is an illustration of a robotic system;                          phonic sound. The robot 12 may also have an antenna 46 that
     FIG. 2 is an illustration showing a user interface;                     is wirelessly coupled to an antenna 48 of the base station 14.
     FIG.3 is an illustration of a user interface displaying events     45   The system 10 allows a user at the remote control station 16 to
   and associated time stamps;                                               move the robot 12 through operation of the input device 32.
      FIG. 4 is an illustration of a user interface with selectable          The robot camera 38 is coupled to the remote monitor 24 so
   fields;                                                                   that a user at the remote station 16 can view someone at the
      FIG. 5 is an illustration showing the display of a pull-down           robot site such as a patient. Likewise, the robot monitor 40 is
   menu:                                                                50   coupled to the remote camera 26 so that someone at the robot
     FIG. 6 is an illustration showing a session field displayed in          site can view the user. The microphones 28 and 42, and
   response to the selection of a field;                                     speakers 30 and 44, allow for audible communication
     FIG. 7 is a schematic of an electrical system of a robot;               between the robot site and the user of the system.
     FIG. 8 is a graphical user interface of a user interface;                  The remote station computer 22 may operate Microsoft OS
     FIG. 9 is a graphical user interface at a remote station:          55   software and WINDOWSXP or other operating systems such
     FIG. 10 is a graphical user interface at the remote station;            as LINUX. The remote computer 22 may also operate a video
     FIG. 11 is a graphical user interface when a NIHSS tab is               driver, a camera driver, an audio driver and a joystick driver.
   selected;                                                                 The video images may be transmitted and received with com
      FIG. 12 is a graphical user interface displayed when a t-PA            pression software such as MPEG CODEC.
   table is selected                                                    60      The system 10 can be used to engage in a session that
     FIG. 13 is a graphical user interface displayed when a view             results in data. For example, the system 10 can be used by
   images button is selected.                                                medical personnel to remotely examine, diagnose and pre
                                                                             scribe a patient management plan for a patient 50 in a medical
                    DETAILED DESCRIPTION                                     session. Either the patient, or a bed Supporting the patient,
                                                                        65   may have a radio frequency information device (“RFID) 52.
      Disclosed is a robotic system that is used in a tele-presence          The RFID 52 may wirelessly transmit information that is
   session. For example, the system can be used by medical                   received by the robot 12 through antennae 46. The RFID
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                                   3                                                                      4
   information can be used to correlate a particular session with              The server 54 can be accessible through a web page or
   a specific patient. The receipt of RFID information may ini              other means for accessing information through a network 18.
   tiate the storage of session data. Although a medical session is         FIG. 2 shows a user interface 62 displayed at a remote station
   described, it is to be understood that other types of sessions           16, or any other terminal that can access the server 54. The
   may be conducted with the system 10. For example, the                    interface 62 can for example, provide a date and time that
   system 10 may be used to move the robot(s) about a factory               various physicians had sessions with different patients. FIG.
   floor wherein the user provides remote consultation. Consul              3 shows another user interface 64that displays time stamps 66
   tation session data may be stored by the system 10.                      that are associated with certain events 68. Records can be
      The system can store and display session content data.           10
                                                                            retrieved by various filters including physician name, patient
   Session content data is information regarding the Substance              name, time of Session and services performed during the
   of a session. For example, in a medical application, session             session. The event data can be initially stored in either the
   content data would include physician notes, diagnosis and                robot 12 or the remote station 16 and then loaded into the
   prescription information. In a factory-equipment repair appli            server 54, either during or after a session. Alternatively, event
   cation, session content data would include repair methodol          15   data can be directly loaded into the server without storing it
   ogy and replaced parts. Session content data would not be                locally on the robot or remote station.
   mere time entries associated with the logging on and termi                  The session data can be organized into a plurality of data
   nation of a robot session.                                               types. FIG. 4 shows a plurality of different data types. For
      The system 10 may include a records server 54 and/or a                example, the session data can be organized into ENCOUN
   billing server 56 that can be accessed through the network 18.           TER PROFILE data 70, PATIENT PROFILE data 72 and
   The servers 54 and 56 may include memory, processors, I/O                CLINICAL MANAGEMENT PROFILE data 74, with each
   interfaces and storage devices such as hard disk drives, as is           having subfields such as EVENT and HISTORY. FIG. 5
   known in the art. Records server 54 may have a storage                   shows a pull-down screen 78that is displayed when a DEMO
   device(s) 57 that stores session data. The server 54 may                 GRAPHICS field 76 is selected. FIG. 6 shows a field 80 that
   receive and store session data during a session. For example,       25   displays a number of sessions that match a selected HIS
   the server 54 may receive and store video and audio captured             PANIC field 82. The session data can be searched with Bool
   by the robot camera 38 and microphone 42, respectively. To               ean operators such as AND and OR to search for multiple
   reduce bandwidth requirements during a session the session               terms, data types, etc. The user can display all hits for the
   data, such as video/audio segments, can be transmitted from              search, or have a statistical analysis performed based on the
   the robot 12 to the server 54 after the session has terminated.     30   matching sessions.
   For example, when the user logs off the system. Timestamped                 In a factory equipment-repair application, the equipment
   progress notes are also simultaneously uploaded. The server              being repaired during the session would replace the patient
   54 may contain other medical records of a patient such as                name in FIG. 2; and steps for repair would replace the event
   written records of treatment, patient history, medication                list in FIG. 3. Repair methodologies and affected part num
   information, laboratory results, physician notes, etc. Video/       35   bers would replace the search criteria in FIGS. 4, 5 and 6.
   audio segments can be timestamped and associated with the                Captured video and audio would show the steps in the repair
   identification of the control station and the robot, and a unique        process, and would be timestamped and cross-referenced to
   identifier which can be cross-referenced with progress notes             the data in FIG. 3.
   and other session data. These video/audio segments can then                Referring to FIG. 1, the system 10 may also include an
   later be used to substantiate and reference the various             40   image server 84 and a registry server 86. The image server 84
   progress notes and other events in a visual fashion. The sys             may include medical images. For example, the medical
   tem can track all head and base movements made during the                images may include CT scans of a patient's brain. The images
   course of the associated portion of the session, to allow cor            can be downloaded to one of the remote stations 16 through
   relation of those movements with the actions taken.                      the network 18. The registry server 86 may store historical
      The system 10 may include a user interface 58 that allows        45   data on patients. The historical data can be downloaded to a
   a user at the remote location to enter data into the system. For         remote computer 16 through the network 18.
   example, the interface 58 may be a computer or a computer                  FIG. 7 shows an embodiment of a robot 12. Each robot 12
   terminal that allows a user to enter information about the               may include a high level control system 160 and a low level
   patient. The robot 12 can be moved into view of the patient              control system 162. The high level control system 160 may
   through the remote station 16 so that patient information can       50   include a processor 164 that is connected to a bus 166. The bus
   be entered into the system while a physician is viewing the              is coupled to the camera38 by an input/output (I/O) port 168,
   patient through the robot camera. The physician can remotely             and to the monitor 40 by a serial output port 170 and a VGA
   move the robot 12 to obtain different viewing angles of the              driver 172. The monitor 40 may include a touchscreen func
   patient. The user interface 58 may be a separate computer                tion that allows a user to enter input by touching the monitor
   and/or be integral with the robot 12. The billing server 56 may     55 SCC.
   automatically generate a bill from the information provided                 The speaker 44 is coupled to the bus 166 by a digital to
   by the session data on a periodic basis. The billed elements             analog converter 174. The microphone 42 is coupled to the
   may be based on either actions performed or outcomes                     bus 166 by an analog to digital converter 176. The high level
   achieved, or both. Alternatively, a user can manually generate           controller 160 may also contain random access memory
   bills through a user interface to the billing server.               60   (RAM) device 178, a non-volatile RAM device 180 and a
      The billing server 56 may receive session data during a               mass storage device 182 that are all coupled to the bus 172.
   session or upon termination of a session. Additionally, the              The RAM 178, NVRAM 180 and/or mass storage device 182
   billing server may poll a robot to retrieve data from its hard           may contain session data that is transmitted to the remote
   drive. The session data may be organized so as to automati               station and/or server. The robot antennae 46 may be coupled
   cally populate certain fields of a billing statement or report.     65   to a wireless transceiver 184. By way of example, the trans
   The billing information can be automatically sent to an insur            ceiver 184 may transmit and receive information in accor
   ance carrier.                                                            dance with IEEE 802.11b.
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                                                          US 8,849,680 B2
                               5                                                                          6
     The controller 164 may operate with a LINUXOS operat                   information may be included in the session data that is trans
   ing system. The controller 164 may also operate MS WIN                   mitted and stored by the system 10. The usage of this interface
   DOWS along with video, camera and audio drivers for com                  may be tagged as an event with an associated time stamp.
   munication with the remote control station 16. Video                       FIG. 11 shows an interface 280 when the “NIHSS tab 274
   information may be transceived using MPEG CODEC com                      is selected. The interface 280 has a data field 282 that provides
   pression techniques. The Software may allow the user to send             a questionnaire to rate the severity of a stroke victim using the
   e-mail to the patient and vice versa, or allow the patient to            NIHSS stroke scale. This provides a readily available medical
   access the Internet. In general the high level controller 160            tool for the physician. The results of the questionnaire can be
   operates to control communication between the robot 12 and               included in the session data and be tagged as an event that has
   the remote control station 16.                                      10   an associated time stamp.
      The high level controller 160 may be linked to the low level            FIG. 12 shows an interface 290 when the “t-PA tab 276 is
   control system 162 by a serial port 186. The low level control           selected. The interface 290 may include a data field 292 that
   system 162 may include components and software that                      provides the patient’s weight, a “TOTAL DOSE' data field
   mechanically actuate the robot 12. For example, the low level            294, a “BOLUS DOSE data field 296 and an “INFUSION
   control system 162 provides instructions to actuate the move        15   DOSE' data field 298. The interface 290 may also include a
   ment platform to move the robot 12. The low level control                “CALCULATE' button 300. When the CALCULATE button
   system 162 may receive movement instructions from the high               300 is selected the data fields 294, 296 and 298 are automati
   level controller 160. The movement instructions may be                   cally populated with a calculated dosage. This provides a
   received as movement commands from the remote control                    patient management plan for the physician to review. The
   station or another robot. Although two controllers are shown,            interfaces 270, 280 and 290 also have a “VIEW IMAGES
   it is to be understood that each robot 12 may have one con               button 302 that when selected displays an interface 310
   troller, or more than two controllers, controlling the high and          shown in FIG. 13. The interface 310 includes a data field 312
   low level functions.                                                     and an image field 314. The image field 314 can provide a
      The system may be the same or similar to a robotic system             plurality of medical images such as a CT scan of the patients
   provided by the assignee InTouch Technology, Inc. of Santa          25   head.
   Barbara, Calif. under the name RP-7, which is hereby incor                 The calculated dosage and images can be included in the
   porated by reference. The system may also be the same or                 session data that is transmitted and stored by the system. The
   similar to the system disclosed in U.S. Pat. No. 7.292,912,              automatic population of the data fields may be tagged as an
   which is hereby incorporated by reference.                               event with an associated time stamp. Likewise, the selection
      FIG. 8 shows a graphical user interface 250 can be pro           30   of the data and/or image fields may be tagged as events with
   vided at the user interface58. The graphical user interface 250          time stamps.
   includes a plurality of data fields 252 that can be filled by the          The system is useful for allowing a physician to remotely
   user. The data fields 252 can request patient information such           view and treat a stroke patient. The system provides patient
   as name, age, etc. The data fields may also include request for          information, NIHSS stroke severity assessment, calculated
   medical data such as heart rate, glucose level and blood pres       35   t-PA dosage and CT head images that allow the physician to
   sure (“SBP' and “DBP). The data entered into the fields 252              provide real time remote patient treatment. The system also
   can be included in the session data that is transmitted and              allows such sessions to be audited so that medical personnel,
   stored by the system 10. Filling the data fields may be desig            healthcare institutions, insurance carriers, etc. can audit ses
   nated an "event' that is given as associated time stamp and              sions. Such audits may include viewing video/audio captured
   displayed by a user interface.                                      40   by the robot during a session.
      FIG.9 shows a display user interface (“DUI”) 260 that can                While certain exemplary embodiments have been
   be displayed at the remote station 16. The DUI 260 may                   described and shown in the accompanying drawings, it is to
   include a robot view field 262 that displays a video image               be understood that such embodiments are merely illustrative
   captured by the camera of the robot. The DUI 260 may also                of and not restrictive on the broad invention, and that this
   include a station view field 264 that displays a video image        45   invention not be limited to the specific constructions and
   provided by the camera of the remote station 16. The DUI 260             arrangements shown and described, since various other modi
   may be part of an application program stored and operated by             fications may occur to those ordinarily skilled in the art.
   the computer 22 of the remote station 16. The video and any
   accompanying audio displayed by the robot and station view                 What is claimed is:
   fields may be transmitted and stored by the system 10 as            50     1. A robotic system, comprising:
   session data.                                                              a robot that has a robot camera, a robot monitor, a robot
      The DUI 260 may contain a “progress notes' text editing                    microphone, and a robot speaker;
   field, which enables a “document as you treat' methodology.                a remote station that has a station camera, a station monitor,
   As the physician conducts treatment, he can document both                     a station microphone, and a station speaker, said remote
   the treatment steps and outcomes in the progress notes field.       55        station and said robot are capable of establishing a tele
   Each note may be manually timestamped by the physician, or                    presence session during which said station monitor is
   automatically timestamped by the software based on when                       coupled to said robot camera and displays a robot image
   the physician began typing each note. In the application of                   captured by said robot camera, said robot monitor is
   factory floor equipment repair, the progress notes would                      coupled to said station camera and displays a station
   detail the various examinations and repair steps taken.             60        image captured by said station camera, said Station
      FIG. 10 shows a graphical user interface 270 that can be                   speaker is coupled to said robot microphone, and said
   displayed by the monitor of the remote station 16. The inter                  robot speaker is coupled to said station microphone to
   face 270 includes a “PATIENT INFO tab 272, a “NIHSS                           enable two-way audio communication between said
   tab 274 and a “t-PA tab 276. Selection of the PATIENT INFO                    robot and said remote station, said remote station con
   tab 272 displays various data fields 278 including patient          65        trols said robot during said telepresence session and said
   name, age, weight, heart rate, etc. This may be the same                      telepresence session results in session content data that
   information entered through the user interface 250. This                      is non-image and non-audio data; and,
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                                                          US 8,849,680 B2
                                  7                                                                         8
     a storage device that stores said session content data during             17. The system of claim 16, wherein said time stamp is
        said telepresence session.                                           automatically generated when said session content data is
     2. The system of claim 1, wherein said storage device                   entered by the operator.
   includes a server.                                                          18. The system of claim 12, further comprising a billing
     3. The system of claim 1, wherein said session content data             server that generates a bill with said session content data.
   is correlated with a movement of said robot.                                19. The system of claim 12, further comprising a bill that is
     4. The system of claim 1, wherein said session content data             based on an action of said session content data.
   is searchable.
      5. The system of claim 1, wherein said session content data
                                                                               20. The system of claim 12, wherein said session content
   includes at least one time stamp.                                    10
                                                                             data is structured into a plurality of data types and is search
      6. The system of claim 5, wherein said remote station                  able across said data types.
   provides a graphical user interface that displays said time                 21. A method for conducting a tele-presence session, com
   stamp and said session content data.                                      prising:
      7. The system of claim 6, wherein said session content data               moving a robot through control of a remote station, the
   is entered by an operator at said remote station.                    15        robot has a robot camera, a robot monitor, a robot micro
     8. The system of claim 7, wherein said time stamp is                         phone and a robot speaker, the remote station includes a
   automatically generated when said session content data is                      station camera, a station monitor, a station microphone
   entered by the operator.                                                       and a station speaker;
     9. The system of claim 1, further comprising a billing                    establishing a telepresence session during which the sta
   server that generates a bill with said session content data.                  tion monitor is coupled to the robot camera and display
      10. The system of claim 1, further comprising a bill that is                a robot image captured by the robot camera, said robot
   based on an action of said session content data.                               monitor is coupled to the station camera and displays a
     11. The system of claim 1, wherein said session content                      station image captured by the station camera, the station
   data is structured into a plurality of data types and is search                speaker is coupled to the robot microphone, and the
   able across said data types.                                         25       robot speaker is coupled to the station microphone to
      12. A robotic system, comprising:                                          enable two-way audio communication between said
     a robot that has a camera that captures an image:                            robot and the remote station;
     a remote station that has a station camera, a station monitor,            engaging in a session that results in session content data
        a station microphone, and a station speaker, said remote                 that is non-image and non-audio data; and,
         station and said robot are capable of establishing a tele      30     storing the session content data during the telepresence
                                                                                  session.
        presence session during which said station monitor is                  22. The method of claim 21, wherein the session content
        coupled to said robot camera and displays a robot image              data is searchable.
        captured by said robot camera, said robot monitor is                    23. The method of claim 21, further comprising generating
        coupled to said station camera and displays a station                at least one time stamp for the session content data.
        image captured by said station camera, said station             35
                                                                                24. The method of claim 23, further comprising displaying
        speaker is coupled to said robot microphone, and said
        robot speaker is coupled to said station microphone to               the time stamp and the session content data.
        enable two-way audio communication between said                        25. The method of claim 24, wherein the session content
        robot and said remote station, said remote station con               data is entered by an operator at the remote station.
        trols said robot in a session that results in session content   40      26. The method of claim 25, wherein the time stamp is
       data that is non-image and non-audio data; and,                       automatically generated when the session content data is
     means for storing said session content data.                            entered by the operator.
     13. The system of claim 12, wherein said session content                   27. The method of claim 21, further comprising transmit
   data is searchable.                                                       ting a video image of a user at the control station to a monitor
                                                                             of the robot.
      14. The system of claim 12, wherein said session content          45
                                                                                28. The method of claim 21, further comprising automati
   data includes at least one time stamp.                                    cally generating a bill with the session content data.
      15. The system of claim 14, wherein said remote station                   29. The method of claim 21, further comprising structuring
   provides a graphical user interface that displays said time               the session content data into a plurality of data types and
   Stamp and said session content data.                                      searching the session content data across the data types.
      16. The system of claim 15, wherein said session content          50
   data is entered by an operator at said remote station.                                           ck   ck   ck   ck   ck
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                         Exhibit E
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                                                                                                 US00878O165B2


   (12) United States Patent                                                   (10) Patent No.:                  US 8,780,165 B2
          Wang et al.                                                          (45) Date of Patent:                       *Jul. 15, 2014
   (54) PORTABLE REMOTE PRESENCE ROBOT                                             USPC ..................................... 348/14.05; 348/1407
                                                                            58)    Field of Classification Search
   (75) Inventors: Yulun Wang, Goleta, CA (US); Charles                     (58) USPC ............ 348/14.01–14.09, 14.1, 14.11, 14.12;
                   S. Jordan, Santa Barbara, CA (US);                                            709/203, 204; 700/13, 90, 245:901/14,
                       Marco Pinter, Santa Barbara, CA (US);                                                                        901/19, 46
                       pulse
                          ; Kevin TENGSt.land,
                                  Hanrahan, Santa                                  See application file for complete search history.
                       Barbara, CA (US)                                     (56)                   References Cited
   (73) Assignee: lash Technologies, Inc., Goleta, CA                                       U.S. PATENT DOCUMENTS
                                                                             2006/0082642 A1* 4/2006 Wang et al. ................ 348, 14.05
   (*) Notice:         Subject to any disclaimer, the term of this           2007/0064092 A1* 3/2007 Sandbeg et al. ............ 348, 14.02
                       patent is extended or adjusted under 35              * cited b
                       U.S.C. 154(b) by 0 days.                               cited by examiner
                       This patent is Subject to a terminal dis-            Primary Examiner — Tuan DNguyen
                       claimer.                                             74) Attorney,  Agent, or Firm — Chris Lambrecht
                                                                                       ey, Ag
   (21) Appl. No.: 13/549,971
                                                                            (57)                      ABSTRACT
   (22) Filed:         Jul. 16, 2012                                        A tele-presence system that includes a portable robot face
                                        O      O                            coupled to a remote station. The robot face includes a robot
   (65)                    Prior Publication Data                              p
                                                                            monitor, a robot camera, a robot speaker and a robot micro
          US 2012/O281 056A1                Nov. 8, 2012                    phone. The remote station includes a station monitor, a station
                                                                            camera, a station speaker and a station microphone. The
               Related U.S. Application Data                                portable robot face can be attached to a platform mounted to
   (63) Continuation of application No. 12/548,122, filed on                the ceiling of an ambulance. The portable robot face can be
        Aug. 26, 2009, now Pat. No. 8,384,755.                              used by a physician at the remote station to provide remote
                                                                            medical consultation. When the patient is moved from the
   (51) Int. Cl.                                                            ambulance the portable robot face can be detached from the
          H04N 7/4                   (2006.01)                              platform and moved with the patient.
   (52) U.S. Cl.
          CPC ....................................... H04N 7/14 (2013.01)                    5 Claims, 5 Drawing Sheets
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   U.S. Patent         Jul. 15, 2014   Sheet 5 of 5         US 8,780,165 B2
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                                                         US 8,780,165 B2
                                  1.                                                                    2
         PORTABLE REMOTE PRESENCE ROBOT                                     less network may be a cellular broadband network and/or a
                                                                            WiFi network. The portable robot face 12 is located within an
              CROSS-REFERENCE TO RELATED                                    ambulance 20.
                     APPLICATION                                               The remote control station 14 may include a computer 22
                                                                            that has a monitor 24, a camera 26, a microphone 28 and a
     This is a continuation of U.S. application Ser. No. 12/548,            speaker 30. The computer 22 may also contain an input device
   122 filed Aug. 26, 2009.                                                 32 Such as a joystick or a mouse. The control station 14 is
                                                                            typically located in a place that is remote from the robot face
             BACKGROUND OF THE INVENTION                                    12. Although only one remote control station 14 is shown, the
                                                                       10   system 10 may include a plurality of remote stations 14. In
     1. Field of the Invention                                              general any number of robot faces 12 may be coupled to any
      The subject matter disclosed generally relates to the field of        number of remote stations 14 or other robot faces 12. For
   robotic tele-presence systems.                                           example, one remote station 14 may be coupled to a plurality
      2. Background Information                                             of robot faces 12, or one robot face 12 may be coupled to a
      Robots have been used in a variety of applications. For          15   plurality of remote stations 14, or a plurality of robot faces 12.
   example, robots have been used in manufacturing facilities,              The system may include an arbitrator (not shown) that con
   bomb detection/detonation, medical facilities, etc. The                  trols access between the robot face(s) 12 and the remote
   assignee of the present application has developed a tele-pres            stations 14.
   ence robot that includes a robot that is remotely controlled                As shown in FIGS. 2 and 3, the portable robot face 12 may
   through a remote control station. The system is marketed                 be attached to a platform 34. The platform 34 may extend
   under the product name RP-7. Both the robot and the remote               from the ceiling (not shown) of the ambulance 20. The plat
   station include cameras, monitors, microphones and speakers              form 34 may include articulate joints 36 and 38 that provide
   to allow for two audio-visual communication. The remote                  at least two degrees of freedom and allow a user to move the
   station also includes a joystick that can be operated by the             robot face 12 to different positions to view a patient and an
   user to move the robot and a robot head.                            25   EMT within the ambulance.
                                                                               Each robot face 12 includes a camera(s) 50, a monitor 52,
           BRIEF SUMMARY OF THE INVENTION                                   a microphone(s) 54 and a speaker(s) 56 that are all attached to
                                                                            a housing 58. The robot camera 50 is coupled to the remote
     A tele-presence system that includes a portable robot face             monitor 24 so that a user at the remote station 14 can view the
   coupled to a remote station. The robot face includes a robot        30   patient and/or EMT. Likewise, the robot monitor 52 is
   monitor, a robot camera, a robot speaker and a robot micro               coupled to the remote camera 26 so the patient and EMT may
   phone. The remote station includes a station monitor, a station          view the user of the remote station 14. The microphones 28
   camera, a station speaker and a station microphone.                      and 54, and speakers 30 and 56, allow for audible communi
                                                                            cation between the system operator and the patient and/or
         BRIEF DESCRIPTION OF THE DRAWINGS                             35   EMT.
                                                                              The system 10 allows a system user Such as a physician to
      FIG. 1 is an illustration of a tele-presence system that              view a patient in the ambulance and provide remote medical
   includes a remote station coupled to a portable robot face               consultation through the remote station 14 and the robot face
   located within an ambulance;                                             12. Personnel such as the EMT can transmit questions and
     FIG. 2 is an illustration showing the portable robot face         40   responses through the system back to the physician. The robot
   within the ambulance;                                                    camera 50 allows the physician to view the patient and
     FIG. 3 is an illustration showing the portable robot face              enhance the medical consultation. The robot monitor 52 can
   detached from a platform mounted to the ambulance ceiling;               display the physician to provide a feeling of presence in the
     FIG. 4 is an illustration showing the portable robot face              ambulance. The platform 34 allows the physician to pan and
   attached to a patient gurney;                                       45   tilt the robot face 12.
     FIG. 5 is an illustration showing the portable robot face                 The robot face 12 may include a wireless transceiver 60
   attached to a stand;                                                     that is coupled to the wireless network. The portable face 12
     FIG. 6 is an illustration showing a patient within a health            also includes a battery 62.
   care facility that has a robot face attached to a boom.                     The system 10 may have certain components and Software
                                                                       50   that are the same or similar to a robotic system provided by the
                   DETAILED DESCRIPTION                                     assignee InTouch-Health, Inc. of Santa Barbara, Calif. under
                                                                            the name RP-7 and embodies a system described in U.S. Pat.
      Disclosed is a tele-presence system that includes a portable          No. 6,925.357, which is hereby incorporated by reference.
   robot face coupled to a remote station. The robot face includes             As shown in FIG. 3, the portable robot face 12 can be
   a robot monitor, a robot camera, a robot speaker and a robot        55   detached from the platform 34. The robot face 12 and plat
   microphone. The remote station includes a station monitor, a             form 34 may have mechanical connectors 64 that allow the
   station camera, a station speaker and a station microphone.              face 12 to be readily attached and detached from the platform
   The portable robot face can be attached to a platform mounted            34. Likewise, the robot face 12 and platform 34 may include
   to the ceiling of an ambulance. The portable robot face can be           electrical connectors 66. The ambulance may include a wire
   used by a physician at the remote station to provide remote         60   less transceiver (not shown) that can provide wireless com
   medical consultation. When the patient is moved from the                 munication to the remote station. The electrical connectors 66
   ambulance the portable robot face can be detached from the               provide an electrical connection between the robot face 12
   platform and moved with the patient.                                     and the ambulance wireless transceiver. The connectors 66
      Referring to the drawings more particularly by reference              may also provide power to the robot face 12. Alternatively, the
   numbers, FIG. 1 shows a tele-presence system 10. The system         65   wireless transceiver 60 of the robot face 12 may be coupled to
   10 includes a portable robot face 12that is coupled to a remote          the remote station through the ambulance wireless trans
   control station 14 through a wireless network 18. The wire               ceiver. The robot face may include an actuator system 68 that
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                                                         US 8,780,165 B2
                                  3                                                                     4
   can move the camera 50 in two degrees of freedom. This                     While certain exemplary embodiments have been
   allows the operator to move the camera field of view even                described and shown in the accompanying drawings, it is to
   when the face 12 is detached from the platform 34.                       be understood that such embodiments are merely illustrative
      As shown in FIG. 4 the portable robot face 12 can be                  of and not restrictive on the broad invention, and that this
   detached from the platform (not shown) and attached to the               invention not be limited to the specific constructions and
   patient gurney 70. The robot face 12 may be attached to a                arrangements shown and described, since various other modi
   platform 72 with two degrees of freedom that allow the                   fications may occur to those ordinarily skilled in the art.
   remote station user to move the robot face 12. The platform 72             What is claimed is:
   may include a clamp 74 that allows for attachment to the                   1. A method for providing a remote medical consultation,
   gurney 70. The robot face 12 and patient can be moved out of        10
                                                                            comprising:
   the ambulance on the gurney 70. The portable aspect of the                 capturing an image of a physician with a station camera of
   robot face 12 allows the face to be moved with the patient. The               a remote station, the remote station includes a station
   robot face 12 should be of a size and weight so that an                       monitor, a station speaker and a station microphone;
   individual can lift the face 12.
      As shown in FIG. 5 the portable robot face 12 can be             15     transmitting the physician image to a portable robot face
   detached from the ambulance platform (not shown) and                          mounted to a platform, the robot face including a robot
   attached to a stand 80 at a remote location. The portable                     monitor, a robot camera, a robot speaker and a robot
   nature of the robot face 12 allows the face 12 to be taken to any             microphone;
   location to allow for remote tele-presence of the operator of              capturing an image of a patient with the robot camera;
   the remote station. If the operator is a physician the portable            transmitting the patient image to the remote station;
   robot face 12 allows for remote medical consultation at any                displaying the patient image on the station monitor of the
   site.                                                                         remote station;
      FIG. 6 shows the patient and gurney moved into a health                 transmitting an audio command from the station micro
   care facility with a robot face 90 attached to a boom92. When                 phone to the robot speaker,
   the gurney 70 is moved into close proximity with the health         25     detaching the portable robot face from the platform:
   care facility the robot face wireless transceiver may be                   moving the patient and the portable robotto a new location;
                                                                                 and
   coupled to the remote station thru the healthcare facility local           displaying the physician image on the robot monitor while
   wireless network such as a WiFi network. Once inside the
   facility the portable robot face can be connected to an elec                  said portable robot face is detached from the platform.
   trical power outlet and a network for Ethernet connection. An       30     2. The method of claim 1, wherein the platform is attached
                                                                            to an ambulance.
   electronic ID device 94 may be attached to the patient. The ID              3. The method of claim 1, further comprising attaching the
   device 94 may transmit a wireless signal to the robot face 90            portable robot face to a patient gurney.
   attached to the boom 92. Receipt of the signal by the face 90               4. The method of claim 1, further comprising coupling the
   may cause the remote station to be coupled to the robot face             portable robot face to a healthcare facility network through a
   90 attached to the boom 92 instead of the portable robot face       35
                                                                            wireless transceiver of the portable robot face.
   12. The robot face 90 may be coupled to the remote station by               5. The method of claim 1, further comprising attaching a
   other means. For example, a nurse may type in information                wireless identification device to the patient and moving the
   into the healthcare facility network system that identifies the          patient into a healthcare facility that includes a robot face
   new location of the patient. Such an entry may cause the
   system to switch the remote control station to the robot face       40   attached to a boom, the robot face receives a wireless signal
                                                                            from the wireless identification device and the remote station
   90. Additionally, there may be other methodologies for induc
   ing the system to automatically transfer the remote station              becomes coupled to the robot face attached to the boom.
   from one robot to another robot.                                                                 k   k   k   k   k
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                         Exhibit F
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                                                                                      US009602765B2


   (12) United States Patent                                           (10) Patent No.:             US 9,602.765 B2
          Wang et al.                                                  (45) Date of Patent:                  *Mar. 21, 2017
   (54) PORTABLE REMOTE PRESENCE ROBOT                            (58) Field of Classification Search
                                                                          CPC .......... H04N 7/14: H04N 7/147; H04N 7/142:
   (71) Applicant: InTouch Technologies, Inc., Goleta,                                                             HO4N 21f4788
                    CA (US)                                               See application file for complete search history.
   (72) Inventors: Yulun Wang, Goleta, CA (US);
                    Charles S. Jordan, Santa Barbara, CA          (56)                  References Cited
                    (US); Marco Pinter, Isla Vista, CA
                    (US); Daniel Steven Sanchez,                                  U.S. PATENT DOCUMENTS
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                                                                                           (Continued)
   (73) Assignee: INTOUCH TECHNOLOGIES, INC.,
                    Goleta, CA (US)                                           FOREIGN PATENT DOCUMENTS
   (*) Notice:      Subject to any disclaimer, the term of this   AU               1216200 A       5, 2000
                    patent is extended or adjusted under 35       CA               22.89697 A1    11, 1998
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    21) Appl. No.: 14/289,514                                     US 8.248,451, 08/2012, Wang et al. (withdrawn)
   (21) Appl. No.:       9                                                                (Continued)
   (22) Filed:      May 28, 2014
   (65)                Prior
                          O
                             Publication
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                                         Dat                      Primary Examiner — Tuan DNguyen


                    Related U.S. Application Data                 A tele-presence system that includes a portable robot face
   (63) Continuation of application No. 13/549,971, filed on      coupled to a remote station. The robot face includes a robot
        Jul. 16, 2012 EP Pat. No s 78O16 5 which is a             monitor, a robot camera, a robot speaker and a robot
            • u. Yu’s     s             • Y-s Y-ws u says         microphone. The remote station includes a station monitor,
                             (Continued)                          a station camera, a station speaker and a station microphone.
   51) Int. C                                                     The portable robot face can be attached to a platform
   (51) hN 7/4                  2006.O1                           mounted to the ceiling of an ambulance. The portable robot
        G06F 9/00               2.8                               face can be used by a physician at the remote station to
        H04N 2L/4788            3:33                              provide remote medical consultation. When the patient is
                                                                  moved from the ambulance the portable robot face can be
   (52) is: C. H04N 7/147 (2013.01); G06F 19/3418                 detached from the platform and moved with the patient.
            (2013.01); H04N 7/14 (2013.01); H04N 7/142
                      (2013.01); H04N 21/4788 (2013.01)                           4 Claims, 5 Drawing Sheets
Case 1:99-mc-09999 Document 1144-1 Filed 10/12/20 Page 89 of 300 PageID #: 114953


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              FIG. 6
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                                                      US 9,602,765 B2
                                 1.                                                                     2
        PORTABLE REMOTE PRESENCE ROBOT                                  speaker 30. The computer 22 may also contain an input
                                                                        device 32 Such as a joystick or a mouse. The control station
            BACKGROUND OF THE INVENTION                                 14 is typically located in a place that is remote from the robot
                                                                        face 12. Although only one remote control station 14 is
     1. Field of the Invention                                          shown, the system 10 may include a plurality of remote
     The subject matter disclosed generally relates to the field        stations 14. In general any number of robot faces 12 may be
   of robotic tele-presence systems.                                    coupled to any number of remote stations 14 or other robot
     2. Background Information                                          faces 12. For example, one remote station 14 may be
     Robots have been used in a variety of applications. For            coupled to a plurality of robot faces 12, or one robot face 12
   example, robots have been used in manufacturing facilities,     10   may be coupled to a plurality of remote stations 14, or a
   bomb detection/detonation, medical facilities, etc. The              plurality of robot faces 12. The system may include an
   assignee of the present application has developed a tele             arbitrator (not shown) that controls access between the robot
   presence robot that includes a robot that is remotely con            face(s) 12 and the remote stations 14.
   trolled through a remote control station. The system is                 As shown in FIGS. 2 and 3, the portable robot face 12 may
   marketed under the product name RP-7. Both the robot and        15   be attached to a platform 34. The platform 34 may extend
   the remote station include cameras, monitors, microphones            from the ceiling (not shown) of the ambulance 20. The
   and speakers to allow for two audio-visual communication.            platform 34 may include articulate joints 36 and 38 that
   The remote station also includes a joystick that can be              provide at least two degrees of freedom and allow a user to
   operated by the user to move the robot and a robot head.             move the robot face 12 to different positions to view a
                                                                        patient and an EMT within the ambulance.
          BRIEF SUMMARY OF THE INVENTION                                   Each robot face 12 includes a camera(s) 50, a monitor 52,
                                                                        a microphone(s) 54 and a speaker(s) 56 that are all attached
      A tele-presence system that includes a portable robot face        to a housing 58. The robot camera 50 is coupled to the
   coupled to a remote station. The robot face includes a robot         remote monitor 24 So that a user at the remote station 14 can
   monitor, a robot camera, a robot speaker and a robot            25   view the patient and/or EMT. Likewise, the robot monitor 52
   microphone. The remote station includes a station monitor,           is coupled to the remote camera 26 so the patient and EMT
   a station camera, a station speaker and a station microphone.        may view the user of the remote station 14. The microphones
                                                                        28 and 54, and speakers 30 and 56, allow for audible
         BRIEF DESCRIPTION OF THE DRAWINGS                              communication between the system operator and the patient
                                                                   30   and/or EMT.
      FIG. 1 is an illustration of a tele-presence system that             The system 10 allows a system user Such as a physician
   includes a remote station coupled to a portable robot face           to view a patient in the ambulance and provide remote
   located within an ambulance;                                         medical consultation through the remote station 14 and the
     FIG. 2 is an illustration showing the portable robot face          robot face 12. Personnel such as the EMT can transmit
   within the ambulance;                                           35   questions and responses through the system back to the
     FIG. 3 is an illustration showing the portable robot face          physician. The robot camera 50 allows the physician to view
   detached from a platform mounted to the ambulance ceiling;           the patient and enhance the medical consultation. The robot
     FIG. 4 is an illustration showing the portable robot face          monitor 52 can display the physician to provide a feeling of
   attached to a patient gurney;                                        presence in the ambulance. The platform 34 allows the
     FIG. 5 is an illustration showing the portable robot face     40   physician to pan and tilt the robot face 12.
   attached to a stand;                                                    The robot face 12 may include a wireless transceiver 60
      FIG. 6 is an illustration showing a patient within a              that is coupled to the wireless network. The portable face 12
   healthcare facility that has a robot face attached to a boom.        also includes a battery 62.
                                                                           The system 10 may have certain components and Software
                  DETAILED DESCRIPTION                             45   that are the same or similar to a robotic system provided by
                                                                        the assignee InTouch-Health, Inc. of Santa Barbara, Calif.
      Disclosed is a tele-presence system that includes a por           under the name RP-7 and embodies a system described in
   table robot face coupled to a remote station. The robot face         U.S. Pat. No. 6,925,357, which is hereby incorporated by
   includes a robot monitor, a robot camera, a robot speaker and        reference.
   a robot microphone. The remote station includes a station       50     As shown in FIG. 3, the portable robot face 12 can be
   monitor, a station camera, a station speaker and a station           detached from the platform 34. The robot face 12 and
   microphone. The portable robot face can be attached to a             platform 34 may have mechanical connectors 64 that allow
   platform mounted to the ceiling of an ambulance. The                 the face 12 to be readily attached and detached from the
   portable robot face can be used by a physician at the remote         platform 34. Likewise, the robot face 12 and platform 34
   station to provide remote medical consultation. When the        55   may include electrical connectors 66. The ambulance may
   patient is moved from the ambulance the portable robot face          include a wireless transceiver (not shown) that can provide
   can be detached from the platform and moved with the                 wireless communication to the remote station. The electrical
   patient.                                                             connectors 66 provide an electrical connection between the
      Referring to the drawings more particularly by reference          robot face 12 and the ambulance wireless transceiver. The
   numbers, FIG. 1 shows a tele-presence system 10. The            60   connectors 66 may also provide power to the robot face 12.
   system 10 includes a portable robot face 12 that is coupled          Alternatively, the wireless transceiver 60 of the robot face 12
   to a remote control station 14 through a wireless network 18.        may be coupled to the remote station through the ambulance
   The wireless network may be a cellular broadband network             wireless transceiver. The robot face may include an actuator
   and/or a WiFi network. The portable robot face 12 is located         system 68 that can move the camera 50 in two degrees of
   within an ambulance 20.                                         65   freedom. This allows the operator to move the camera field
      The remote control station 14 may include a computer 22           of view even when the face 12 is detached from the platform
   that has a monitor 24, a camera 26, a microphone 28 and a            34.
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                                3                                                                     4
      As shown in FIG. 4 the portable robot face 12 can be              remote control station to the robot face 90. Additionally,
   detached from the platform (not shown) and attached to the           there may be other methodologies for inducing the system to
   patient gurney 70. The robot face 12 may be attached to a            automatically transfer the remote station from one robot to
   platform 72 with two degrees of freedom that allow the               another robot.
   remote station user to move the robot face 12. The platform     5       While certain exemplary embodiments have been
   72 may include a clamp 74 that allows for attachment to the          described and shown in the accompanying drawings, it is to
   gurney 70. The robot face 12 and patient can be moved out            be understood that such embodiments are merely illustrative
   of the ambulance on the gurney 70. The portable aspect of            of and not restrictive on the broad invention, and that this
   the robot face 12 allows the face to be moved with the               invention not be limited to the specific constructions and
   patient. The robot face 12 should be of a size and weight so    10   arrangements shown and described, since various other
   that an individual can lift the face 12.                             modifications may occur to those ordinarily skilled in the art.
                                                                          What is claimed is:
     As shown in FIG. 5 the portable robot face 12 can be                 1. A portable robot face that is adapted to be coupled to
   detached from the ambulance platform (not shown) and                 a remote station that has a station monitor, a station camera,
   attached to a stand 80 at a remote location. The portable       15   a station speaker and a station microphone, comprising:
   nature of the robot face 12 allows the face 12 to be taken to
   any location to allow for remote tele-presence of the opera             a housing:
   tor of the remote station. If the operator is a physician the           a camera coupled to said housing:
   portable robot face 12 allows for remote medical consulta               a monitor that is coupled to said housing and is adapted
   tion at any site.                                                          to display images captured by the station camera;
      FIG. 6 shows the patient and gurney moved into a                     a speaker that is coupled to said housing and is adapted to
   healthcare facility with a robot face 90 attached to a boom                generate a sound provided through the station micro
   92. When the gurney 70 is moved into close proximity with                  phone;
   the healthcare facility the robot face wireless transceiver             a microphone coupled to said housing:
   may be coupled to the remote station thru the healthcare                a battery coupled to said housing:
   facility local wireless network such as a WiFi network. Once    25      a wireless transceiver coupled to said housing; and,
   inside the facility the portable robot face can be connected            a clamp adapted to attach and detach said housing to and
   to an electrical power outlet and a network for Ethernet                   from a platform, wherein said robot face is operable
   connection. An electronic ID device 94 may be attached to                  when said housing is detached from said platform.
   the patient. The ID device 94 may transmit a wireless signal            2. The portable robot face of claim 1, wherein the root
   to the robot face 90 attached to the boom 92. Receipt of the    30   face is attached to the platform with two degrees of freedom
   signal by the face 90 may cause the remote station to be             relative to the platform.
   coupled to the robot face 90 attached to the boom 92 instead            3. The portable robot face of claim 2, further comprising
   of the portable robot face 12. The robot face 90 may be              an electrical connector adapted to be attached to said plat
                                                                        form.
   coupled to the remote station by other means. For example,      35      4. The portable robot face of claim 1, wherein the battery
   a nurse may type in information into the healthcare facility         is disposed within the housing.
   network system that identifies the new location of the
   patient. Such an entry may cause the system to switch the
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                          Exhibit G
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                                                                                            US008670017B2


   (12) United States Patent                                          (10) Patent No.:                         US 8,670,017 B2
          Stuart et al.                                               (45) Date of Patent:                              Mar. 11, 2014
   (54)   REMOTE PRESENCE SYSTEM.INCLUDING                       (56)                         References Cited
          A CART THAT SUPPORTSA ROBOT FACE
          AND ANOVERHEAD CAMERA                                                         U.S. PATENT DOCUMENTS

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   (*) Notice: Subject to any disclaimer, the term of this       news 19.html, Mar. 13, 2002.
                  patent is extended or adjusted under 35
                  U.S.C. 154(b) by 955 days.                                                       (Continued)
   (21) Appl. No.: 12/717,806                                    Primary Examiner — Gerald Gauthier
   (22) Filed:       Mar. 4, 2010                                (74) Attorney, Agent, or Firm — Chris Lambrecht
   (65)                  Prior Publication Data                  (57)                            ABSTRACT
          US 2011/0218674 A1         Sep. 8, 2011                A tele-presence system that includes a cart. The cart includes
   (51)   Int. C.                                                a robot face that has a robot monitor, a robot camera, a robot
          HO)4N 7/15              (2006.01)                      speaker, a robot microphone, and an overhead camera. The
          G06F I7/00              (2006.01)                      system also includes a remote station that is coupled to the
                                                                 robot face and the overhead camera. The remote station
          G05B I5/00              (2006.01)                      includes a station monitor, a station camera, a station speaker
   (52)   U.S. C.
                                                                 and a station microphone. The remote station can display
          USPC ......... 348/14.05:5/424; 219/137.2: 312/215;    Video images captured by the robot camera and/or overhead
                   348/1408; 348/14.09; 375/240.12: 600/300;     camera. By way of example, the cart can be used in an oper
                 600/301; 700/248; 700/253; 700/259; 702/150;    ating room, wherein the overhead camera can be placed in a
                                                705/2; 706/11    sterile field and the robot face can be used in a non-sterile
   (58)   Field of Classification Search                         field. The user at the remote station can conduct a teleconfer
          USPC ......... 5/424; 219/137.2: 312/215: 348/1405,    ence through the robot face and also obtain a view of a
                        348/14.09, 14.08: 375/240.12: 600/300,   medical procedure through the overhead camera.
                          600/301; 700/259,248,253; 702/150;
                                                 706/11: 705/2
          See application file for complete search history.                             30 Claims, 5 Drawing Sheets




                                                                  Telepresence System




                                                                                            Remote station
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       verhead Cofiefd




                                                                                    fvicrophone
                                           i2                  -               s:
                                                                                     5. Camera


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                     FIG 2
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                                                         US 8,670,017 B2
                                  1.                                                                   2
        REMOTE PRESENCE SYSTEM.INCLUDING                                    camera. The system also includes a remote station that is
        A CART THAT SUPPORTSA ROBOT FACE                                    coupled to the robot face and the overhead camera. The
            AND ANOVERHEAD CAMERA                                           remote station includes a station monitor, a station camera, a
                                                                            station speaker and a station microphone. The remote station
             BACKGROUND OF THE INVENTION                               5    can display video images captured by the robot camera and/or
                                                                            overhead camera. By way of example, the cart can be used in
      1. Field of the Invention                                             an operating room, wherein the overhead camera can be
      The subject matter disclosed generally relates to the field of        placed above a sterile field to provide a more advantageous
   robotic tele-presence systems.                                           Vantage point to view a procedure. The user at the remote
                                                                       10
      2. Background Information                                             station can conduct a teleconference through the robot face
      Robots have been used in a variety of applications ranging            and also obtain a view of a medical procedure through the
   from remote control of hazardous material to assisting in the            overhead camera.
   performance of surgery. For example, U.S. Pat. No. 5,762,                  Referring to the drawings more particularly by reference
   458 issued to Wang et al. discloses a system that allows a          15   numbers, FIGS. 1, 2 and 3 show a tele-presence system 10.
   Surgeon to perform minimally invasive medical procedures                 The system 10 includes a cart 12 that is coupled to a remote
   through the use of robotically controlled instruments. One of            control station 14. The cart 12 has a robot face 16 and an
   the robotic arms in the Wang system moves an endoscope that              overhead camera 18. The remote control station 14 may be
   has a camera. The camera allows a Surgeon to view a Surgical             coupled to the cart 12 through a network 20. By way of
   area of a patient.
      There has been marketed a mobile tele-presence robot                  example, the network 20 may be either a packet switched
   introduced by InTouch Technologies, Inc., the assignee of this           network such as the Internet, or a circuit switched network
   application, under the trademark RP-7. The InTouch robot is              such as a Public Switched Telephone Network (PSTN) or
   controlled by a user at a remote station. The remote station             other broadband system. Alternatively, the cart 12 may be
   may be a personal computer with a joystick that allows the               coupled to the remote station 14 network thru a satellite.
   user to remotely control the movement of the robot. Both the        25      The remote control station 14 may include a computer 22
   robot and remote station have cameras, monitors, speakers                that has a monitor 24, a camera 26, a microphone 28 and a
   and microphones to allow for two-way video/audio commu                   speaker 30. The computer 22 may also contain an input device
   nication. The robot camera provides video images to a screen             32 Such as a joystick or a mouse. The control station 14 is
   at the remote station so that the user can view the robots               typically located in a place that is remote from the cart 12.
   Surroundings and move the robot accordingly.                        30   Although only one remote control station 14 is shown, the
     InTouch also provides a system sold as VisitGR that                    system 10 may include a plurality of remote stations 14. In
   includes a robot face that is attached to a boom. The boom and           general any number of carts 12 may be coupled to any number
   robot face can be installed into an operating room. Using a              of remote stations 14 or other carts 12. For example, one
   robot face in an operating room may require Sterilization of             remote station 14 may be coupled to a plurality of carts 12, or
   the face. Additionally, the VisitoR requires the installation of         one cart 12 may be coupled to a plurality of remote stations
   a boom in the operating room. This can add to the cost and               14, or a plurality of carts 12. The system may include an
   complexity of installing Such a system.                                  arbitrator (not shown) that control access between the carts 12
                                                                            and the remote stations 14.
           BRIEF SUMMARY OF THE INVENTION                             As shown in FIG. 3, the cart 12 may include an articulated
                                                                   arm 40 that supports and can move the robot face 16. The
                                                                       40
      A tele-presence system that includes a cart. The cart articulated arm 40 may have active joints 42 and 44 that allow
   includes a robot face that has a robot monitor, a robot camera, the robot face 16 to be panned and tilted, respectively. The
   a robot speaker, a robot microphone, and an overhead camera. active joints 42 and 44 may move in response to commands
   The system also includes a remote station that is coupled to provided by the remote station. The joints 42 and 44 may
   the robot face and the overhead camera. The remote station 45 contain position sensors 46 and 48, respectively, that provide
   includes a station monitor, a station camera, a station speaker positional feedback of the arm 40.
   and a station microphone.                                          Referring to FIGS. 2 and 3, each robot face 16 includes a
                                                                   camera(s) 50, a monitor 52, a microphone(s) 54 and a
          BRIEF DESCRIPTION OF THE DRAWINGS                        speaker(s) 56. The robot camera 50 is coupled to the remote
                                                                       50   monitor 24 so that a user at the remote station 14 can view a
     FIG. 1 is an illustration of a tele-presence system;          video image captured by the robot camera 50. Likewise, the
     FIG. 2 is a perspective view of a cart of the system;         robot monitor 52 is coupled to the remote camera 26 so
      FIG. 3 is a rear view of an articulated arm and a robot face personnel at the Surgical site may view the user of the remote
   of the cart;                                                    station 14. The microphones 28 and 54, and speakers 30 and
      FIG. 4 is an enlarged perspective view of an overhead 55 56, allow for audible communication between the system
   camera of the cart;                                             operator and the personnel at the Surgical site.
      FIG. 5 is an illustration of a display user interface of a      The overhead camera 18 may be coupled to a boom 60. The
   remote station;                                                 boom 60 may include a number of joints 62, either active or
      FIG. 6 is an illustration of the display user interface show passive. The joints 62 may include positional sensors to pro
   ing video images captured by a robot camera and an overhead 60 vide feedback regarding the position of the overhead camera
   camera being simultaneously displayed.                          18.
                                                                      As shown in FIG. 4, the cart 12 may include an overhead
                    DETAILED DESCRIPTION                           microphone 64 and a detachable handle 66. The overhead
                                                                   microphone 64 may provide an alternative source of Sound.
      Disclosed is a tele-presence system that includes a cart. 65 The detachable handle 66 can be used to move the boom 60
   The cart includes a robot face that has a robot monitor, a robot         and overhead camera18. If the cart 12 is used in a sterile field,
   camera, a robot speaker, a robot microphone, and an overhead             for example in an operating room, the handle 66 may be
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                                                       US 8,670,017 B2
                                   3                                                              4
   replaced with a sterile handle before each medical procedure field of view. For example, if the robot face is pointed toward
   to allow a surgeon within the sterile field to position the boom an object, the overhead camera can be automatically moved to
   during a procedure.                                                capture a video image of the same object. Likewise, if the
      Referring again to FIG. 2, the cart 12 may include a linear overhead camera is capturing a video image of an object, the
   actuator 70 that can be remotely or locally actuated to vary the 5 robot face can be automatically moved to point toward the
   height of the robot face 16 and overhead camera 18. Varying same object. This enhances the “presence' of the remote
   the height allows the cart 12 to be rolled through doors and operator because they are facing the same object that the
   then actuated to move the face 16 and camera 18 to elevated        overhead camera is viewing.
   positions. For example, the face 16 and camera 18 can be             The DUI 120 may have a graphical switch 130 that allows
   lowered to allow the cart 12 to be moved into an operating 10 the user to switch between sound captured by the robot micro
   room. The camera 18 can then be raised to provide a desirable phone or the overhead microphone. The system may auto
   view over an operating table. The cart 12 may include a laser matically Switch between microphones based on a character
   pointer 72 and/or directed lighting (not shown) located on the istic(s) of the sound captured by the microphones. For
   boom 60. The cart 12 may also include a local control panel example, the system may switch to the microphone that pro
   74 to move the articulated arm 40, actuator 70 and/or boom 15 vides the highestaural clarity, or to the microphone that is in
   60. The linear actuator 70 is also advantageous in moving the the closest proximity to a person or object generating the
   face 16 to be essentially at the same level as a person whether Sound.
   they are standing, sitting or lying in a prone position.             The DUI 120 may include a location display 138 that
      The robot face 16 may include a processor, hard disk drive provides the location of the robot face. The CHANGE button
   and other circuits that enable the face 16 to function as a 20 140 can be selected to change the default robot face in a new
   computer. The face 16 may include an input panel 76 that session. The CHANGE button 140 can be used to select and
   allows a user to provide input. By way of example, the opera control a different robot face in a system that has multiple
   tor of the remote station may provide one or more questions robot faces. The user can initiate and terminate a session by
   through the robot face 16, wherein a user of the cart provides selecting box 142. The box 142 changes from CONNECT to
   answers through the input panel 76.                            25 DISCONNECT when the user Selects the box to initiate a
      The system 10 may have certain components and Software session. System settings and Support can be selected through
   that are the same or similar to a robotic system provided by the buttons 144 and 146.
   assignee InTouch Technologies, Inc. of Goleta, Calif. under          Both the robot view field 122 and the station view field 124
   the name RP-7 and embodies a system described in U.S. Pat. may have associated graphics to vary the video and audio
   No. 6,925.357, which is hereby incorporated by reference. 30 displays. Each field may have an associated graphical audio
      FIG.5 shows a display user interface (“DUI”) 120 that can slide bar 148 to vary the audio level of a selected microphone
   be displayed at the remote station 14. The DUI 120 may and another slide bar 152 to vary the volume of the speakers.
   include a robot view field 122 that displays a video image           The DUI 120 may have slide bars 150, 154 and 156 to vary
   captured by the robot camera and/or the overhead camera. the Zoom, focus and brightness of a selected camera, respec
   The DUI 120 may also include a station view field 124 that 35 tively. A still picture may be taken at either the robot face or
   displays a video image provided by the camera of the remote remote station by selecting one of the graphical camera icons
   station 14. The DUI 120 may be part of an application pro          158. The still picture may be the image presented at the
   gram Stored and operated by the computer 22 of the remote corresponding field 122 or 124 at the time the camera icon
   station 14.                                                        158 is selected. Capturing and playing back video can be
      The DUI 120 may include a graphical switch 126 that 40 taken through graphical icons 160. A return to real time video
   allows the user to select between the video image provided by can be resumed, after the taking of a still picture, captured
   the robot camera and the video image provided by the over Video, or reviewing a slide show, by selecting a graphical
   head camera. The DUI 120 may also have a graphical switch LIVE button 162.
   128 that allows the user to select the simultaneous display of       A still picture can be loaded from disk for viewing through
   the video images from the robot and overhead cameras as 45 selection of icon 164. Stored still images can be reviewed by
   shown in FIG. 6. The video images from both cameras can be selecting buttons 166. The number of the image displayed
   streamed to the remote station from the cart. The images can relative to the total number of images is shown by graphical
   be merged by presenting a center rectangle of each image boxes 168. The user can rapidly move through the still images
   (e.g., 320x480 center area). A Zoom or highlighting feature in a slide show fashion or move through a captured video clip
   may be utilized by manipulating a cursor on either image. The 50 by moving the slide bar 170. A captured video image can be
   system may also automatically pan a camera when the cursor paused through the selection of circle 174. Play can be
   is moved out of the displayed field of view.                       resumed through the same button 174. Video or still images
      The system may automatically present the video image may be dismissed from the active list through button 172.
   from a camera that has an optimal view of an object. For Video or still images may be transferred to the robot by
   example, the system may utilize pattern recognition tech- 55 selecting icon 176. For example, a doctor at the remote station
   niques to determine which video image provides a more clear may transfer an X-ray to the screen of the robot.
   image of an object. The system may determine which camera            The system may provide the ability to annotate 184 the
   is in closer proximity to an object and provide the image from image displayed in field 122 and/or 124. For example, a
   the camera that is closer to the object. The system may utilize doctor at the remote station may annotate Some portion of the
   positional feedback from the cart to determine the proximity 60 image captured by the robot face camera. The annotated
   of the cameras relative to the object. The system may also image may be stored by the system. The system may also
   have sensors, such as laser, Sonar, etc. that can determine the    allow for annotation of images sent to the robot face through
   proximity of the cameras to the object. The system may use icon 176. For example, a doctor may sendan X-ray to the robot
   the feedback and/or sensors to determine which camera is           face which is displayed by the robot screen. The doctor can
   closer to an object.                                            65 annotate the X-ray to point out a portion of the X-ray to
      The system may automatically move the cameras So that personnel located at the robot site. This can assist in allowing
   each camera is pointed to the same or Substantially the same the doctor to instruct personnel at the robot site.
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                                                          US 8,670,017 B2
                                   5                                                                         6
     The display user interface may include graphical inputs                    11. The system of claim 1, wherein said cart includes an
   186 that allow the operator to turn the views of the remote               articulated arm that is coupled to and can move said robot
   station and remote cameras on and off.                                    face, and a boom that is coupled to said overhead camera.
      Referring to FIG. 1, the cart 12 can be used in an operating              12. The system of claim 11, wherein said robot face
   room. By way of example, the boom 60 can be moved to place                includes an input panel and can be operated as a computer.
   the overhead camera 18 above an operating table 200. The                     13. The system of claim 11, wherein said articulated arm
   overhead camera 18 may be located above a sterile field. The              and said boom include position sensors.
   robot face 16 may be placed adjacent to the sterile field. With              14. The system of claim 11, wherein further comprising a
   Such a configuration, personnel may conduct two-way video                 laser pointer attached to said boom.
   conferencing through the robot face 16. The overhead camera          10      15. The system of claim 11, wherein said cart boom
                                                                             includes a detachable handle.
   18 may provide a more desirable view of the patient and                      16. A method for remotely viewing a field of view, com
   operating procedure. This would allow a physician at the                  prising:
   remote station to view the procedure and have a video con                    moving a cart, the cart includes a robot face that has a robot
   ference to provide instructions, mentoring, etc. to personnel                   monitor, a robot camera, a robot speaker, a robot micro
   at the surgical site.                                                15
                                                                                  phone, and an overhead camera distinct from said robot
      While certain exemplary embodiments have been                               camera;
   described and shown in the accompanying drawings, it is to                  transmitting to a remote station a video image captured by
   be understood that such embodiments are merely illustrative                   the robot camera or a video image captured by the over
   of and not restrictive on the broad invention, and that this                   head camera, the remote station includes a station moni
   invention not be limited to the specific constructions and                    tor, a station camera, a station speaker and a station
   arrangements shown and described, since various other modi                     microphone; and,
   fications may occur to those ordinarily skilled in the art.                 controlling at least one of said robot camera and said over
     What is claimed is:                                                         head camera in response to a command received from
      1. A tele-presence system, comprising:                                      the remote station.
                                                                        25
     a cart, said cart includes a robot face that has a robot                  17. The method of claim 16, wherein the video images
        monitor, a robot camera, a robot speaker, a robot micro              captured by the robot and overhead cameras are both trans
                                                                             mitted to the remote station.
        phone, and an overhead camera distinct from said robot                 18. The method of claim 17, wherein the remote station
        camera; and,                                                         monitor simultaneously displays the video image from the
     a remote station that is coupled to said robot face and said       30
                                                                             robot camera and the video image from the overhead camera.
        overhead camera, said remote station includes a station                19. The method of claim 16, wherein the remote station
        monitor, a station camera, a station speaker and a station           determines an optimal view of an object and displays a video
        microphone, wherein at least one of said robot camera
        and said overhead camera can be controlled from the                  image from robot camera or the overhead camera, whichever
        remote station.                                                 35
                                                                             provides the optimal view.
      2. The system of claim 1, wherein said remote station can                 20. The method of claim 16, further comprising automati
   display a video image from either said robot camera or said               cally moving the robot camera to capture a video image of a
   overhead camera.                                                          field of view that is at least substantially the same as a field of
                                                                             view of the overhead camera.
      3. The system of claim 1, wherein said remote station                     21. The method of claim 16, further comprising automati
   monitor simultaneously displays a video image from said              40
                                                                             cally moving the overhead camera to capture a video image of
   robot camera and a video image from said overhead camera.                 a field of view that is at least substantially the same as a field
      4. The system of claim 1, wherein said remote station                  of view of the robot camera.
   determines an optimal view of an object and displays a video            22. The method of claim 16, further comprising capturing
   image from said robot camera or said overhead camera,                sound   with an overhead microphone of the cart.
   whichever provides said optimal view.                             45
                                                                           23. The method of claim 22, further comprising selecting
      5. The system of claim 1, wherein said robot camera auto          an input to switch between the robot microphone and the
   matically moves to capture a video image of a field of view          overhead microphone.
   that is at least substantially the same as a field of view of said     24. The method of claim 22, further comprising automati
   overhead camera.
                                                                        cally switching between the robot microphone and the over
      6. The system of claim 1, wherein said overhead camera so head microphone
   automatically moves to capture a video image of a field of                               based on a characteristic of the sound cap
   view that is at least substantially the same as a field of view of tured    by the robot and overhead microphones.
                                                                           25. The method of claim 16, further comprising varying a
   said robot camera.
      7. The system of claim 1, wherein said cart includes an height       26.
                                                                                of the robot face.
                                                                                The   method of claim 25, wherein the robot face is
   overhead microphone.                                              55
      8. The system of claim 7, wherein said remote station moved                in two degrees of freedom.
                                                                           27. The method of claim 16, wherein the cart is moved
   includes an input that allows a user to switch between said within           an operating room.
   robot microphone and said overhead microphone.                         28.  The   method of claim 27, further comprising moving the
      9. The system of claim 7, wherein said sound generated by
   said station speakers is automatically switched between said 60 overhead         camera above a sterile field.
                                                                           29. The method of claim 16, further comprising entering
   robot microphone or said overhead microphone based on a
   characteristic of sound captured by said robot and overhead input           into the robot face.
                                                                           30. The method of claim 16, further comprising replacing
   microphones.
      10. The system of claim 1, wherein said cart includes an a detachable handle of the cart.
   actuator that can vary a height of said robot face.                                          ck  ck   k   k   k
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                          Exhibit H
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                                                                                                US010483007B2

          United States Patent                                            ( 10 ) Patent No.: US 10,483,007 B2
          Celmins et al.                                                  (45 ) Date of Patent:   Nov. 19 , 2019
   (54 ) MODULAR TELEHEALTH CART WITH                                 (52) U.S. CI.
          THERMAL IMAGING AND TOUCH SCREEN                                    CPC                  G16H 80/00 (2018.01); H04N 5/2251
          USER INTERFACE                                                                      ( 2013.01) ; H04N 5/2257 ( 2013.01) ; H04N
                                                                                            5/2258 (2013.01); H04N 5/23206 ( 2013.01) ;
   (71) Applicant: INTOUCH TECHNOLOGIES , INC .,                                               H04N 5/23216 ( 2013.01) ; H04N 5/23296
                     Goleta, CA (US)                                                        (2013.01); H04N 5/23299 (2018.08 ); H04N
                                                                                            5/232061 (2018.08) ; H04N 5/247 (2013.01);
   (72 ) Inventors : John Celmins, Santa Barbara , CA                                            H04N 5/4403 ( 2013.01); H04N 7/142
                     (US ); Gary Douville , Santa Barbara ,                           ( 2013.01 ); H04N 7/147 ( 2013.01 ); H04N 7/15
                      CA (US) ; Daniel Sanchez ,                                           (2013.01); G06F 3/0482 (2013.01 ); H04N
                      Summerland , CA (US) ; Marco Pinter ,                                    2005/443 (2013.01 ); H04N 2005/4408
                    Santa Barbara , CA (US) ; Charles S.                                                                    ( 2013.01)
                    Jordan , Santa Barbara , CA (US ) ;               (58 ) Field of Classification Search
                    Yulun Wang, Goleta , CA (US )                           CPC          G16H 80/00 ; HO4N 5/44 ; H04N 5/247;
                                                                                         HO4N 5/225; H04N 5/232; H04N 7/14 ;
   (73 ) Assignee : INTOUCH TECHNOLOGIES, INC .,                                                                     HO4N 7/15
                      Goleta , CA (US )                                     USPC                      348 /14.01–14.16 ; 434/262
                                                                              See application file for complete search history.
   ( * ) Notice:     Subject to any disclaimer , the term of this     (56 )                       References Cited
                     patent is extended or adjusted under 35
                     U.S.C. 154 (b ) by 0 days.                                             U.S. PATENT DOCUMENTS
   ( 21 ) Appl. No.: 16 /045,600                                       2005/0052527 A1 *           3/2005 Remy               H04N 7/181
                                                                                                                               348 / 14.08
   (22 ) Filed :       Jul. 25 , 2018                                  2011/0010200 A1 *           1/2011 Firozvi          GOOF 19/3418
                                                                                                                                    705/3
   (65)               Prior Publication Data                                                         (Continued )
          US 2019/0043621 A1 Feb. 7 , 2019                            Primary Examiner Melur Ramakrishnaiah
                                                                      ( 74 ) Attorney, Agent, or Firm — Christopher Lambrecht
                   Related U.S. Application Data                      (57)                 ABSTRACT
   (60) Provisional application No. 62/536,907, filed on Jul.         A telemedicine system including a cart that allows for
        25, 2017 .                                                    two-way audio /video conferencing between patients or local
   (51) Int. Ci.                                                      care providers and remote care providers or family mem
          HO4N 7/15                (2006.01)                          bers . The cart employs a modular design that allows its
          G16H 80/00               ( 2018.01)                         capabilities to be expanded to meet the needs of particular
          H04N 5/44                ( 2011.01)                         telemedicine applications. In addition , the cart provides
          H04N 5/247              ( 2006.01)
                                                                      thermal imaging and a user interface that allows local care
          H04N 5/225               ( 2006.01)                         provers to access various capabilities of the device while the
          H04N 5/232                                                  device is not in session with a remote party .
                                   ( 2006.01)
                            ( Continued )                                                   20 Claims, 9 Drawing Sheets



                                                                                       18




                                                            28

                                                                 26




                                                       24

                                                                                 20
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                                                          Page 2

   (51 ) Int. Ci.
            H04N 7/14             (2006.01)
            G06F 3/0482           ( 2013.01)
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                                        10



                FIG . 1
                                        16
                                                                           18




                        28
                                                            14
                             26




                              12
                                                                    22
                  24
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                                          10                 FIG . 2

                                          16
                                 8




                                                        36




                                                   12
             22
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        FIG . 3




                                                                   14




                                                              32
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                                                           FIG . 4


                 38




                          0 :0



                                              Ooo


                                                       a
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                FIG . 54
                                                               46
                                                                    18
                                   16
                                                         O.          52




                    28                                         50




             FIG . 5B
                                                          58
                            56
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                 FIG . 6
                                                                      46




                                                       48
                                                                 18
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               FIG . 7A
                                                      SO
                                                                                   60




                                                                           62




               FIG . 7B
                                                      CO
                                    Please select a Service to begin
                             Neonatal Resuscitation      Critical Care
                                 Acute Stroke          Behavioral Health                66
                                   Cardiology             Translation
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              FIG . 7C



                                                                68




                 70




              FIG . 7D



                                                               72
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                                                                  52


                       42                                 Touchscreen
                                                           Display
                       Overhead
                        Camera                                                       50


                                                             CPU/
                                                           Controller

                                                                                   Peripheral
         Ist Optical
           Camera                       Head Pan / Tilt
                                          Actuators
                                                                                          30
         2nd Optical
          Camera
                                                           Network
                         56                                Adapter
          Thermal
          Camera                                     78

                                                                    Power Supply
              58
                                      Battery                                                   AC
                                                                        Charger             Plug

                                                                                                 24
                                                                            82



                            FIG . 8
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                                                      US 10,483,007 B2
                                  1                                                                  2
         MODULAR TELEHEALTH CART WITH                                situationswhere the patient and /or members of the care team
       THERMAL IMAGING AND TOUCH SCREEN                               do not speak a common language. It would also be valuable
                       USER INTERFACE                                to allow local care providers to control any cameras installed
                                                                     on the device and monitor video from these cameras on a
              CROSS - REFERENCE TO RELATED                        5 display of the telemedicine device when the device is not in
                          APPLICATIONS                               session with a remote care provider.
                                                                         To achieve these ends, one aspect of the disclosure
       This application claims priority to U.S. Application No. includes a telemedicine system comprising a cart that sup
   62 /536,907 , filed Jul. 25 , 2017 , the contents of which are 10 ports a controller coupled to a camera system , a touchscreen
   hereby incorporated by reference .                                display, a microphone, a speaker , and a network . The con
                         BACKGROUND                                  troller is configured to display a user interface on the
                                                                     touchscreen display in response to a user input received via
       Telemedicine, also referred to as telehealth , generally the       touchscreen display. The user interface includes at least
   refers to the use of technology to enable physicians or other 15 camera selectable
                                                                     a  first           option that causes video captured by the
                                                                               system to be displayed on the touchscreen display
   healthcare providers to examine and treat or recommend and              a second option to transmit a request for consultation via
   treatment for a remotely located patient. Although telemedi
   cine can be practiced using technology as simple as a the network . The telemedicine system also includes a remote
   telephone , the telemedicine solution market today includes device coupled to the controller via the network . The remote
   devices and software having a wide range of sophistication . 20 device includes a camera, a display, a microphone, and a
   Examples of telemedicine devices include the INTOUCH               speaker. The remote device is configured to establish a
   XPRESS , INTOUCH VICI, INTOUCH VANTAGE,                            communication session with the controller.During the com
   INTOUCH LITE , and INTOUCH VITA , all marketed by                  munication session , the controller causes the touchscreen
   INTOUCH TECHNOLOGIES, INC ., of Goleta , Calif.                    display to display video captured by the camera of the
      The range of solutions generally intends to satisfy the 25      remote device .
   functional and economic requirements of telemedicine
   encounters in different types of settings with varying levels              BRIEF SUMMARY OF THE DRAWINGS
   of acuity. For example , smartphones, tablets, or laptop
   computers with basic audiovisual capabilities may be suf              FIG . 1 illustrates a view of a telemedicine cart in accor
    ficient for a patient to consult with their doctor on treating 30 dance with the disclosure .
   a cold or behavioral health issues. These types of devices ,         FIG . 2 illustrates a second view of a telemedicine cart in
   however, may be insufficient in a higher acuity setting such accordance with the disclosure .
   as a hospital emergency department, intensive care unit, or          FIG . 3 illustrates a rear view of a telemedicine cart in
    specialty clinic , where the remote physician may require accordance with the disclosure .
   more capable video or imaging devices and /or the ability to 35 FIG . 4 illustrates an example of a telemedicine cart with
   monitor data from peripheral medical devices in real time. an overhead boom camera installed in accordance with the
    Other settings where telemedicine is practiced may present disclosure .
   other unique requirements .                                       FIG . 5 illustrates a detailed view of the head of a
      Thus, the telemedicine solution market is replete with telemedicine cart in accordance with the disclosure.
   disparate devices and software solutions that seek to satisfy 40 FIG . 6 illustrates another view of a telemedicine cart in
   the varied requirements ofmany different telehealth encoun      accordance with the disclosure .
   ter settings. In addition , while many of these devices offer     FIGS. 7A - D illustrate various screens of a user interface
   great value in terms of their ability to provide real- time of a telemedicine cart in accordance with the disclosure .
   audio /video consultation between remote parties , few of             FIG . 8 is a block diagram of electronic components of a
   these devices provide any value to local care providers when 45 telemedicine cart in accordance with the disclosure .
   not being used in a session with a remote care provider.
                                                                                      DETAILED DESCRIPTION
                           SUMMARY
                                                                   The following disclosure includes a telemedicine system
      It would be desirable to provide a telemedicine device 50 including a cart that allows for two -way audio /video con
   with broader economic suitability by employing a modular            ferencing between patients or local care providers and
   design that allows the device's functionality to be expanded       remote care providers or family members . The cart employs
   for applications that demand it . For example , it would be        a modular design that allows its capabilities to be expanded
   beneficial to include an integrated overhead boom camera           to meet the needs of particular telemedicine applications. In
   for neonatal intensive care applications or any application 55     addition , the cart provides a number of features to local care
    involving a sterile field . Further, it would be beneficial to    provers that can be accessed while the device is not in
    include an integrated peripheral expansion bay and /or ther       session with a remote party .
   mal camera for certain care applications.                             FIGS. 1-2 illustrate several views of an example of a
     In addition , it would be desirable to provide a telemedi       telemedicine cart 10 in accordance with the disclosure . The
   cine device that includes features and/or services that can be 60 cart 10 includes a base 12, a trunk 14, a neck 16 , and a head
   utilized by local care providers even when a remote care 18. The base 12 may include casters 20 that allow the cart
   provider is not logged in to the device. For example , it would 10 to be wheeled around a healthcare facility. The casters 20
   be valuable to allow local care providers to request a remote may include wheel locks 22 for locking the wheels and
   consultation from the device itself. The request for consul immobilizing the cart 10 in its desired location . The base 12
   tation could be for a medical consultation with a remote 65 may house one ormore batteries (not shown ) that power the
   physician , a family member consultation with a member of various electrical and electronic components of the cart . The
   the patient's family, or a language translation service in base may also house a battery charger coupled to a power
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                                                       US 10,483,007 B2
                                  3                                                                4
   supply that includes an AC power cord 24 that can be cameras 54 , 56 but result in irregular or otherwise unusual
   plugged into a wall socket to energize the power supply .        heat patterns on the patient's body. For example , irregular
        The trunk may include a receptacle 26 for a privacy heat patterns such as “ hot spots ” on the patient's body may
   handset 28 that allows a person in the vicinity of the cart 10 be indicative of localized trauma, infection , or irritation .
   to communicate privately with a remote user logged into the 5 Other patterns such as asymmetric blood flow in the limbs
   device. As shown in FIG . 2 , the trunk 14 may also include or the face may be indicative of ischemic stroke or other
   a peripheral expansion bay 30 that includes one or more conditions that result in irregularities in the patient's blood
   communication ports , including USB ports , HDMI ports , flow . In addition to spatial anomalies in the patient's body
   ETHERNET ports, etc. The trunk 14 may also include a heat, the thermal camera 58 may allow a care provider to
   status indicator panel 36 that displays the status of various 10 detect temporal irregularities in the patient's temperature by
   elements of the cart. For example , the status indicator panel analyzing temperature trends in images from the thermal
   36 may display current battery life or charge level and camera 58 taken over time. The system may also be con
   wireless network strength . As shown in FIG . 3, the rear of figured to use computer vision techniques to analyze the
   the trunk may also include a storage bin 32 with a door 34 images captured by the thermal camera 58 and automatically
   that can be shut and latched . The storage bin 32 may be used 15 detect spatial and temporal temperature irregularities dis
   to stow medical peripherals when not use. Examples of cussed above . Further details of the use of thermal imaging
   medical peripherals include stethoscopes , otoscopes, dermal devices in medical and telemedicine applications can be
   cameras , etc.                                                   found in U.S. patent application Ser. No. 13 / 111,208, filed
        The neck 16 extends up from the trunk 14 along a track May 19 , 2011 , entitled “Mobile Videoconferencing Robot
   (not shown ) that runs vertically up the trunk . The neck 16 20 System with Autonomy and Image Analysis” , and U.S.
   may be moved up or down along the track to shrink or application Ser. No. 14 /091,292, filed Feb. 13 , 2014, entitled
    elongate the neck 16 and vary the height of the head 18. The “ Enhanced Diagnostics for a Telepresence Robot” , the con
   track may employ friction elements , latches, springs, and /or tents of which are hereby incorporated by reference .
   counter weights (not shown ) to achieve smooth movement             In addition , a user interface for the thermal camera 58
   of the neck 16 along the track and ensure that the neck 16 25 such as that discussed in U.S. Appl. No. 62/536,907, the
   and head 18 remain at the desired height when not being contents of which are incorporated by reference , may be
   raised or lowered . The variable length of the neck 16 may available either on the touchscreen display as well as at a
   allow the height of the head 18 to be varied from approxi remote device logged into the cart. This interface makes
   mately four feet above the floor to six feet above the floor. available certain features such as temperature and color
    The top of the neck 16 may include a mount point 38 adapted 30 thresholding and measuring a point-to-point temperature
    to receive one end of an articulating boom 40 that supports differential on the patient's body using cursors positioned by
   an additional, overhead pan -tilt-zoom (PTZ ) camera 42 , as the user on the thermal image displayed in the interface.
   shown in FIG . 4. This configuration is beneficial in , e.g., a     Although their viewing angles and zoom factors may be
   neonatal intensive care environment in which local care            different, the various cameras 54 , 56 , 58 of the camera
   providers will often surround an infant bed 44 and the 35 system in the head 18 of the cart are closely positioned and
   overhead camera 42 is crucial for the remote care provider similarly oriented so as to allow switching between their
   to view the infant. This configuration is also beneficial in any   respective streams while maintaining a similar perspective
   environment in which there is a sterile field that precludes       of the environment. For example , each of the cameras may
   moving the cart 10 within a certain distance of the patient        face the same direction and be positioned less than three
   without requiring subsequent sterilization , as is the case for 40 inches apart.
   many surgical procedures .                                            As shown in FIG . 6 , the head 18 may be coupled to the
      FIGS. 5A -B show an example of the head 18 of a cart in neck 16 via a pan joint 46 and a tilt joint 48 that allow the
   accordance with the disclosure . The head 18 includes a head 18 to be panned and /or tilted relative to the neck 16 .
   camera system 46, one or more microphones 48 , one or more The joints 46 , 48 may include motorized actuators that allow
   speakers 50 , and a touchscreen display 52 all coupled to a 45 the pan and or tilt angles of the head 18 to be controlled
   controller (not shown ), which may be located in the head , remotely or via a control interface on the cart 10. The
   the base , or any other suitable location in the cart. The panning and tilting head 18 allows the remote user to
   camera system 46 may include a first optical camera 54 reorient the camera system 46 to look around the environ
   having a wide field of view or viewing angle and a second ment surrounding the cart 10. The touchscreen display 52
   optical camera 56 having a narrow field of view with a 50 may pan and tilt with the camera system 46 and always face
   higher zoom factor than the first optical camera 54. The the same general direction in which the camera system 46
   controller may stream video from both optical cameras 54 , faces . This creates the impression that the remote user is in
   56 over the network to the remote device for display the room and looking around the room in much the same
   simultaneously, or the controller may switch the video way as a person actually in the room would . This provides
   stream being sent to the remote device between the first 55 an enhanced sense of the remote user's presence to people
   optical camera 54 and the second optical camera 56 depend          in the vicinity of the cart 10. The pan and tilt actuators
   ing on the zoom factor or field of view requested by the user between the neck 16 and the head 18 are also designed so as
   of the remote device . Further details of a multi-camera           to allow the pan and tilt angle of the head 18 to be manually
   teleconferencing system are discussed in U.S. Pat. No. adjusted a user in the vicinity of the cart 10 by tilting or
    9,198,728 , filed Sep. 30 , 2005 , entitled “Multi - Camera 60 rotating the head 18 by hand.
   Mobile Teleconferencing Platform ” , the contents of which            FIG . 7A illustrates an example of a screen saver 60 that
   are hereby incorporated by reference .                             may be displayed as part of a user interface 62 on the
       The camera system may also include a thermal camera 58. touchscreen display 52 of the cart 10 when the system is idle .
   An example of a suitable thermal camera is the BOSON 320 Touching the touchscreen 52 or otherwise interacting with
   Camera Core manufactured by FLIR . The thermal camera 65 the cart may cause the user interface 62 to transition the
   may aid a physician or care provider in diagnosing a variety touchscreen display 52 from the screen saver 60 depicted in
   of conditions that may be invisible to the eye or optical          FIG . 7A to the menu 64 shown in FIG . 7B .
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                                                        US 10,483,007 B2
                                   5                                                                      6
      The menu illustrated in FIG . 7B may include a number of             allows the user to simultaneously stream and view video
   selectable options 66 including requesting a consultation               from any two or more of the cameras coupled to the cart,
   with a remote physician or care provider. The menu 64 may including any imaging devices that may be connected to the
   display one or more different types of consultations, which cart's expansion bay, such as an otoscope or sonogram
   may result in the request for consultation being sent to a 5 device . By way of example , the user may train the camera
   specific care provider. Alternatively , any request for consult system to view the patients leg with the optical camera and
   may simply sent to a general care coordination center with simultaneously display video from the thermal camera to
   the requested type of consultation included in the request. assist in identifying an irregular heatpattern on the patient's
   Personnel at the care coordination center may then forward leg . Further details of an exemplary user interface for a
   the request to the appropriate care provider. The various 10 remote device in telemedicine system can be found in U.S.
   consultation types illustrated in FIG . 7B include neonatal application Ser. No. 10 / 962,829 , filed Oct. 11, 2004, entitled
   resuscitation , critical care, acute stroke , behavioral health , “ Graphical interface for a remote presence system ”, U.S.
   and cardiologist. Those skilled in the art will recognize that Pat. No. 9,361,021, filed Nov. 21, 2014 , entitled “ Graphical
   many other types of consultations may be available for                  User Interfaces Including Touchpad Driving for Telemedi
   request.                                                 15 cine Devices” , and U.S. Pat. No. 9,098,611 , filed Mar. 14 ,
      Another selectable option 66 from themenu screen shown 2013 , entitled “ Enhanced Video Interaction for a User
   in 6B is “ translation .” When the user selects this option , the       Interface of a Telepresence Network ” , the contents of which
   system may transmit a request for consult to a multi -lingual           are hereby incorporated by reference .
   translator who can then log into the cart from their remote                 Another selectable option 66 available from the menu
   device and translate among parties who do not speak a 20                screen in FIG . 7B may be to display video from any imaging
   common language.Upon selecting the translation option , the             devices connected to the cart, including the optical
   system may present another menu of specific language                    camera (s ), thermal camera , overhead camera, or any imag
   translation options (e.g., “ Spanish ” , “ French ” , etc. ) that can   ing devices connected to the expansion bay. For example ,
   be chosen to identify an appropriate translator. Alternatively ,         FIG . 7D illustrates an example of the touchscreen interface
   selecting the language translation option may send a request 25         displaying a thermal video image 72 captured by the thermal
   for a translator to personnel who may then locate an appro              camera on the cart. Even though the cart is not in session
   priate translator. The language translation service mode may            with a remote care provider, a local care providermay wish
   include an option to mute video from any camera on the cart             to view the patient's body using the thermal camera . In this
   for privacy reasons.                                                    case, the user may simply select, from the menu on the
       The menu in FIG . 7B may also include a “ friends and 30            touchscreen display, to display the video from the thermal
   family ” option that allows a user in proximity of the device           camera on the touchscreen display. The video from the
   to request a consultation with a member of the patient's                thermal camera may then be displayed on the touchscreen
   family or friend group . When this option is selected , the             and the user can adjust the height, pan, and /or tilt of the head
   touchscreen display may prompt the user for a telephone                 to train the thermal camera on the desired part of the
   number, email address, or other communication address . 35              patient's body. The system may also allow the user to change
    The user may enter the requested information using alpha               the zoom factor of the displayed video using “ pinch ” or
   numeric keys displayed on the touchscreen , voice recogni               “ spread ” gestures on the touchscreen , or manipulating but
   tion , external keyboard , or other means . Once the requested           tons or slider bars displayed on the touchscreen .
   information has been supplied , the controller may then                     If the cart is configured with an the overhead boom
   transmit a message, e.g., a text message or email, to the 40            camera, the touchscreen interface may also allow the user to
   provided address. The message may include a universal                   display video from the overhead camera on the touchscreen
   resource locator or other link that can be selected to launch           interface and allow the user to adjust the pan , tilt , and zoom
   a specific application on the recipients device that can                of the overhead camera . This is especially useful when the
   connect to and establish a communication session with the               user is positioning the cart and adjusting the boom height in
   cart via the internet. Alternatively , the link may simply direct 45    preparation for a consultation with a remote care provider
   a web browser on the recipients device to a web portal that             who will utilize the overhead camera to view a sterile field
   allows the remote user's device to connect to and establish             or infant bed .
   a communication session with the cart.                                     The menu displayed in FIG . 7B may also include an
      Once connected , or “ in session ,” the cart may display option for a local care provider to open or launch a clinical
   video received from a camera of the remote user's device on 50 protocol, workflow , or otherwise open and edit a medical
   the touchscreen display. In many cases, this video 68 will form or record using the touchscreen interface . For example ,
   include the face of the remote user, as illustrated in FIG . 7C .      when a patient arrives for a telehealth consultation with a
   In addition, video from the cart's camera system (or over              remote physician , a nurse or medical assistant may open a
   head camera ) will be streamed to and displayed on a display          medical record for the patient using the touchscreen inter
   of the remote user's device. This video may also be dis-            55 face and begin documenting the encounter, including enter
   played on the touchscreen display of the cart in a picture             ing the patient's current vital signs into the record before the
   in -picture window 72. The cart microphone and speaker will remote physician is notified that the patient is ready to begin
   be coupled to the speaker and microphone of the remote the consultation . In another embodiment, if a patient arrives
   user's device so that people in the vicinity of the cart and the in an emergency department showing signs of a stroke , a
   remote user(s ) can hear each other.                            60 nurse or doctormay launch a stroke consult form or work
       By interacting the with user interface of the application on flow using the touchscreen interface and begin documenting
   the remote device , the remote user can control the pan , tilt, the encounter and proceeding through the various steps
   and zoom of the camera system to look around the cart's prescribed in the medical facility's stroke protocol. Further
   environment. The remote user can also select to display details regarding editing patient records and documenting
   video from any combination of the optical camera (s), the 65 clinical encounters during a telemedicine encounter can be
   thermal camera , and the overhead camera . The user interface found in U.S. patent application Ser. No. 10 / 936,041, filed
   on the remote devicemay include a multi-view function that Sep. 7 , 2004, entitled “ Tele -presence system that allows for
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                                                        US 10,483,007 B2
                                   7                                                                      8
   remote monitoring/observation and review of a patient and        memory produce an article ofmanufacture , including imple
   their medical records” , U.S. Pat. No. 8,179,418 , filed Apr.    menting means that implement the function specified . The
    14 , 2008 , entitled " A Robotic Based Health Care System ” , computer program instructions may also be loaded onto a
   U.S. Pat. No. 8,849,680 , filed Jan. 29, 2009, entitled “ Docu   computer or other programmable data processing apparatus
   mentation Through A Remote Presence Robot” , and U.S. 5 to cause a series of operational steps to be performed on the
   application Ser. No. 15/ 965,623, filed Apr. 27, 2018 , entitled computer or other programmable apparatus to produce a
   " Telehealth Cart that Supports a Removable Tablet with computer -implemented process, such that the instructions
    Seamless Audio /Video Switching” , the contents of which that execute on the computer or other programmable appa
   are hereby incorporated by reference .                           ratus provide steps for implementing the functions specified .
      FIG . 8 illustrates a block diagram of the various electrical 10 The foregoing specification has been described with ref
   components of a telemedicine cart in accordance with the erence to various embodiments. However, one of ordinary
   disclosure . The cart includes a CPU or controller that may skill in the art will appreciate that various modifications and
   take the form of a computer running Microsoft Windows, changes can be made without departing from the scope of
   LINUX, UNIX ,MAC OS , or other similar operating system . the present disclosure . Accordingly, this disclosure is to be
    The cart may include first and second optical cameras 54 , 56 15 regarded in an illustrative rather than a restrictive sense , and
   as well as a thermal camera 58 and an overhead camera 42 .         all such modifications are intended to be included within the
   The overhead camera may be a PTZ camera and have a scope thereof. Likewise , benefits , other advantages , and
   separate control interface 76 , such as an RS - 232 interface , solutions to problems have been described above with
   that provides enhanced control of the actuators that control regard to various embodiments. However, benefits, advan
   the pan , tilt, and zoom of the overhead camera 42. The cart 20 tages, solutions to problems, and any element(s ) that may
   may also include a touchscreen display 52 coupled to the cause any benefit, advantage, or solution to occur or become
   controller 74 that can display images , including video and more pronounced are not to be construed as a critical, a
   the user interface described above , as well as receive touch required , or an essential feature or element. As used herein ,
   input from the user to provide to the controller. The cart may the terms “ comprises,” “ comprising,” and any other varia
   also include at least one speaker 50 and at least one 25 tion thereof, are intended to cover a non -exclusive inclusion ,
   microphone 48 coupled to the controller 74. The controller such that a process, a method , an article , or an apparatus that
   74 is coupled to at least one network adapter 78 to allow the comprises a list of elements does not include only those
   controller 74 to communicate with other devices over a         elements butmay include other elements not expressly listed
   network , such as the Internet. The one or more network or inherent to such process , method , system , article, or
   adapters 78 may include wired network adapters (such as 30 apparatus. Also , as used herein , the terms " coupled ," " cou
   Ethernet) and wireless network adapters such as WIFI and pling,” and any other variation thereof are intended to cover
   Bluetooth . The cart may also include a peripheral port a physical connection , an electrical connection , a magnetic
   expansion bay 30 coupled to the controller 74. The periph connection , an optical cononnection , a communicative con
   eral ports may include HDMI, Ethernet, USB , and other nection , a functional connection , and /or any other connec
   interfaces for connecting to external medical devices, imag- 35 tion .
   ing devices, audio devices, input devices, and the like . The      While the principles of this disclosure have been shown in
   cart also includes an AC plug 24 coupled to a power supply             various embodiments , many modifications of structure,
   80 that powers the various electrical components of the cart.          arrangements, proportions, elements,materials, and compo
   The power supply 80 may include a battery charger 82                   nents , which are particularly adapted for a specific environ
   coupled to a battery 84 to power the cart when the AC plug 40          ment and operating requirements , may be used without
   24 is not plugged into an AC power source . Some compo                 departing from the principles and scope of this disclosure .
   nents , such as the optical and thermal cameras, the touch              These and other changes or modifications are intended to be
   screen display, the microphone, and the speaker may be                 included within the scope of the present disclosure .
   mounted together in the head of the cart which may have pan               What is claimed is :
   and tilt control provided by head pan / tilt actuators 86 , which 45       1. A telemedicine system comprising:
   are coupled to and controlled by the controller 74.                       a cart that supports a controller coupled to a camera
      Additionally, as will be appreciated by one of ordinary                   system , a touchscreen display, a microphone, a speaker,
   skill in the art , principles of the present disclosure may be                and a network , the controller is configured to display a
   reflected in a computer program product on a computer                        user interface on the touchscreen display in response to
   readable storage medium having computer -readable pro- 50                     a user input received via the touchscreen display, the
   gram code embodied in the storage medium , the computer                      user interface including at least a first selectable option
   readable program code executable by a processor. Any                         that causes video captured by the camera system to be
   tangible , non -transitory computer -readable storage medium                 displayed on the touchscreen display and a second
   may be utilized, including magnetic storage devices (hard                    option to transmit a request for consultation via the
   disks , floppy disks, and the like ), optical storage devices 55            network ; and
   (CD -ROMs, DVDs, Blu -Ray discs, and the like), flash                     a remote device coupled to the controller via the network ,
   memory, and/or the like. These computer program instruc                      the remote device including a camera, a display , a
   tions may be loaded onto a general purpose computer,                        microphone , and a speaker and configured to establish
   special purpose computer, or other programmable data pro                    a communication session with the controller, wherein
   cessing apparatus to produce a machine, such that the 60                    the first selectable option causes video captured by the
    instructions that execute on the computer or other program                 camera system to be displayed on the touchscreen when
   mable data processing apparatus create means for imple                       the system is not in session and , during the communi
   menting the functions specified . These computer program                    cation session , the controller causes the touchscreen
    instructions may also be stored in a computer-readable                     display to display video captured by the camera of the
   memory that can direct a computer or other programmable 65                  remote device .
   data processing apparatus to function in a particular manner,             2. The system of claim 1, wherein the camera system
   such that the instructions stored in the computer-readable             includes a thermal camera .
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                                                      US 10,483,007 B2
                                  9                                                               10
      3. The system of claim 2 , wherein the camera system                13. The system of claim 1, wherein the user interface
   includes a first optical camera with a first field of view .        displays a plurality of selectable consultation types that can
      4. The system of claim 3, wherein the camera system              be selected to request a consultation .
   includes a second optical camera with a second field of view .         14. The system of claim 13 , wherein selecting a first
      5. The system of claim 4 , wherein the cart further com
   prises an articulating boom that supports a third optical 5          consultation type cause a consultation request to be trans
                                                                       mitted to a first care provider and selecting a second con
   camera coupled to the controller, the third optical camera          sultation type causes a consultation request to be transmitted
   having a third field of view .                                      to a second care provider.
      6. The system of claim 5 , wherein the third optical camera         15. The system of claim 1, wherein the user interface
   is a pan -tilt-zoom camera .                                   10
                                                                       includes a selectable option that causes the controller to
      7. The system of claim 6 , wherein the controller changes        display a medical form that can be completed via the
   at least one of the pan , tilt, and zoom of the third optical
   camera in response to user input provided via the touch touchscreen  16.  The
                                                                                     interface .
                                                                                   system  of claim 1 , wherein the controller causes
   screen display .
      8. The system of claim 6 , wherein the controller changes 15 the  user interface to display a prompt for a telephone number
   at least one of the pan , tilt , and zoom of the third optical and      subsequently transmits the consultation request to a
                                                                    telephone number provided by the user via the touchscreen
   camera in response to a user input received from the remote interface         in response to the prompt.
   station .
       9. The system of claim 1 , wherein the camera system and request17. The system of claim 1 , wherein the consultation
   the touchscreen display can be panned and tilted relative to 20 and includesis transmitted via a Short Message Service protocol
   the cart.                                                                          a uniform resource locator .
       10. The system of claim 9 , wherein the camera system and       18.   The   system  of claim 17 , wherein the recipient of the
   the touchscreen display are mechanically coupled such that consultation           request can select the uniform resource locator
                                                                    to activate an application that establishes the communication
   they face in substantially the same direction and move session              with the controller.
   together.                                                     25
       11. The system of claim 9, wherein the cart includes            19.    The   system of claim 1 , wherein the user interface
   actuators configured to pan and tilt the camera system and includes           a selectable option for a language translation ser
   the touchscreen display in response to commands received vice20.      .
                                                                             The system of claim 1, wherein the cart includes a
    from the remote station .
       12. The system of claim 11, wherein the actuators are 30     removable      peripheral bay that includes a plurality of com
   configured to be manually repositioned by a person in the munication ports coupled to the controller.
   vicinity of the cart.
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                          Exhibit I
Case 1:99-mc-09999 Document 1144-1 Filed 10/12/20 Page 142 of 300 PageID #: 115006
                                                                                                TOMADAN DUN LITHUANIAN                          US010059000B2

    (12) Herzog
         Unitedet alStates Patent                                                                             (10) Patent No.: US 10 ,059,000 B2
                     .                                                                                        (45) Date of Patent: * Aug. 28 , 2018
    (54 ) SERVER CONNECTIVITY CONTROL FORA                                                              (58 ) Field of Classification Search
            TELE -PRESENCE ROBOT                                                                              CPC ........ B25J 9 / 1689; B25J 5 /007; B25J 19 /023 ;
                                                                                                                          B25J 5 /00 ; G05D 1/0246 ; G05D 1/0038 ;
   (71) Applicant: INTOUCH TECHNOLOGIES, INC .,
   @
                                                                                                                                                    (Continued )
                     Goleta , CA (US )
   (72 ) Inventors : John Cody Herzog , Santa Barbara , CA
   @
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   @                                                                                                                      FOREIGN PATENT DOCUMENTS
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   ( * ) Notice : Subject to any disclaimer , the term ofthis                                                                                  (Continued )
                     patent is extended or adjusted under 35
                     U .S .C . 154 (b ) by 2 days.                                                                                      OTHER PUBLICATIONS
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                          claimer .                                                                     Paulos et al., “ Social Tele-Embodiment: Understanding Presence” ,
                                                                                                        Autonomous Robots, vol. 11, Issue 1, Kluwer Academic Publishers,
   ( 21 ) Appl. No.: 15 /198 ,594                                                                       Jul. 2001, pp . 87 - 95 .
                                                                                                                                     (Continued )
   (22) Filed:            Jun . 30 , 2016
                                                                                                        Primary Examiner — Mary D Cheung
    (65 )                Prior Publication Data
            US 2016 /0311114 A1 Oct . 27, 2016                                                          (57 )               ABSTRACT
                                                                                                        A robot system with a robot that has a camera and a remote
                   Related U .S. Application Data                                                       control station that can connect to the robot . The connection
    (60 ) Continuation of application No. 13 /894 ,246, filed on                                        can include a plurality of privileges . The system further
          May 14 , 2013 , now Pat. No. 9 ,381,654, which is a                                           includes a server that controls which privileges are provided
                                                                                                        to the remote control station . The privileges may include the
                           (Continued )                                                                 ability to control the robot, joint in a multi- cast session and
                                                                                                        the reception of audio / video from the robot. The privileges
    (51) B25J
         Int. CI9./ 16                                                                                  can be established and edited through a manager control
                                       (2006 . 01)                                                      station . The server may contain a database that defines
            B25J 5 / 00                (2006 .01)                                                       groups of remote control station that can be connected to
                                ( Continued )                                                           groups of robots. The database can be edited to vary the
    (52) U . S . CI.                                                                                    stations and robots within a group . The system may also
            CPC ............... B25J 9 / 1689 (2013.01); B25J 5700                                      allow for connectivity between a remote control station at a
                           (2013.01) ; B25J 5 /007 ( 2013 . 01); B25 )                                  user programmable time window .
                                                         19 /023 (2013.01 );
                                (Continued )                                                                                     19 Claims, 7 Drawing Sheets

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                                                         212                                             Server
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                                                         7 - 12             CM                                Network
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                                            end-                    Audio
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                                                                                                                                   Control
                                                                                                                                    Status
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        New Group Creation
         Creation Filters
          OEM                 AAA
          Customer            No Selection
         Add Members - 62
         Group - 70 No Selection
         OEM     68  No Selection
         Customer 66 No Selection O
          Client     64        CS - 2346     D

         Name                 AAA Executive Laptops
         Members              < client> CS -2345 < / client> < client> CS - 2346 < / client>
          Comments            AAA laptops used by corporate executives .
            Add This Goup

        Existing Groups
                                                 - 76
        Display Filters
         Group                No Selection o
         OEM                  AAA                                                              -60
         Customer             No Selection
         Client               No Selection
         Show Inactive        No Selection
         Time Zone
         PST (-8) O                                                         80
                            Active         Name                       Members                        Created By
          123               True           AAA Proctor Boxesi         < client> Robot                Marcus Brody
            Edit
            Edit 7
                   82       True                                      1234 < /client>                06 /21/08 08 :23pm
                                                                      < client > Robot
          History                                                     1234 < /client>
                                                                      < client> Robot
                                                                       1234 < /client>
         125                True
                            True           AAA Proctor Boxesi < client > CS -2455 < / client> Doug Quaid
                                           Laptops            < client> CS- 2455 < / client> 06 /01/08 01:23pm
            Edit
          History




                                                                  FIG . 2
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          FIG . 3
        New Rule Creation
         Time Zone
          PST (-8) 0                                   92
         Creation Filters
          OEM                    No Selection
         Customer                No Selection
         Add From
         Group                   AAA Proctor Boxes1
          OEM                    No Selection
          Customer               No Selection
          Client                 No Selection

         From         98        T < group > AAA Executive Laptops,/group >
         To 100              | < group > AAA Proctor Boxesi < / group >                              . ..   .... .. . .


         Priority 102 71
         Privilege Level- 104 Full Access
         Type - 106            Additive ( + )
         Bidirectional 108 False ( = > )
         Read -Only         110 False
         Start Time - 112 06 /20/ 08 08 :00pm
         End Time 114 06 /21/08 06 :00pm
         Comments         Temporary rule for conference demo in Georgia .
            Add This Rule        16
        Existing Rules                               94
        Display Filters                                                                       - 90
         Group                   No Selection
         OEM                     AAA
         Customer                No Selection
         Client                  No Selection |
         Show Inactive           No Selection
                                                                          118
                               Active       From                            TO                                            Privilege
                       120 True             < client > CS - 2556 < /client> < client> Robot                               No Save
            Edit                                                           1234 < / client>
          History
                    122
                              True          < customer > ISRG              < customer > ISRG                              Full
                                            Customeri < / customer         Customer2 < / customer>                        Access
            Edit
          History
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               Customer                                                                          130
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          HighLevel   Contrle         1394Pot *158          PSeoriatl -160 VGA
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                       FIG . 7
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             FIG . 8
         200 -
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                                                           US 10 ,059,000 B2
         SERVER CONNECTIVITY CONTROL FOR A                                    FIG . 5 is an illustration of a user interface similar to FIG .
                TELE -PRESENCE ROBOT                                        4 showing an error message ;
                                                                              FIG . 6 is a schematic of an electrical system of a robot;
               BACKGROUND OF THE INVENTION                                    FIG . 7 is side view of the robot;
                                                                       5      FIG . 8 is a side view of a robot head .
        1 . Field of the Invention
        The subjectmatter disclosed generally relates to the field                          DETAILED DESCRIPTION
   of robotics.
        2 . Background Information                                     Disclosed is a robot system with a robot that has a camera
        Robots have been used in a variety ofapplications ranging 10 and a remote control station that can connect to the robot.
   from remote control ofhazardous material to assisting in the             The connection can include a plurality of privileges . The
   performance of surgery . For example , U . S . Pat. No . 5 ,762 ,        system further includes a server that controls which privi
   458 issued to Wang et al. discloses a system that allows a               leges are provided to the remote control station . The privi
   surgeon to perform minimally invasive medical procedures                 leges may include the ability to control the robot, join in a
   through the use of robotically controlled instruments. One of 15 multi-cast session and the reception of audio /video from the
   th                                        moves                          robot. The privileges can be established and edited through
   that has a camera . The camera allows a surgeon to view a                a manager control station .
   surgical area of a patient.                                                 The server may contain a database that defines groups of
      There has been marketed a tele -presence mobile robot                 remote control stations that can be connected to groups of
   introduced by InTouch Technologies, Inc., the assignee of 20 robots . The database can be edited to vary the stations and
   this application , under the trademark RP - 7 . The InTouch              robots within a group . The system may also allow for
   robot is controlled by a user at a remote station . The remote           connectivity between a remote control station and a robot
   station may be a personal computer with a joystick that                  within a user programmable time window . The system may
   allows the user to remotely control the movement of the         also allow for connectivity between arbitrary endpoints ,
   robot. Both the robot and remote station have cameras , 25 including control station to control station connections and
   monitors, speakers and microphones to allow for two -way robot to robot connections.
   video / audio communication . The robot camera provides            Referring to the drawings more particularly by reference
   video images to a screen at the remote station so that the user numbers , FIG . 1 shows an embodiment of a robot system 10 .
   can view the robot's surroundings and move the robot The robot system 10 includes a plurality of robots 12 each
   accordingly.                                        30 with a base station 14 and a plurality of remote control
     The InIn Touch
     The      Touch robot
                    robot system   can be
                          system can   be used
                                          used to
                                               to access any
                                                  access any                stations 16 . Each remote control station 16 may be coupled
   number of robots from different remote locations. For                    to the base station 14 through a network 18 . By way of
   example , a hospital facility may have a number of tele -                example, the network 18 may be either a packet switched
   presence robots that are accessible from different remote                network such as the Internet, or a circuit switched network
   computer stations. A physician can become connected to a 35 such has a Public Switched Telephone Network (PSTN ) or
   robot by merely logging on through a laptop or personal                  other broadband system . The base station 14 may be coupled
   computer. As the number of in -field InTouch tele -presence              to the network 18 by a modem 20 or other broadband
   robots grows, it is desirable to set and edit the connectivity
                                                             network interface device.
                                                                Each remote control station 16 may include a computer 22
   between various remote control stations and different robots .
   It is also desirable to provide a means to control the 40 that has a monitor 24, a camera 26 , a microphone 28 and a
   parameters of the connectivity. For example , it may be                  speaker 30. The computer 22 may also contain an input
   desirable to control connectivity so that multiple remote                device 32 such as a joystick or a mouse . Each control station
   control stations can receive the audio /video provided by the            16 is typically located in a place that is remote from the robot
   robot. It may be desirable to restrict the audio and/ or video           12 . Although only one robot 12 is shown , it is to be
   provided to one or more remote control stations. It may also 45 understood that the system 10 may have a plurality of robots
   be desirable to establish a time window of connectivity 12. In general any number of robots 12 may be controlled by
   between control stations and robots .                                    any number of remote stations. For example , one remote
                                                                            station 16 may be coupled to a plurality of robots 12 , or one
             BRIEF SUMMARY OF THE INVENTION                                 robot 12 may be coupled to a plurality of remote stations 16 .
                                                                       50     The robot 12 includes a movement platform 34 that is
        A robot system with a robot that has a camera and a                 attached to a robot housing 36 . Also attached to the robot
   remote control station that can connect to the robot. The                housing 36 are a camera 38 , a monitor 40 , a microphone(s)
   connection can include a plurality of privileges . The system 42 and a speaker 44 . Themicrophone 42 and speaker 30 may
   further includes a server that controls which privileges are   create a stereophonic sound . The robot 12 may also have an
   provided to the remote control station . The system may 55 antenna 46 that is wirelessly coupled to an antenna 48 of the
   include a manager control station that can access said server base station 14 . The system 10 allows a user at the remote
   to establish and edit said privileges.                         control station 16 to move the robot 12 through the input
                                                                 device 32 . The robot camera 38 is coupled to the remote
         BRIEF DESCRIPTION OF THE DRAWINGS                       monitor 24 so that a user at the remote station 16 can view
                                                                       60 a patient. Likewise , the robot monitor 40 is coupled to the
        FIG . 1 is an illustration of a robotic system ;                  remote camera 26 so that the patient can view the user . The
     FIG . 2 is an illustration of a user interface to create               microphones 28 and 42 , and speakers 30 and 44 , allow for
   connectivity groups ;                                                    audible communication between the patient and the user.
      FIG . 3 is an illustration of a user interface to create                Each remote station computer 22 may operate Microsoft
   connectivity rules ;                                                65 OS software and WINDOWS XP or other operating systems
      FIG . 4 is an illustration of a user interface used to test           such as LINUX . The remote computer 22 may also operate
   connectivity between a remote control station and a robot;               a video driver , a camera driver, an audio driver and a joystick
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                                                       US 10 ,059,000 B2
   driver. The video images may be transmitted and received              createdUTC [ int ]: Timestamp of initial group creation in
   with compression software such as MPEG CODEC . The                      UTC seconds. When a group is edited , the original
   control station may have general user interfaces that allow              group becomes inactive and a new group is created, but
   for operation of a robot and for multi-casting with other                the createdUTC timestamp is maintained in the new
   remote stations.                                                         group .
       The system 10 includes a server 50 that controls connec           modifiedUTC [int]: Timestamp of most recent group
   tivity between the remote control stations 16 and the robots            modification in UTC seconds. For groups being made
    12 . The server 50 includes a database 52 . By way of                   inactive due to a group edit, the newly inactive group
   example , the database 52 may be a relational database . The             will have its modified timestamp set to the time of the
   database 52 can allow for groups of remote stations to 10               edit.
   connect groups of robots . Groups may contain individual              creator[nvarchar ]: The user who first created the group .
   robots and control stations. Groups may also contain cus                  This can be automatically pulled from domain login
   tomers , which represent all robots and control stations                 credentials used to access the various UI pages .
   belonging to a particular customer. Groups may also contain           lastModifiedBy[nvarchar ]: The user who lastmodified the
   OEM configurations, which represent all robots and control 15            group . This can be automatically pulled from domain
   stations that are sold by a particular 3rd -party OEM dis                login credentials used to access the various UI pages.
   tributor. Groups may also contain other groups in a recursive         comments [text ]: Textual comments attached to group .
   fashion . By way of example , one healthcare entity may have          FIG . 3 is an interface 90 that can be used to create and edit
   three robots designated ROBOT- 1 , ROBOT- 2                and      connectivity rules. The interface 90 includes rule creation
   ROBOT- 3 and 5 remote stations designated CS - 1, CS - 2 , 20 filter fields 92 that allow a user to filter the list of systems
   CS -3 , CS -4 and CS - 5 . The 3 robots are defined as group R     that appear in the client field when creating new rules . There
   and the remote stations are defined as group S . Rules can be are also fields 94 that allow the user to review existing rules.
   established that allow connectivity between any remote             The connectivity path of a rule can be defined in fields 96 by
   station in group S with any robot in group R .                     adding groups, OEMs, customers , and individual robots and
      FIG . 2 shows a user interface 60 that can be used to create 25 control stations to the “ From ” 98 and " To ” 100 fields .
   and edit groups. The interface includes an “ Add Members”              The rules include “ From ” 98 and “ To ” 100 fields that
   field 62 that allows a user to add members to a group . The         define the connectivity path between control stations and
   members can be selected through the “ Clients” field 64,            robots . The “ Priority ” field 102 defines how conflicting rules
   “ Customers ” field 66 , “ OEM ” configuration field 68 or by a     will be resolved . When rules are in conflict, the priority
   “Group " name field 70 . The members of the new group are 30 value resolves the ambiguity . If two conflicting rules have
   listed in the “ Members” field 72 . The members can be listed the same priority, the rule that was modified most recently
   as a string of client serial numbers , customer ids, OEM            wins . The “ Privilege Level” field 104 establishes what
   configuration ids and group ids in a simple XML -like               privileges are allowed in this particular connectivity . By way
   format. In this example , the group includes client control         of example , the system may allow the following privileges :
   stations CS -2345 and CS -2346 . The interface 60 may 35               The ability to operate the robot .
   include an “ Add This Group " button 74 that can be selected           The ability to accept multi- cast sessions with one or more
   to add a group to the database .                                         other remote control stations .
      The interface 60 may include an “ Existing Groups ” area            The ability to be the Host (primary control station CS
   76 that allows the user to view existing groups and group                user ) for a multi - cast session with one or more other
   members through fields 78 which filter based on the cat - 40             remote control stations .
   egory of group name, OEM , customer or client. Interface               The ability to be a Guest CS in a multi - cast session with
   area 80 lists each group along with the group members, the               one or more other remote control stations.
   person who created the group (with time log), and an                   The ability to connect directly to a robot (i.e. without
   indication ofwhether the group is active . An existing group            being a Guest).
   can be edited by selecting an " Edit" button 82 . A history of 45     Disabling of all visible video output and /or audio output
   edits can be viewed by selecting the “ History ” button 84 .             on a Guests system of what is captured on the robot.
     The group data may be stored in the database with the               Disabling video output and /or audio output on the robot of
   following group connectivity information :                               what is captured on one or more Guest control stations.
     id ?int, identity ]: Unique numeric ID .                            Disabling of saving of media including snapshots and
     createID [ int]: ID that is shared amongst all group edits in 50      movies from the robot.
        the history chain . This is used to locate the group             Access to a medical device connected to the robot.
        history. For the initial group creation , the createID is        The ability to view and control auxiliary video sources .
        equal to the regular id . All subsequent edits to the group      The ability to use an external handset attached to the
        will retain the same createID , but will be given new               robot.
        unique regular ids.                                         55 The " Type ” field 106 allows the user to specify whether
     isActive[bit ]: Set to true if group is currently considered the rule is additive or subtractive . Additive rules can be used
        active , meaning that it has not been edited and replaced to add connectivity . Subtractive rules can be used to selec
       by a new version of the group .                                tively remove connectivity in a targeted manner. In this
     name [nvarchar ]: Friendly name of group . This name fashion , if one defines the connectivity to or from a group,
        appears in any group dropdowns in an advanced page . 60 and then subtracts connectivity privileges of a sub - group ,
     members [text]: String of group members . Contains                and further adds connectivity privileges of a sub -sub - group ,
       mixed client machines, customer names , OEM con                 the system thereby allows one to define a hierarchy of
        figurations and nested groups .                                connectivity rules The “ Bidirectional” field 108 allows for
     members Expanded [ text ]: Stores members in              an      connectivity between the From and To members to be
        expanded format where all nested groups and OEMs 65 unidirectional (“ False ” ) or bidirectional (“ True” ) which is
        are expanded to list all client machines and customers selectable by the user. The user can set the rule as read -only
        contained in the groups.                                       in the “ Read -Only ” field 110 .Read -only rules always appear
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                                                           US 10 ,059,000 B2
   at the top of the list when rules are displayed . They require                startUTC [ int ]: Defines the start of time window that rule
   special double confirmation to be edited or deleted . vity by                    is active in UTC seconds.
       The user can select a time window for connectivity by                     endUTC [ int]: Defines the end of timewindow that rule is
   entering a start date and time in a “ Start Time” field 112 and                 active in UTC seconds . For infinite rules , this will be
   an end date and time in an “ End Time” field 114 . The rule 5                   set to 0 .
   can be added by selecting the “ Add This Rule” button 116 .                   createdUTC [int]: Timestamp of initial rule creation in
    This allows a user to schedule connectivity in advance, to be                  UTC seconds. When a rule is edited , the original rule
   enabled at a later date and time.                                              becomes inactive and a new rule is created , but the
      The From , To , Priority , Privilege and Active data for                    createdUTC timestamp is maintained in the new rule .
   existing rules can be displayed in an interface area 118 . A 10              modifiedUTC [ int]: Timestamp of most recent rule modi
   user can edit an existing rule by selecting an " Edit " button                  fication in UTC seconds. For rules being made inactive
   120 and review edit history by selecting a “ History” button                    due to a rule edit, the newly inactive rule will have its
   122 .                                                                           modified timestamp set to the time of the edit.
      The rules can be stored in the relational database with the                creator [nvarchar ]: The user who first created the rule. This
   following connectivity rule information :                             15        can be automatically pulled from domain login creden
      id [int, identity ]: Unique numeric ID .                                     tials used to access the various UI pages.
      createID [ int]: ID that is shared amongst all rules in the               lastModifiedBy [nvarchar ]: The user who last modified the
        history chain that resulted from edits . This is used to                   rule. This can be automatically pulled from domain
        locate the rule history . For the initial rule , the createID              login credentials used to access the various UI pages.
         is equal to the regular id . All subsequent edits to the rule 20        comments [text]: Textual comments attached to rule .
        will retain the same createID , but will be given new                      These are required .
           unique regular ids .                                                  The ability to change/add groups and rules can be limited
     priority [ int ]: Allows establishing precedence between                 to a select field of users , requiring a password /code for
           conflicting rules by determining the order in which       access to the interfaces 60 and 90 . The server 50 may
           rules are applied . Higher numbers means the rule will 25 provide interfaces that can be accessed by the remote control
           be applied later in the logic chain .                     stations 16 to review connectivity . The pages can provide
      groupFrom [text ]: String of " from " group members .                   information on which robots can be accessed by a particular
     Contains mixed client machines , customers and groups .       remote control station or which remote control stations can
     For non -bidirectional rules, this represents the source of access a specific robot.
       connectivity , for bidirectional rules it represents both 30 The server may provide a tester page that allows a user to
       source and destination .                                    test the connectivity between two endpoints. FIG . 4 shows
     group To [text]: String of “ to ” group members . Contains               an interface 130 that can be used to test connectivity . The
           mixed client machines, customers and groups . For                  interface 130 includes a “ Control Station ” field 132 that
        non -bidirectional rules, this represents the destination             allows a user to enter a control station name and a “ Robot”
        of connectivity , for bidirectional rules it represents both 35       field 134 that allows the user to enter a robot name. If
        source and destination .                                              connectivity is allowed by the server 50 then the interface
      groupFromExpanded [text]: Stores groupFrom in an                        may indicate a successful connection as in FIG . 5 . If
        expanded format where all nested groups and OEMs                      connectivity is not allowed by the server 50 then the
        are expanded to list all client machines and customers                interface may display a message as shown in FIG . 4 . In
        contained in the groups.                                     40       either case , the interface may display the list of all connec
      groupToExpanded [ text ]: Stores groupTo in an expanded                 tivity rules that applied to the calculation of the connectivity
        format where all nested groups and OEMs are                           success or failure .
        expanded to list all client machines and customers                        A manager control station is defined as any computer
        contained in the groups.                                              which has access to one or more of the interfaces depicted
     privilegeMaskFriendlyNameID [ int]: Sets the privilege 45 in FIGS. 2 and 5 . For example , any office computer, includ
       mask associated with this connectivity rule . This is a ing a remote control station itself, can be navigated to a
           link to a privilege table . This can also be set to the            secure web page through a browser such as Internet
           special value of - 1 , which implies that the privilege is Explorer , and , after supplying credentials , access those
           not explicitly defined and will be inherited from a rule     interfaces .
           that is higher up in the logic chain . The privilege table 50 FIG . 6 shows an embodiment of the robot 12. The robot
           can be transferred to a control station which includes              12 may include a high level control system 150 and a low
           code that can decode the table to determine which                  level control system 152. The high level control system 150
           privileges are allowed in a connectivity.                          may include a processor 154 that is connected to a bus 156 .
     isActive [bit ]: Set to true if rule is currently considered             The bus is coupled to the camera 138 by an input/ output
           active, meaning that it has not expired and has not 55 ( 1/ 0 ) port 158, and to themonitor 140 by a serial output port
           explicitly been removed or deactivated as the result of            160 and a VGA driver 162 . The monitor 40 may include a
           being replaced by a new version of the rule following              touchscreen function that allows the patient to enter inputby
        an edit .                                                             touching the monitor screen .
     isBidirectional?bit ]: Set to true if rule is bidirectional,                The speaker 44 is coupled to the bus 156 by a digital to
           meaning that " from " can connect to “ to ” and vice versa . 60 analog converter 164 . The microphone 42 is coupled to the
           Set to false for one -way , “ from ” ? “ to ” connectivity.        bus 156 by an analog to digital converter 166 . The high level
     isReadOnly [bit]: Set to true if the rule is read only ,                  controller 150 may also contain random access memory
           meaning that it requires double confirmation on edit               (RAM ) device 168 , a non - volatile RAM device 170 and a
           delete and always appears at top of rule list display. Set       mass storage device 172 that are all coupled to the bus 162 .
           to false for standard rule .                                  65 The mass storage device 172 may contain medical files of
     typefint]: 0 = additive connectivity rule , 1 = subtractive con -        the patient that can be accessed by the user at the remote
           nectivity rule , 2 = privilege -only rule                          control station 16 . For example , the mass storage device 172
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   may contain a picture of the patient. The user , particularly a     operation . For example , if the robot runs into a wall , the
   health care provider, can recall the old picture and make a         system may ignore all additional commands to continue in
   side by side comparison on the monitor 24 with a present the direction of the wall. A local user is a person who is
   video image of the patient provided by the camera 38 . The
                                                          1 ??  physically present with the robot. The robot could have an
   robot antennae 46 may be coupled to a wireless transceiver 5 input device that allows local operation . For example , the
   174 . By way of example, the transceiver 174 may transmit robot may incorporate a voice recognition system that
   and receive information in accordance with IEEE 802 .11b .
      The controller 154 may operate with a LINUX OS receives and interprets audible commands.
   operating system . The controller 154 may also operate MS       A caregiver is someone who remotely monitors the
   WINDOWS along with video , camera and audio drivers for 10 patient. A doctor is a medical professional who can remotely
   communication with the remote control station 16 . Video            control the robot and also access medical files contained in
   information may be transceived using MPEG CODEC com                 the robot memory . The family and service users remotely
   pression techniques. The software may allow the user to             access the robot. The service user may service the system
   send e -mail to the patient and vice versa , or allow the patient
                                                                   such as by upgrading software , or setting operational param
   to access the Internet. In general the high level controller 15 eters .
   150 operates to control the communication between the                 Message packets may be transmitted between a robot 12
   robot 12 and the remote control station 16 . The controller         and a remote station 16 . The packets provide commands and
   and the high level controller 150 may be linked to the low     feedback . Each packet may have multiple fields. By way of
   level controller 152 by serial ports 176 .                     example , a packet may include an ID field a forward speed
      The low level controller 152 runs software routines that 20 field , an angular speed field , a stop field , a bumper field , a
   mechanically actuate the robot 12 . For example, the low
   level controller 152 provides instructions to actuate the sensor range field , a configuration field , a text field and a
   movement platform to move the robot 12. The low level               debug held .
   controller 152 may receive movement instructions from the             The identification of remote users can be set in an ID field
   high level controller 150 . The movement instructions may 25 of the information that is transmitted from the remote
   be received as movement commands from the remote con          control station 16 to the robot 12 . For example , a user may
   trol station . Although two controllers are shown, it is to beenter a user ID into a setup table in the application software
   understood that the robot 12 may have one controller          run by the remote control station 16 . The user ID is then sent
   controlling the high and low level functions.                 with each message transmitted to the robot.
       FIG . 7 shows an embodiment of the robot 12 . The robot 30 The robot 12 may operate in one of two differentmodes;
    12 may include a holonomic platform 150 that is attached to
   a robot housing 152 . The holonomic platform 150 provides an exclusivemode , or a sharingmode . In the exclusive mode
   three degrees of freedom to allow the robot 12 to move in     only one user has access control of the robot. The exclusive
   anyThedirection .                                          mode may have a priority assigned to each type of user. By
            robot 12 may have a head 154 that supports the 35 car
                                                              way ofexample , the priority may be in order of local, doctor,
   camera 38 and the monitor 40 . The head 154 may have two            caregiver, family and then service user . In the sharingmode
   degrees of freedom so that the camera 26 and monitor 24 can         two or more users may share access with the robot. For
   be swiveled and pivoted as indicated by the arrows.                 example , a caregiver may have access to the robot, the
      The system may be the same or similar to a robotic system        caregiver may then enter the sharing mode to allow a doctor
   provided by the assignee In Touch -Health , Inc . of Santa 40 to also access the robot. Both the caregiver and the doctor
   Barbara , Calif. under the trademark RP- 7. The system may can conduct a simultaneous tele -conference with the patient.
   also be the same or similar to the system disclosed in U .S .        The arbitration scheme may have one of four mecha
   Pat. No. 6 , 925 ,357 issued Aug. 2 , 2005 , which is hereby nisms      ; notification , timeouts , queue and call back . The
   incorporated by reference .
      In operation , the robot 12 may be placed in a home, public 45 a requestingmechanism
                                                                     notification
                                                                                   user that
                                                                                              may inform either a present user or
                                                                                             another  user has , or wants , access to
   or commercial property , or a facility where one or more
   patients are to bemonitored and /or assisted . The facility may the robot. The timeout mechanism gives certain types of
   be a hospital or a residential care facility. By way of users a prescribed amount of time to finish access to the
   example , the robot 12 may be placed in a home where a            robot. The queue mechanism is an orderly waiting list for
   health care provider may monitor and /or assist the patient. 50 access to the robot. The call back mechanism informs a user
   Likewise , a friend or family membermay communicate with            that the robot can be accessed . By way of example, a family
   the patient. The cameras and monitors at both the robot and         usermay receive an e-mail message that the robot is free for
   remote control stations allow for teleconferencing between          usage . Tables 1 and 2 , show how the mechanisms resolve
   the patient and the person at the remote station (s ) .             access request from the various users.
      The robot 12 can be maneuvered through the home, 55
   property or facility by manipulating the input device 32 at a                                 TABLE I
   remote station 16 .
      The robot 10 may be controlled by a number of different                 Access Medical Command Software/Debug Set
   users . To accommodate for this the robot may have an               User   Control Record Override Access        Priority
   arbitration system . The arbitration system may
                                                 ay be  integrated OU60 Robot No
                                                    be megrated               No No          Yes ( 1) No            No
   into the operating system of the robot 12 . For example, the Robot   Local No      No     Yes (2 ) No            No
   arbitration technique may be embedded into the operating Caregiver Yes Yes Yes (3 ) No                           No
   system of the high - level controller 150 .                         Doctor    No      Yes    No         No              No
      By way of example , the users may be divided into classes Family          No       No     No         No              No
   that include the robot itself, a local user, a caregiver, a 65 Service       Yes      No      Yes       Yes             Yes
   doctor, a family member, or a service provider. The robot 12
   may override input commands that conflict with robot
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                                                                                                                     10
                                                                        TABLE II
                                                                             Requesting User
                               Local                Caregiver                 Doctor                   Family                  Service
   Current    Local       Not Allowed               Warn current user of     Warn current user of      Warn current user of    Warn current user of
   User                                             pending user            p ending user             pending user             pending user
                                                    Notify requesting user Notify requesting user      Notify requesting user Notify requesting user
                                                    that system is in use    that system is in use    that system is in use    that system is in use
                                                     Set timeout             Set timeout = 5 m        Set timeout = 5 m        No timeout
                                                                                                      Call back                Call back
               Caregiver Warn current user of       Not Allowed              Warn current user of     Warn current user of Warn current user of
                         pending user.                                       pending user             pending user          p ending user
                         Notify requesting user                              Notify requesting user   Notify requesting user Notify requesting user
                          that system is in use .                             that system is in use    that system is in use   that system is in use
                          Release control                                     Set timeout = 5 m        Set timeout = 5 m       No timeout
                                                                              Queue or callback                                Callback
              Doctor      Warn current user of      Warn current user of Warn current user of         Notify requesting user Warn current user of
                          pending
                            Hung user
                                  user              pending user           pending user               that system is in use pending user
                          Notify requesting user    Notify requesting user Notify requesting user     No timeout             Notify requesting user
                          that system is in use     that system is in use that system is in use        Queue or callback       that system is in use
                          Release control           Set timeout = 5 m      No timeout                                          No timeout
                                                                           Callback                                            Callback
              Family      Warn current user of      Notify requesting user Warn current user of       Warn current user of     Warn current user of
                          pending user              that system is in use pending user                pending user             pending user
                          Notify requesting user    No timeout             Notify requesting user      Notify requesting user Notify requesting user
                          that system is in use     Put in queue or          that system is in use     that system is in use   that system is in use
                          Release Control           callback                 Set timeout = 1 m         Set timeout = 5 m       No timeout
                                                                                                       Queue or callback       Callback
              Service     Warn current user of      Notify requesting user   Warn current user of     Warn current user of     Not Allowed
                          pending user              that system is in use    request                  pending user
                          Notify requesting user    No timeout               Notify requesting user   Notify requesting user
                          that system is in use     Callback                 that system is in use    that system is in use
                          No timeout                                         No timeout                No timeout
                                                                              Callback                 Queue or callback

      The information transmitted between the station 16 and                               customer identification (ID ) and a second subset of said
   the robot 12 may be encrypted . Additionally, the user may                              plurality of robots as associated with a second customer
   have to enter a password to enter the system 10 . A selected                             ID ; and ,
                                                                               35        a manager control station that can access said server to
   robot is then given an electronic key by the station 16 . The                           edit which of said plurality of robots is associated with
   robot 12 validates the key and returns another key to the                               said first subset of robots or said second subset of
   station 16 . The keys are used to encrypt information trans                             robots , wherein , when said connection between said
   mitted in the session .                                                                 remote station and said robot is established , the robot
      FIG . 8 shows a robot head 200 that can both pivot and 20                           monitor displays an image captured by the station
   spin the camera 38 and the monitor 40 . The robot head 200                              camera , the station monitor displays an image captured
   can be similar to the robot 12 but without the platform 110 .                           by the robot camera , the station microphone reproduces
    The robot head 200 may have the same mechanisms and                                    a sound captured by the robot microphone, and the
   parts to both pivot the camera 38 and monitor 40 about a                                robot speaker reproduces a sound captured by the
   pivot axis 4 , and spin the camera 38 and monitor 40 about 45        station microphone .
   a spin axis 5 . The pivot axis may intersect the spin axis .     2 . The system of claim 1 . wherein said connection
   Having a robot head 200 that both pivots and spins provides includes a plurality of privileges .
   a wide viewing area . The robot head 200 may be in the           3 . The system of claim 2 , wherein said privileges include
   system either with or instead of the mobile robot 12.         an ability to operate said robot.
      While certain exemplary embodiments have been 50 4 . The system of claim 2, wherein said privileges include
   described and shown in the accompanying drawings, it is to an ability to participate in a session with another remote
   be understood that such embodiments are merely illustrative station .
   of and not restrictive on the broad invention , and that this      5 . The system of claim 2, wherein said privileges include
   invention not be limited to the specific constructions and an ability to view a video image captured by said robot
   arrangements shown and described , since various other 55 camera .
   modifications may occur to those ordinarily skilled in the art.   6 . The system of claim 2 , wherein said privileges include
                                                                   an ability to hear audio captured by a robotmicrophone .
     What is claimed is:                                              7 . The system of claim 2 , wherein said privileges include
      1. A remote controlled robot, comprising :                   an ability for the video image captured by a control station
      a plurality of robots , each robot having a robot camera , a 60 camera to be displayed on said robotmonitor.
         robot camera , a robot microphone, and a robot speaker ;        8 . The system of claim 2 , wherein said privileges include
      a remote station that can establish a connection with said      an ability for the audio captured by a control station micro
          robot, said remote station including a station camera , a                 phone to be played by a robot speaker.
         station monitor , a station microphone , a station              9 . The system of claim 2 , further comprising an auxiliary
         speaker;                                                  65 device that can be coupled to said robot, and said privileges
      a server that contains a database that defines a first subset include an ability to access said auxiliary device attached to
          of said plurality of robots as associated with a first                    said robot.
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                                 11
      10 . The system of claim 2 , wherein said server includes a         one of a plurality of robots, each remote station having
   privilege map that is transferred to said remote control               a station camera , a station monitor, a station micro
   station .                                                              phone, and a station speaker ;
      11 . The system of claim 1, wherein said robot includes a         displaying an image captured by the station camera on the
   mobile platform .                                                      robot monitor;
      12 . The system of claim 1, wherein said system includes          displaying an image captured by the robot camera on the
   a plurality of remote stations and said database associates            station monitor;
   each of the plurality of remote stations with a customer ID .        reproducing a sound captured by the robot microphone
      13 . The system of claim 1, wherein said connection                 via the station speaker ;
   between said remote control station and said robot is estab - 10     reproducing a sound captured by the station microphone
    lished by a time window .                                             via the robot speaker; and ,
       14 . The system of claim 1 , wherein said server provides        accessing, via the manager control station , the server to
   a user interface that allows one ormore connectivity rules to           edit which of said plurality or robots is associated with
   be subtracted .                                                        said first subset of robots or said second subset of
       15 . A method for connecting a remote station to one of a 15       robots .
   plurality of robots, comprising:
      accessing, via a manager control station , a server that           16 . The method of claim 15 , wherein connection includes
         contains a database that defines a first subset of said      a connectivity privilege.
         plurality of robots and a second subset of said plurality      17 . The method of claim 15 , wherein the privilege
         of robots, each of the plurality of robots having a robot 20 includes an ability to participate in a session with another
                                                                      remote station .
         camera , a robot monitor, a robot microphone, and a             18 . The method of claim 15 , wherein the privilege
         robot speaker ;
      associating, via an input of the manager control station ,      includes an ability to view a video image captured by the
         the first subset of said plurality of robots with a first robot camera .
         customer identification (ID ) and the second subset of 25 19 . The method          of claim 15 , wherein the privilege
         said plurality of robots with a second customer ID ;         includes an ability to operate the robot.
         establishing a connection between a remote station and                              *   *    *   *   *
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                          Exhibit J
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                                         CA750
                                         User & Installation Guide




          AVZ-CA750-1-IP40                     AVZ-CA750-2-IP40                     AVZ-CA750-3-IP40




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Before getting started
                                                                     • Indications for use
                                                                         –– Contraindications

                                                                     • Safety precautions
                                                                        –– Warnings
                                                                        –– Environmental considerations
                                                                        –– Waste handling

                                                                     • Warnings

                                                                     • Operator safety summary

                                                                     • Important Safeguards

                                                                     • Equipment markings




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             CA750 | Installation & User Guide | Before getting started                                                Indications for use     4



Indications for use
The Avizia CA750 enables secure and effective audio/video
communication between multiple healthcare providers
and between providers and patients. The system transmits
real-time audio and video captured by a high-definition
camera and integrated microphone. It also receives real-
time audio and video from a similar system in a remote
location. Finally, the CA750 supports transmission of real-
time audio and video from peripheral audio/visual medi-
cal devices, which may be connected to standard audio
and video inputs provided on the system.

The CA750 is intended to facilitate remote provider/patient
and provider/provider consultations. These consultations
should always be conducted with a licensed medical pro-
fessional physically in the room with the patient.



Contraindications
The CA750 is not intended to substitute for the in-person
physical examination of a patient or as a substitute for
direct medical intervention. It is also not intended for real-
time, active, or online patient monitoring, nor is it intend-
ed to provide time sensitive data or alarms. The CA750
does not support transmission of numerical telemetric/se-
rial data and is not intended for use with non-audio/visual
medical devices.




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             CA750 | Installation & User Guide | Before getting started                                                                                          Safety precautions        5



Safety precautions
Warnings                                                          Environmental considerations                                   Waste handling
Do not modify this equipment without authorization from           Thank you for buying a product which contributes to a
the manufacturer!                                                 reduction in pollution, and thereby helps save the envi-       EU Battery and WEEE Directives
                                                                  ronment. Our products reduce the need for travel and
Precaution should be taken during transportation of the                                                                          For product safety and data integrity reasons the perma-
                                                                  transport and thereby reduce pollution. Our products have
system. It is recommended that the operator use caution                                                                          nently affixed battery should only be removed or replaced
                                                                  either none or few consumable parts (chemicals, toner, gas,
when wheeling the unit over doorstops and/or into eleva-                                                                         professionally by a repair technician or waste management
                                                                  paper). Our products are low energy consuming products.
tors to ensure their safety and prevent damage to the unit.                                                                      professional. Please contact Avizia or an authorized service
                                                                                                                                 agent if the product fails to perform due to malfunction of
                                                                  Battery Handling                                               the permanently affixed battery.
For Customers In North America
                                                                  Batteries for the Remote Control are Long Life Alkaline bat-                This symbol on the product, battery or packag-
This equipment complies to the limits for a Class A digital       teries; please follow guidelines on the packing material for                ing means that the product and/or battery
device, pursuant to Part 15 of the FCC Rules.                     handling and disposal of the batteries.                                     should not be disposed of with your house-
                                                                                                                                              hold waste.
These limits are designed to provide reasonable protection        The system enclosed rechargeable battery is non-user
against harmful interference when the equipment is oper-          replaceable and should be removed by a qualified service
ated in a commercial environment. This equipment gener-           technician only.
ates, uses, and can radiate radio frequency energy, which                                                                        It is your responsibility to dispose of your waste equipment
may cause harmful interference to radio communications.           CAUTION                                                        and batteries separately from your household waste and
                                                                  RISK OF EXPLOSION IF BATTERY IS REPLACED BY AN INCOR-          in accordance with local laws and regulations. The correct
You are cautioned that any changes or modifications not           RECT TYPE. DISPOSE OF USED BATTERIES ACCORDING TO              disposal of your old equipment and batteries will help pre-
expressly approved in this manual could void your author-         MANUFACTURER INSTRUCTIONS.                                     vent potential negative consequences for the environment
ity to operate this equipment                                                                                                    and human health.

                                                                  Production of Products                                         Please use the nearest waste collection facility as directed
                                                                                                                                 by your municipality or your retailer.
                                                                  Our factories employ efficient environmental methods for
                                                                  reducing waste and pollution and ensuring the products
                                                                  are recyclable.




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Warnings
Not Intended For Dialing Emergency Medi-                          Delay or Choppiness of Audio or Video                            Audio and Video Distortions
cal Services                                                      Transmission                                                     The CA750 can experience audio and video distortions due
The CA750 is not intended to make emergency calls. In the         The CA750 may operate at a delay of up to 150 millisec-          to network latency, software/hardware malfunction, insuf-
event of an emergency, the user should use a telephone or         onds, depending on network condition. This means that            ficient bandwidth, or for other reasons. If audio or video is
device other than the CA750 to call local emergency ser-          the provider may experience the audio and video transmis-        not of sufficient quality for the intended use of the CA750,
vices.                                                            sions later then they are really occurring. In cases where the   please refer to:
                                                                  remote health care provider needs to make time sensitive
                                                                                                                                    • this guide under “Technical Specifications” and “Trou-
                                                                  assessments or give instructions this delay may result in
Use medically approved devices                                                                                                        bleshooting,” or visit:
                                                                  misalignment of audio and visual transmissions to the
                                                                                                                                      http://support.avizia.com
Ensure that any device connected to the CA750 power out-          real-time procedure and/or inappropriate treatment or
lets conforms to IEC 60601-1 standards in order to maintain       diagnosis.                                                        • Cisco SX20 codec documentation at:
compliance. Connecting electrical equipment to the CA750                                                                              http://cisco.com/go/sx-docs
effectively creates a new system, which can result in a
reduced level of safety.                                          Proper Training Is Required
                                                                  Healthcare professionals using the CA750 should be suf-          Network and Signal Input/Output
                                                                  ficiently trained and familiar with the Installation and User    The network and signal input/output ports must only be
Loss of Connectivity                                              Guide and the instructions for use. Please refer to this guide   connected to Low Voltage SELV connections.
During the use of the CA750, a healthcare professional            under “Troubleshooting”, “Safety Precautions” and “Opera-
may lose connectivity with the system. Loss of connectivity       tor Safety.”
can result from power outages, network outages, failure
                                                                  Go to http://support.avizia.com for additional support
in the CA750 software/hardware, or other causes. Loss of
                                                                  content.
connectivity can prevent a health care professional from
completing a patient session in a timely manner. In cases
where time is critical, the user should not use the CA750
and seek an in-person examination from a licensed health
care professional.




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             CA750 | Installation & User Guide | Before getting started                                                                                     Operator safety summary              7



Operator safety summary
For your protection, please read these safety instructions        •• Water and moisture - Do not operate the equipment under        •• Servicing - Do not attempt to service the apparatus your-
completely before operating the equipment and keep this              or near water - for example near a bathtub, kitchen sink, or      self as opening or removing covers may expose you to
                                                                     laundry tub, in a wet basement, or near a swimming pool           dangerous voltages or other hazards, and will void the war-
manual for future reference. The information in this sum-
                                                                     or in areas with high humidity.                                   ranty. Refer all servicing to qualified service personnel.
mary is intended for persons who operate the equipment
as well as repair (servicing) personnel. Carefully adhere to      •• Cleaning - Unplug the apparatus from the wall outlet           •• Opening the System - Do not open system service panels
all warnings, precautions and instructions on the appara-            before cleaning or polishing. Please adhere to the general        while system is in use.
                                                                     cleaning guidelines found in this document’s section:
tus, and the ones described in the operating instructions.                                                                          •• Storage - If you need to store the system, ensure that it is
                                                                     “Cleaning the System.”
                                                                                                                                       stored in a controlled environment to avoid damage. Refer
Also, adhere to safety guidelines found in manuals for any        •• Power-Cord Protection - Route the power cord so as to             to the codec documentation for further guidelines.
peripheral equipment.                                                avoid it being walked on or pinched by items placed upon
                                                                     or against it, paying particular attention to the plugs,       •• Repacking – We recommend you save and store the sys-
            This system contains no user-serviceable                 receptacles, and the point where the cord exits from the          tem’s packing materials. They make for an ideal container
   !        parts: The system enclosed battery (recharge-            apparatus.                                                        with which to transport the system.
            able battery for use in temporary relocation) in                                                                        •• Damaged Equipment - Unplug the apparatus from the
                                                                  •• Mobility – Before transporting the system unplug the
            this product is non-user replaceable and should          power cord and wrap it around the cable hook. Also ensure         outlet and refer servicing to qualified personnel under the
            be removed by a qualified service technician             that the camera and display are in the operational posi-          following conditions:
            only.                                                    tion (facing forward) and not in the maintenance position            •• When the power cord or plug is damaged or frayed
                                                                     (facing upward). Use the system handle to maneuver the
                                                                     system. Pull the system over thresholds, cords, cables, and          •• If liquid has been spilled or objects have fallen into
            To avoid risk of electric shock, this equipment
   !        must only be connected to a supply mains with            other obstacles on the ground. Fully lower the work surface
                                                                     before transporting the system.
                                                                                                                                             the apparatus
                                                                                                                                          •• If the apparatus has been exposed to rain or mois-
            protective earth.
                                                                                                                                             ture
                                                                  •• Ventilation - Do not block any of the ventilation openings
            Lower before transporting: For your safety and           of the apparatus. Install in accordance with the installa-           •• If the apparatus has been subjected to excessive
            to protect the CA750, fully lower the work surface       tion instructions. Never cover the slots and openings with              shock by being dropped, or the unit has been dam-
                                                                     a cloth or other material. Never install the apparatus near             aged
            before transporting the system. Pushing or
            pulling the system with any part of the system           heat sources such as radiators, heat registers, stoves, or           •• If the apparatus fails to operate in accordance with
                                                                     other apparatus (including amplifiers) that produce heat.               the operating instructions.
            other than its handle may result in damage to the
            system.                                               •• Attachments - Only use attachments as recommended by                 •• Cart is heavy. Move with caution.
                                                                     the manufacturer.                                                    •• Use wheel locks when cart is stationary.
            Traversing thresholds and obstacles on the
                                                                  •• Accessories - Use only accessories intended for use with             •• Fold in 2nd monitor in proper position before trans-
            ground: Use the system handle to PULL the                                                                                        porting.
                                                                     this system.
            system safely across thresholds, cords, cables,
            and other potential obstacles on the ground.          •• Lightning - Unplug this apparatus during lightning storms
            Always fully lower the work surface before trans-        or when unused for long periods of time.
            porting the system.


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             CA750 | Installation & User Guide | Before getting started                                                                                         Important safeguards          8



Important safeguards
Using System in a Medical Environment                             Warning on Power Connection                                     ElectroStatic Discharge (ESD)
No currently available technology can completely substi-          Use only with the supplied power cords or cords that meet       When subjected to an electrostatic discharge the Precision-
tute the in-person physical examination of an individual          local hospital-grade requirements. Users in the United States   HD camera image may suffer momentary interruption - this
                                                                  and Canada should use hospital-grade cords that meet the        will self-recover in a few seconds after the discharge.
patient. Avizia Telemedicine products provide high quality
                                                                  following requirements:
audio and video experiences; when used properly, these                                                                            To avoid excess electrostatic discharge, floors should be
products provide a valuable tool for medical profession-                                                                          wood, concrete or ceramic tile. If floors are covered with syn-
                                                                                        United States           Canada            thetic material, the relative humidity should be at least 30%.
als. The use and value of the system will vary depending
                                                                   Plug Type            Hospital Grade      Hospital Grade
on the specific circumstances of the patient condition,
                                                                   Cord Type             SJT3 x 16 AWG       SJT3 x 16 AWG
data transmission speeds, and the capabilities of the local
environment. Ultimately, the local medical professional            Minimum Cordset
                                                                                           13A/125V             13A/125V
supervising the patient’s care should judge how this system        Rating
is to be utilized.                                                 Safety Approval            UL                   UL

                                                                  NEVER USE AN EXTENSION CABLE TO POWER THE SYSTEM.


   !
           The leakage current could increase when connect-
           ed to other equipment.




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             CA750 | Installation & User Guide | Before getting started                                                                    Equipment markings              9



Equipment markings
                  The “exclamation mark” within an equilat-               Pushing or pulling the system with any part


     !
                  eral triangle is intended to alert the user to          of the system other than the handle may
                  the presence of important operating and                 result in damage to the system. Always fully
                  maintenance (servicing) instructions within             lower the work surface before transport and
                  literature accompanying the equipment.                  use the system handle to maneuver.



                  Manufacturer                                            Use the handle to pull the system safely
                                                                          across thresholds, cords, cables, and other
                                                                          potential obstacles on the ground. Always
                                                                          fully lower the work surface before trans-
                                                                          porting the system.


                                                                                                                         Located on the rear of the system on the system column.
                  Follow instructions for use.
                  Suivez les instructions d’utilisation.




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             CA750 | Installation & User Guide | Getting started                                                                       10




Getting started
                                                                   • Initial setup

                                                                   • Best practices

                                                                   • System overview
                                                                      –– Console overview
                                                                      –– Power indicator LED states

                                                                   • Power considerations and configuration
                                                                      –– Turning the system ON
                                                                      –– Power modes

                                                                   • Network considerations and configuration
                                                                      –– Connecting to a wired network
                                                                      –– Connecting to a wireless network




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              CA750 | Installation & User Guide | Getting started                                                                 Initial setup   11



Initial setup
Refer to the Avizia CA750 Quick Start Guide (included with
the system packaging) for procedures pertaining to initial
system setup. The Quick Start Guide includes the following                                                      3
items:                                                                         1
  1.	 System overview                                                          2
  2.	 Unpacking the system

  3.	 Mounting and connecting the camera

  4.	 Providing system power and turning on the cart
                                                                                   6
  5.	 Providing network using an Ethernet cable

  6.	 Providing network using a wireless network                                                                              9
  7.	 Peripheral drawer and PC drawer option                                                                         10

  8.	 Adjusting the cart height

  9.	 Adjusting the second display arm

  10.	 Utilizing Auxiliary power
                                                                                                                 8
                                                                           7
                                                                                                                          4
                                                                                                                          5


  The CA750 Quick Start Guide (AVZ-CA750-DOC-QSG) is
  included on the outside of the system packaging. It can
  also be found online at http://support.avizia.com.



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             CA750 | Installation & User Guide | Getting started                                                                                                    Best practices      12



Best practices
Enable Auto-answer                                                Save frequently called numbers                                Set peripheral sharing resolution
Setting your system to auto-answer can be a good way              You can save frequently called or favorite video numbers to   The CA750’s content sharing settings are factory set to
to make sure you don’t miss a call. You can toggle auto-          make them that much easier to call.                           optimize the bandwidth allocation to the shared content
answer on by accessing the Cisco codec menu system with                                                                         source when in a video call. As call bandwidth decreases,
the system console controls.                                      Press       (OK) to bring up the Home menu and use the        the codec will allocate more bandwidth to the shared con-
                                                                  Directional pad to navigate the system menu:                  tent stream from the main source stream. This allows the
Press       (OK) to bring up the Home menu and use the                                                                          shared content (scope image, computer presentation, etc.)
Directional pad to navigate the system menu:                       • HOME > CALL... select PHONE BOOK or RECENT CALLS...
                                                                                                                                to be presented as clearly as possible in lower bandwidth
                                                                   • Select contact and choose SAVE TO MY CONTACTS
                                                                                                                                situations.
 • HOME > SETTINGS > CALL SETTINGS...
 • Configure the auto answer settings                             To place a call from the My contacts directory, press
                                                                                                                                The default settings are found in the following menu tabs,
                                                                  (OK) to bring up the Home menu and use the Directional
                                                                                                                                and can be adjusted as needed or desired:
We recommend you download the user documentation for              pad to navigate the system menu:
details and advanced Cisco SX20 codec functions. Go to:
                                                                   • HOME > CALL > PHONE BOOK > MY CONTACTS...                  HOME
http://cisco.com/go/quickset-docs.
                                                                   • Select contact to call                                         SETTINGS
                                                                                                                                		ADVANCED CONFIGURATION
Plug in when storing system
                                                                  Storing the second display
                                                                                                                                			CONFERENCE 1
We recommend that the system is plugged in to an electri-
cal outlet when storing the CA750. This ensures that the          When collapsing the second display to its folded position,    				VIDEO BANDWIDTH
system battery maintains a full charge and is ready when          heed the labels on either side of the arm and ensure that
                                                                                                                                					MAIN CHANNEL
needed.                                                           the bend in the arm is positioned to the left of the second
                                                                  display as you are facing the back of the cart.               						WEIGHT: 1
                                                                                                                                					MODE: DYNAMIC
Use call history for quick redial                                                                                               					PRESENTATION CHANNEL

When calls are placed , missed or received, navigating to                                                                       						WEIGHT: 10
your Recent calls list allows you to utilize contacts quickly.
                                                                                                                                			VIDEO
Press       (OK) to bring up the Home menu and use the
                                                                                                                                				INPUT
Directional pad to navigate the system menu:
                                                                                                                                					SOURCE 2
 • HOME > CALL > RECENT CALLS...
                                                                                                                                						QUALITY: MOTION
 • Select contact to call


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              CA750 | Installation & User Guide | Getting started                                                                                     System overview       13



System overview
What’s included:
                                                                                        HD camera        Second display with
 ••   CA750 system cart                                                                                    articulating arm          Swivel and
                                                                                                               OPTION               tilt adjusting
 ••   PrecisionHD Camera with camera mounting screw
                                                                                                                                   display mount
 ••   Display (single or dual display with articulating arm)           24” display
 ••   Remote control with batteries                                   with integrated
                                                                       microphone
 ••   Key for locking drawer(s)
 ••   Auxiliary power share cord
 ••   USB flash drive                                                                                               System console
 ••   Hex key set                                                                                                  with button panel,
                                                                                                                 I/O, integrated Wi-Fi,
                                                                                                                 and downward-facing
                                                                                                                      speakers
Configurations and Options:                                                                                                                                        Impermeable
                                                                                                                                                                    worksurface
 •• MultiSite certificate
                                                                      Handle

 •• HORUS Scope and accessories

 •• PC drawer with cables (power, Ethernet, 3.5mm audio,
                                                                                                                     Auxiliary
    and HDMI to HDMI) — to integrate a user-supplied Ultra-                                                           power
    Small Form Factor (USFF) PC.

 •• Keyboard tray
                                                                                                                         Storage bin
                                                                    Keyboard tray
 •• Retractable power and/or network caddy                            OPTION                          Height
                                                                                                    adjustment
                                                                                                       lever                                                           Locking
                                                                                                                        Cable
                                                                                                                                                                      peripheral
Tools Required for Assembly                                                                                           management
                                                                                                                                                                       drawer

Refer to the CA750 Quick Start Guide (AVZ-CA750-DOC-QSG)             Locking PC
                                                                       drawer
included on the outside of the system packaging for initial           OPTION
assembly and setup.

                                                                                                                        Ethernet

The user documentation for this product, including
compliance and safety information, is found on the Avizia                                                                              Power inlet
                                                                                                                                                                    Hospital
                                                                            Battery housing                                                                       grade lock-
website. Go to http://www.avizia.com.                                    Second battery OPTION                                         with breaker               ing casters
                                                                                                                                          switch




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System overview
Console overview                                                                                      Wi-Fi
                                                                                                    indicator                     Call and source controls
                                                                                                                                                                               Power and
                                                                                                                                                                              battery meter
                                                                                                                                                                                                   System
                                                                                                                                                                                                 power button

System navigation, call controls, and connectivity to
peripheral sources can all be done through the system’s
console.

Please see Using the system to understand the console
interface and how to use the CA750 system.

                                                                     Left console                                                   Integrated speakers                                                         Right console
                                                                     connections                                                                                                                                connections



Power indicator LED states
                                                                                                       Video mode                   Remote                              Workstation mode (toggles PC & video mode)
                                                                                                                                  control IR
                                                                            Selfview control (when not in a call)                    sensor                                                            Battery power
                                                                                                                                                                              PC share
AC Power                             system is plugged                           Camera control (when in a call)                                                                                           LED meter
                                     into an outlet
                                                                                    Main camera (default view)                                                                 Auxiliary share




                                      100% battery capacity (BLUE)
Battery meter                                                                                          Back                                                                       Mute (microphone, local)
                                      80% battery capacity (BLUE)                          for system menu
                                                                                                  navigation
                                      60% battery capacity (BLUE)

                                      40% battery capacity (BLUE)

                                      20% battery capacity (AMBER)                                Make call                                                                       End call
                                      10% capacity when flashing




                                                                                                                    Camera zoom                              Volume control



                                                                                                                                       OK and directional pad                                 AC power indicator LED
                                                                                                                                       for camera control and
                                                                                                                                       system menu navigation




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System overview
Console connections overview                                                        Left console connections                                                                                         Right console connections
The left and right console connections allow the user to
connect peripheral devices that will enhance the CA750’s
                                                                                                                                                                                                                      USB 3.0 *
capabilities.
                                                                                Audio output
                                                                                    (3.5mm)
                                                                                                                                                                   System power button                                            Audio input
                                                                                                                                                                                                                                  (3.5mm)




                                                                                                                                                           Console
                                                                                                                                                           buttons




                                                                            Micro USB input                                                                                                                                      HDMI input
                                                                   (for system diagnostics)                                                        Integrated speakers                                                           (HD AUX source)


                                                                                      Reset button                                                                                                                   Composite video input
                                                                           (for system diagnostics)                                                                                                                  (SD AUX source)


                                                                                                  USB 2.0
                                                                                    (for system upgrades)




                                                                   *   USB port provides only charging functionality when there is no PC integrated into the optional PC drawer.
                                                                       When a PC is integrated into the optional PC drawer with the provided USB connection, the console’s USB port functions as an extension or hub to the PC’s USB port.




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             CA750 | Installation & User Guide | Getting started                                           Power considerations and configuration         16



Power considerations and configuration
The CA750 can run on AC or battery power.

When the system is plugged into an outlet, the Power LED
on the System Console will light up solid blue in about 10
seconds. The integrated battery will also begin charging.

           Though the system will arrive with some charge,
 NOTE      we recommend you charge the system battery
           for at least 4 hours before running on battery
           power.

           Smart power management will prevent over-
 NOTE      charging and provide feedback for remaining
           battery capacity.

Each system includes a standard single or optional dual
battery to power the cart when not connected to AC
power.
                       SINGLE BATTERY       DUAL BATTERY (OPTION)




                                                                      Plug into outlet
    RUN TIME		             3-4 hours		            6-8 hours
    CHARGE TIME            1.5 hours		            3.5 hours


                                   100% battery capacity (BLUE)

                                   80% battery capacity (BLUE)
   BATTERY
                                   60% battery capacity (BLUE)
   CAPACITY LED
                                   40% battery capacity (BLUE)

                                   20% battery capacity (AMBER)
                                   10% capacity when flashing
                                                                                         Power inlet and                 OPTION: Retractable
                                                                                         breaker switch                   power cord caddy
           The system includes a breaker switch for protec-
           tion. Should the system indicate there is no
 NOTE
           power, check the breaker and ensure that it is
           switched to the ON position.


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Power considerations and configuration
Turning the system ON
                                                                                                                           100% battery capacity (BLUE)
Press the system’s Power Button on the side of the Con-
                                                                              system is plugged
sole to turn ON the system. This button will illuminate blue                  into an outlet
                                                                                                                           80% battery capacity (BLUE)
when active, and the codec, camera, and display(s) will                                                                    60% battery capacity (BLUE)
power on.
                                                                                                                           40% battery capacity (BLUE)

While the system is plugged into AC or running on battery,                                                                 20% battery capacity (AMBER)
                                                                                                                           10% capacity when flashing
power will be available to the appropriate console, pe-
ripheral, and optional PC connections (e.g. auxiliary power
cord, peripheral drawer, optional PC drawer, USB ports).                                                          POWER BUTTON




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             CA750 | Installation & User Guide | Getting started                                                                         Power considerations and configuration               18



Power considerations and configuration
System power modes

ACTIVE MODE                                                        STANDBY MODE                                                  SLEEP / DO NOT DISTURB MODE

Pressing the POWER BUTTON on the console will activate             If the system is inactive for 10 minutes, the codec, cam-     Pressing the system’s Power Button on the side of the
the codec, camera, and display(s).                                 era, and display(s) will enter STANDBY MODE to conserve       Console for one second will place the system into SLEEP
                                                                   power. The camera will turn to its side and the display(s)    MODE. The blue light for the power button will go dark,
While the system is plugged into AC or running on battery,         will turn off (the blue indicator light will not be lit).     the codec will enter DO NOT DISTURB mode, the camera
power will be available to the appropriate console, pe-                                                                          will turn to its side, and the display(s) will turn off (the blue
ripheral, and optional PC connections (e.g. auxiliary power             If a PC is connected to a dual display cart, then the    indicator light will not be lit).
cord, peripheral drawer, optional PC drawer, USB ports).           NOTE front-facing display will not enter standby mode
                                                                        unless:                                                  The system cannot be used, though power is still provided
                                                                                                                                 to the rest of the system where powered connections
                                                                   1. The PC also is configured separately to enter standby or   are made available (e.g. auxiliary power cord, peripheral
                                                                   sleep.
                                                                                                                                 drawer, optional PC drawer, USB ports).
                                                                   2. The system is in VIDEO MODE.
                                                                                                                                      Any device (PC, scope, etc.) connected to power
                                                                                                                                 NOTE the powered connections will remain on until
                                                                                                                                      otherwise placed into standby, turned off, or
                                                                                                                                      disconnected.
                                                                   When in Standby, the system can be activated by any but-
                                                                   ton press, detection of the codec’s remote control, or an
                                                                   incoming call.
                                                                                                                                 To return the system to ACTIVE MODE, press the power
                                                                                                                                 button on the side of the console to activate the codec,
                                                                                                                                 camera, and display(s).




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Network considerations and configuration
The network module is built into the console of the CA750
and is a dual-band Wi-Fi IEEE 802.11 a/b/g/n wireless
network module. The network module can be used in one
of two ways: connected to the network infrastructure by
Ethernet cable, or connected over the Wi-Fi infrastructure.

          It is important that you understand how your
   !      wireless infrastructure is configured BEFORE you
          connect the CA750 to your wireless network.

          Determine how you will set up your cart to con-
 NOTE     nect to your wireless network, as this may affect
          your wireless network settings:

          Single Client mode allows a one-to-one connec-
          tion to the wireless network. No other networked
          devices on the cart will have connectivity except                                                                  Configure the Wi-Fi module for
                                                                                                                                 wireless connectivity.
          the video codec.

          Multi-Client mode allows multiple devices to
          connect to the wireless network. In most cases,
          “client-bridge” or “passive client” mode must be
          enabled on the wireless network before devices
          can obtain an IP address.
                                                                                             Plug into network for
          The wireless radio switches off when the system                                     wired connectivity
 NOTE     detects a wired network connection. To enable            OPTION: Retractable
          wireless, disconnect the Ethernet cable at the           network cable caddy
          base of the cart.


      The system is ready use once the cart has network                                                      Ethernet port
 NOTE connectivity and the video codec (Cisco SX20) has
      been registered to the video infrastructure. For
      more information on registering your codec and
      setting a static IP address, please reference the
      Cisco SX20 Quick Set Administrator Guide:
           http://j.mp/Cisco-SX20-Admin



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Network considerations and configuration
                              WIRED CONNECTION                                               MULTI-CLIENT WI-FI                                                         SINGLE-CLIENT WI-FI
             You must manually register the Cisco codec to the CUCM               Your wireless infrastructure must allow Client-Bridge
              and ensure that the SERIAL PORT setting is set to OFF.                        access (e.g. passive client mode).




                                                                                  WI-FI                                                                 WI-FI




    WIRELESS RADIOS ARE
    NOT AVAILABLE WHEN                                                                                                                                     FUTURE USE
                                                                                                                               NOT AVAILABLE
 CONNECTED TO ETHERNET                                                                                                                             (FLEET MONITORING)


       ETHERNET TO CART                                                      WI-FI TO CART                                                          WI-FI TO CART
      PROVIDES NETWORK           CRTL                 CODEC             PROVIDES NETWORK         CRTL               CODEC                      PROVIDES NETWORK            CRTL       CODEC
         TO CONTROLLER                                                     TO CONTROLLER                                                          TO CONTROLLER
     CONTROLLER ROUTES                                                 CONTROLLER ROUTES                                                   CONTROLLER ROUTES
      NETWORK TO CODEC                                                  NETWORK TO CODEC                                                    NETWORK TO CODEC
        AND OPTIONAL PC                                                   AND OPTIONAL PC




                                                                                                                                                     OPTIONAL PC
                                       PC                                                             PC                                         WILL NOT RECEIVE             PC
                                                                                                                                                        NETWORK



           ETHERNET TO CART                                               ETHERNET MUST                                                          ETHERNET MUST
                                                                         BE DISCONNECTED                                                        BE DISCONNECTED
                                                                             FOR WIRELESS                                                           FOR WIRELESS
           MUST REGISTER TO                                                 FUNCTIONALITY                                                          FUNCTIONALITY
      !    CUCM MANUALLY
           AND SET ‘SERIAL
           PORT’ TO OFF.




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Network considerations and configuration
Connecting to a wired network
Plug the cart’s Ethernet Cable into an active network port.
The cable will be installed and ready to use. The optional
Retractable Network Caddy may be used in place of the
standard cable.

The system is ready to use when the Network LED on the
console is a solid blue (network connection is detected)                                                                                     Plug into network

and the codec is registered to your network.
                                                                                                                                                Ethernet port
          The Wi-Fi radio will be disabled when the system
 NOTE     detects an active wired Ethernet connection.
                                                                   OPTION: Retractable
                                                                   network cable caddy

If the LAN has a DHCP service, the system will retrieve a
DHCP IP address, which will be displayed in the upper left
hand corner of the display.

If a static IP is required for the CA750 then this requires
configuring the SX20 endpoint within the CA750.

For more information on registering your codec and set-
ting a static IP address, please reference the Cisco SX20
Quick Set Administrator Guide for the SX20: http://j.mp/
Cisco-SX20-Admin.

          For a wired network connection only: You must
   !      manually register the Cisco codec to the CUCM
          and ensure that the SERIAL PORT setting is set to
          OFF.                                                                                         FLASHING AMBER             FLASHING BLUE            SOLID BLUE
                                                                                                     Network not configured   Network trying to connect Network connected
                                                                                                              OR                                              AND
The system can be configured to operate on a wireless                                                 Codec not registered                               Codec registered
network. To configure the system for wireless operation,
please refer to Connecting to a wireless network in the
next section.




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             CA750 | Installation & User Guide | Getting started                                                                   Network considerations and configuration                         22



Network considerations and configuration
Connecting to a wireless net-
work                                                                      avizia.com/ca750setup
The default mode for the CA750 is Single-Client (SC) mode.
This provides two dedicated Wi-Fi radios for the Cisco SX20
codec and the cart CPU.

1.	 Use a computer web browser to navigate to: avizia.
    com/ca750setup and fill in the secure webform with
    the wireless network settings on which the cart is to                           GENERATE
    be connected. Consult your network administrator for
    the appropriate wireless network settings.

2.	 Save the configuration file (CA750CONFIG.TXT) to the
    root directory on the included Avizia USB flash drive
    (a user-supplied flash drive may be used instead).

3.	 Insert the USB flash drive into the USB 2.0 port on
    the left side of the console. A message will appear on
    the display confirming drive detection. The system
    will begin its configuration routine and may take up
    to a minute before a message indicating successful
    configuration appears.
                                                                                                                                     FLASHING AMBER             FLASHING BLUE            SOLID BLUE
                                                                                                                                   Network not configured   Network trying to connect Network connected
4.	 The Network LED on the console will be a solid blue                                                                                     OR                                              AND
                                                                                                                                    Codec not registered                               Codec registered
    when a network connection is detected and the
    codec is registered.

                                                                          This procedure does not configure the SX20 codec —
                                                                   NOTE   separate codec configuration is required.

                                                                          Please refer to the Cisco SX20 Quick Set Administrator
                                                                          Guide* for registering your codec:
                                                                            http://j.mp/Cisco-SX20-Admin.




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             CA750 | Installation & User Guide                                                                                            23




Using the system
                                                                  • Adjusting the system height
                                                                     –– Raising the work surface
                                                                     –– Lowering the work surface

                                                                  • Adjusting the second display

                                                                  • Controlling the camera
                                                                     –– Camera controls
                                                                     –– Selfview

                                                                  • Controlling volume and microphone
                                                                     –– Adjusting the speaker volume
                                                                     –– Turning microphone on and off

                                                                  • Navigating the menus

                                                                  • Making a video call
                                                                     –– Placing a call

                                                                  • When in a video call
                                                                     –– Using the PC
                                                                     –– Presenting an auxiliary device
                                                                     –– Presenting an electronic or digital stethoscope
                                                                     –– Using headphones or a headset microphone

                                                                  • Overview of typical display outputs


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             CA750 | Installation & User Guide | Using the system                                             Adjusting the system height               24



Adjusting the system height
Raising the work surface
Lift the height-adjustment arm while gently assisting the
work surface to the desired height.



Lowering the work surface
Lift the height-adjust arm and firmly lower the surface to
                                                                                                                                            70.5” / 179.1 cm
the desired height.
           You may need to apply some extra pressure to
 NOTE      the work surface as you lower the cart.

                                                                    61” / 154.9 cm
Lower before transporting                                                                  9.5” / 24.1 cm

             For your safety and to protect the CA750, fully                                                           Height Adjustment Lever
             lower the work surface before transporting the
             system. Pushing or pulling the system with any
             part of the system other than its handle may
             result in damage to the system.
                                                                                                                                       44” / 111.8 cm

                                                                         34.5” / 87.6 cm
Traversing thresholds and obstacles on the
ground
             Use the handle to PULL the system safely
             across thresholds, cords, cables, and other
             potential obstacles on the ground. Always fully
             lower the work surface before transporting the
             system.




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             CA750 | Installation & User Guide | Using the system                                            Adjusting the second display    25



Adjusting the second display
The optional Display Arm for a second display can be ad-
just laterally, vertically, and can tilt the display for optimal
viewing from the front, sides, or rear of the cart.

           The provided hex wrenches can be used to
 NOTE      adjust the tension on the arm at multiple points.



The vertical position is maintained by using the adjust-
ment handle on the upper portion of the arm.

WARNING: Do not over-tighten but provide sufficient ten-
sion to each pivot joint so as to prevent unintended move-
ment of the display, or the pinching fingers or cables.




When you collapse the display arm to reposition the
second display closer to the cart, or to transport the cart
to another location, ensure that the arm folds to the left of
the display as you are facing the back of the cart.

This is to prevent damage to cables running along the arm.

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                                                                           1/8




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             CA750 | Installation & User Guide | Using the system                                                            Controlling the camera                 26



Controlling the camera
Camera controls                                                                   Camera control
                                                                                   not in a call = full screen
                                                                                                                                                       CODEC or
                                                                                                                                                      CODEC MENU

                                                                                   in a call = PIP (picture-in-picture)
                                                                                                                                  NOT IN
Initiate CAMERA CONTROL by pressing the DIRECTIONAL                                                                               A CALL
PAD to pan and tilt the camera. Use the ZOOM buttons to                                                                                         CODEC or      CODEC or
                                                                                                                                               CODEC MENU    CODEC MENU
adjust the camera’s zoom level.

When you have finished adjusting the camera, select the
source you want to see on the display: Selfview, PC, or
AUX. If no button is pressed for approximately 10 seconds,
the system will default back to the HOME view (codec
                                                                                                                                                        VIDEO or
Video Mode).                                                                                                                                          CODEC MENU




                                                                                                                                IN A CALL

Selfview                                                            Camera zoom                            Directional pad                       VIDEO or
                                                                                                                                               CODEC MENU
                                                                                                                                                               VIDEO or
                                                                                                                                                             CODEC MENU




Selfview is the image remote participants will see of you —
what is seen from your main camera.

Press CAMERA CONTROL on the system console to see
your Selfview. You can adjust the camera’s position and
zoom with the Directional pad. The user-initiated selfview
does not timeout.

           When in a call, pressing CAMERA CONTROL will
 NOTE      present your camera view as a PIP (Picture-in-
           Picture) at the lower right of the display.




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             CA750 | Installation & User Guide | Using the system                                             Controlling volume and microphone      27



Controlling volume and microphone
The system microphone is located on the front of the
display and is extremely sensitive. Do not block or cover
                                                                                                                integrated (local)
the microphone.
                                                                                                                microphone
The system automatically manages echo cancellation.

The system speakers are located at the bottom of the
system console. This is to ensure that the console is pro-
tected from foreign objects, dust, or liquids.



Adjusting the speaker volume
To adjust the volume, use the VOLUME CONTROL buttons
on the console.



Turning microphone on and
off
To mute your microphone, press       (Mute) to prevent
remote participants from hearing you. Press again to
toggle the mic back on.

           Pressing       (Mute) shuts off the internal (local)
 NOTE      microphone only; all connected audio sources,
           such as a digital stethoscope or laptop audio, will
           continue to be heard during a call.




                                                                                                                                     Volume
                                                                                                                                     control



                                                                                        Integrated speakers



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             CA750 | Installation & User Guide | Using the system                                                 Navigating the menus     28



Navigating the menus
The DIRECTIONAL BUTTONS on the CONSOLE provide
navigational control when accessing the system menus.
The accompanying remote control may also be used to
navigate and control the system with its corresponding
buttons.

Refer to the Cisco codec documentation for detailed infor-
mation on advanced codec functionality, menu naviga-
tion, and using the remote control:
    http://cisco.com/go/sx-docs



1.	 To show the system menu, press                (OK) at the cen-
    ter of the directional pad.
2.	 Use the arrow buttons to navigate through the menu
    structure.
               If a menu item shows an arrow, selecting
     NOTE      RIGHT will navigate to the next menu level.
               To “go back” in the menu structure, press
               LEFT or      (Back).
3.	 To type, use the onscreen keyboard or the keypad on
    the remote. Use the directional arrows to move to the
    appropriate letter, number, or symbol. Press     (OK)
    to select the desired character.
4.	 To quickly exit the menu structure, press              (Discon-
    nect).

               When navigating the menu structure while
     NOTE      you are in a call, pressing     will not
               disconnect a call. Exit the menu system and
               then press        to disconnect a call.




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             CA750 | Installation & User Guide | Using the system                                                      Making a video call    29



Making a video call
Press       (OK) to bring up the Main Menu and select CALL
for options to enter a contact number or address, select a
phone book entry, or select from the Recent calls list.


Placing a call
Enter or select the contact to call and press              (Connect)
to place a call.
Each contact can be edited, added to personal contact
lists, or added as participants to a Multisite call (optional
feature). This is done by selecting a contact entry and
pressing RIGHT to see these additional entry options, as
seen in the images on the right.


Calling options
 • Specifying name, number, or address: You can
   place a call by entering the contact number or address
   directly.

 • Using the phone book: Navigate to Phone book by
   going to the Call menu option on the main menu. From
   the phone book, you can search, scroll through the
   directory, or create a directory entry, and then select
   the contact you wish to call.

 • Use the Recent calls list: A list of recent calls can
   be accessed, from the Call menu option on the main
   menu, as a streamlined alternative to manually enter-
   ing the contact information or using the phone book
   directory. TIP: When not in a call and not in the menu
   system, pressing       (Connect) will take you directly to
   the Recent calls list.


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             CA750 | Installation & User Guide | Using the system                                                                                When in a video call    30



When in a video call
Using the PC                                                                         Workstation Mode
                                                                       Shows the PC on the front display.
                                                                                                            PC share
                                                                                                            Presents the PC content to the
                                                                                                            screen of the remote participants.
The PC drawer option provides space to house an Ultra               Press to toggle between PC and video.
Small Form Factor (USFF) PC for integration with the CA750.                                                 Press to toggle ON and OFF.

The system is designed to allow the user to operate the
computer and cart as a workstation, showing the computer
desktop on the front display. The PC can also be shared to
remote participants.


Workstation mode
To use the user-integrated PC, press    (Workstation
mode) to show the PC desktop on the cart’s display.

           On a dual display system, the PC will be seen on
 NOTE      the cart’s front display only. The second display
           will show video


PC share
Press       (PC share) present the PC during a video call.
                                                                                                                       PC drawer
The remote participants can now see the contents of your
PC you are sharing.

           On a dual display system, the PC will also be seen
 NOTE      on the cart’s front display only.



           The PC HDMI connection does not support audio.
 NOTE      To enable PC audio use the 3.5mm connector.




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             CA750 | Installation & User Guide | Using the system                                                                   When in a video call    31



When in a video call
Presenting an auxiliary device
Optional AV devices for transmitting images and video
can be connected to the CA750. These auxiliary sources
can be connected simultaneously via the console and
the peripheral drawer, however only one source may be
presented at a time.

1.	 Connect auxiliary devices to the HDMI inputs and/
    or Composite inputs. Any device that provides video
    output and is connected to the system’s HDMI or com-
    posite inputs can be displayed on the system: laptop
    computer, digital scope, examination camera, video
    feed from ultrasound, etc..
2.	 Press        (AUX) to present the contents of your device
    to the call participants. The system will detect the first
    active auxiliary source and the blue light on the button
    will indicate that the AUX source is presenting.
                                                                                                 Peripheral drawer
3.	 Press again to toggle through the connected devices.
    Ensure the AUX source(s) are appropriately powered
    and turned on to be viewed as the AUX source when
    selected.


           There are five auxiliary inputs on the CA750             NOTE: If no AUX source is detected,
 NOTE      which toggle through a prioritization schedule:                the button will time-out after
                                                                          10 seconds and return to the
                                                                          Home state.
               1.   Composite (SD) on console
               2.   HDMI (HD) on console                            NOTE: Audio is not transmitted over HDMI. Only
                                                                          video is transmitted over HDMI.
               3.   Composite (SD) in drawer
               4.   HDMI (HD) in drawer                             NOTE: If a computer is connected via an AUX input, the
               5.   HDMI (HD) in drawer                                   system will see it as an auxiliary device and not a PC
                                                                          source. PC source control and presentation is available
               6.   Default view (Home)                                   though the connections from the optional PC drawer.




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             CA750 | Installation & User Guide | Using the system                                                  When in a video call             32



When in a video call
Presenting an electronic or                                                                          Peripheral

digital stethoscope                                                                                  audio input
                                                                                                     (3.5mm)

The optional E-Scope II and other electronic or digital
stethoscopes can be connected to the CA750 to transmit
the corresponding audio to remote participants.



Connect the 3.5mm cable from the stethoscope or audio
device to the 3.5mm audio input on the system. The audio
                                                                                                                          Peripheral audio device
from the device is now mixed into the video call.

           There are three audio inputs on the CA750. Each                      Peripheral drawer

 NOTE      connected audio source will be mixed into the
           video call.

               1. Peripheral Audio Input (console)
               2. Peripheral Audio Input (drawer)
               3. PC Audio Input (with PC drawer option)

           Unplug any other audio connection(s) to present
           the desired audio without disruption from other
           sources.
                                                                    PC drawer



           The CA750 can experience audio distortions due
 NOTE      to network latency, software/hardware malfunc-                                 PC audio
           tion, insufficient bandwidth, or for other reasons.




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             CA750 | Installation & User Guide | Using the system                                                  When in a video call    33



When in a video call
Using headphones or a head-
set microphone
When in a call and privacy is desired, a standard 3.5mm
headphone or a headset with an integrated microphone
can be plugged into the CONSOLE to provide audio out-
put.

When plugged into the Console, all audio will be directed
through the headphones and speaker audio out of the
Console will be turned off.

If you are using a headset with a microphone then the
integrated system mics will be muted and only the headset
microphone will be mixed into the call.




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             CA750 | Installation & User Guide | Using the system                                                                                                           Overview of typical display outputs              34



Overview of typical display outputs


                           HOME (DEFAULT)                     CAMERA CONTROL                         VIDEO MODE                  WORKSTATION MODE                          PC SHARE                 AUXILIARY SHARE
                         Press to reset what sources        Toggles Selfview (what your        Shows video on the display(s)      Shows the PC on the front        When in a call, this button      When in a call, this button
                       are being shared to the far end            camera sees).                to use the system as a typical   display to use the system as a     shares the PC contents to       shares auxiliary sources to
                            (remote participants).          Use Arrows/Zoom to adjust              videoconferencing unit.                workstation.           the far end. You will see your   the far end. You will see your
                        Also toggles the codec menu.                 camera.                                                                                       content prominently with a       content prominently with a
                                                                                                                                                                      smaller far end view.            smaller far end view.



                                  CODEC or
                                 CODEC MENU                            SELFVIEW                             CODEC                            PC                               PC                              AUX




      NOT IN
      A CALL
                           CODEC or      CODEC or
                          CODEC MENU    CODEC MENU            SELFVIEW           SELFVIEW         CODEC               CODEC           PC            VIDEO             PC              PC               AUX             AUX




                                   VIDEO or                                                                                                  FAR                              FAR                              FAR
                                                                         FAR END
                                 CODEC MENU                                                                 FAR END                          PC                               PC                              AUX
                                                                                PIP



   WHEN IN
    A CALL
                            VIDEO or      VIDEO or                                                                                                                    FAR            FAR               FAR             FAR
                                                              FAR END             FAR END
                          CODEC MENU    CODEC MENU                                                FAR END             FAR END         PC           FAR END            PC              PC               AUX            AUX
                                                                     PIP                 PIP




                                                                                                                                                                                     FAR                               FAR
                                                                                  FAR END
                                                                  PC                                                                                                  PC              PC               PC             AUX
                                                                                         PIP



                                                             [ when in WORKSTATION MODE]                                                                          [ when in WORKSTATION MODE]      [ when in WORKSTATION MODE]




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             CA750 | Installation & User Guide                                                                                         35




Maintaining the system
                                                                  • Displaying system information

                                                                  • Cleaning and maintenance guidelines

                                                                  • Battery guidelines

                                                                  • Installing updates

                                                                  • Factory defaulting the system

                                                                  • Storing the system




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             CA750 | Installation & User Guide | Maintaining the system                                          Displaying system information     36



Displaying system information
There a several Console button combinations you can                                       Press and hold both
perform to provide specific information pertaining to your                               buttons for 3 seconds
CA750 cart. Press and hold any of the following combina-
tions for about three seconds to view the appropriate
dialogue box. Press       (OK) to close the information
window.

System Information: Home + AUX

                                +

Wi-Fi Information: Home + Video Mode

                                +

Serial and MAC Addresses: Home + PC Share

                                +




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             CA750 | Installation & User Guide | Maintaining the system                                                                    Cleaning and maintenance guidelines           37



Cleaning and maintenance guidelines
Cleaning the system                                                LCD monitor and Camera                                          System
                                                                    • Always disconnect your monitor’s power from the              • All surfaces — painted and plastic cart components —
The surface materials of the CA750 are durable and easy to            system before cleaning. Clean the camera and LCD               will withstand cleaning by commonly available multi-
maintain. Follow the general cleaning guidelines, found to            monitor surface with a lint-free, non-abrasive cloth.          purpose surface cleaners.
the right.                                                            Avoid using any liquid, aerosol or glass cleaners.
                                                                                                                                   • To avoid risk of electric shock, do not expose electri-
                                                                    • Slots and openings on the back or top of the cabi-             cal components to water, cleaning solutions or other
Maintaining the system                                                net are for ventilation. They must not be blocked or           potentially corrosive liquids or substances.
                                                                      covered. Your monitor should never be placed near or
The CA750 is designed with minimal maintenance require-               over a radiator or heat source, or in a built-in installa-   • Do not immerse system or system components in
ments. However, a yearly check on system fasteners and                tion unless proper ventilation is provided.                    liquid or allow liquids to flow into the cart. Wipe all
cables (screws, nuts, bolts, cables) will ensure that the                                                                            cleaners off surface immediately using a damp cloth.
CA750 is in good operating order.                                   • Never push objects or spill liquid of any kind into this       Thoroughly dry surface after cleaning.
                                                                      product.
                                                                                                                                   • Do not use flammable cleaners on cart surfaces due to
                                                                                                                                     close proximity of electrical power and equipment.
           Avizia will make available, on request, such
 NOTE      circuit diagrams, component part lists, descrip-                                                                        • Never use steel wool or other abrasive materials that
           tions, calibration instructions or other informa-                                                                         will damage the surface finish.
           tion which will assist appropriately qualified
           technical personnel to repair those parts of the                                                                        • Do not use strong solvents such as trichloroethylene
           equipment which are classified by Avizia as field                                                                         and acetone. These solvents will damage the surface
           repairable.                                                                                                               finish.

                                                                                                                                   • It is recommended that any cleaning solution be
                                                                                                                                     tested on a small, inconspicuous area to ensure sur-
                                                                                                                                     face is not harmed.




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             CA750 | Installation & User Guide | Maintaining the system                                                Battery guidelines    38



Battery guidelines
   !       This system contains no user-serviceable parts.




Remote control
Batteries for the Remote Control are Long Life Alkaline bat-
teries; please follow guidelines on the packing material for
handling and disposal of the batteries.

CAUTION
RISK OF EXPLOSION IF BATTERY IS REPLACED BY AN IN-
CORRECT TYPE. DISPOSE OF USED BATTERIES ACCORDING
TO APPROPRIATE LOCAL REGULATIONS.




Rechargeable system battery
The system enclosed rechargeable battery (LiFePo) in this
product is non-user replaceable and should be removed
by a qualified service technician only.




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             CA750 | Installation & User Guide | Maintaining the system                                                Installing updates    39



Installing updates
Identify what versions of firmware are currently installed
on your system by simultaneously pressing           +
for three seconds. This will bring up information about
system firmware versions:




To update the firmware for the CA750:                                                                           USB

1.	 Download the appropriate firmware file(s) to your
    computer from http://avizia.com/firmware.
2.	 Place the file(s) into the ROOT directory of a USB
    thumb/flash drive. Note that the USB drive must be
    formatted as FAT or FAT32.
3.	 Ensure the CA750 is powered on and in an idle state
    (not in a call). Insert the USB drive into the USB port on
    the side of system console and wait 5-10 seconds for
    an update prompt.
4.	 Use the directional pad to select YES and follow the
    onscreen prompts to update the firmware item(s).
               The update process may take a little over two
     NOTE      minutes to complete.


5.	 You can remove the USB drive once the system has
    rebooted and you see the default codec screen.


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             CA750 | Installation & User Guide | Maintaining the system                                     Factory defaulting the system    40



Factory defaulting the system
Should a need arise to remove ALL system configuration
settings, press and hold the following buttons at the same
time for 5 seconds:

           BACK + MAKE CALL + MUTE + DISCONNECT

The source selection LEDs will light up one by one and
blink three times before the entire system reboots.

Once the system has fully booted up, it is ready for setup
and configuration.

          For a wired network connection only: Do not
   !      forget you must manually register the Cisco codec
          to the CUCM and ensure that the SERIAL PORT
          setting is set to OFF.


The Wi-Fi configurations can be reset by pressing the fol-
lowing for about three seconds:

           BACK + MIC MUTE



To power-cycle the
cart, use the end of a
paperclip or something
similar, and insert into
the Pinhole on the side
of the Console.




WARNING: Ensure that any connected devices requiring
power is turned off before power-cycling the system. All
connected devices requiring power will lose power when
the system is power-cycled.


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             CA750 | Installation & User Guide | Maintaining the system                                                         Storing the system     41



Storing the system
Short-term storage
If the system is to be stored for a relatively short period
of time, we recommend that the system be plugged in to
an electrical outlet during storage. This ensures that the
internal battery maintains a full charge and is ready when
needed.



Long-term storage
If the system is to be stored for an extended period of time,
we recommend you place the system into “deep sleep”
mode:

1.	 Disconnect the system from AC power:
    •• Unplug from electrical outlet
    •• Place the Breaker switch at the base of the cart to
       the OFF position.
2.	 Press the         (Home) +          (Disconnect) buttons
    simultaneously for about 3 seconds until the system
    turns off. This will prevent the battery from keeping the                                                Unplug from outlet

    system powered.
3.	 Wrap power cord on the cable wrap.
4.	 Secure or appropriately store peripheral devices and                                                  Turn Breaker switch
    cables.                                                                                                       OFF

5.	 Store the system in a cool, dry environment.

           The battery will lose some charge if stored for an
 NOTE      extended period of time. Ensure the battery is
           sufficiently recharged before running the system
           on battery power.


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             CA750 | Installation & User Guide                                                                                                                                     42




Troubleshooting
                                                                  I can’t turn the system on.                                 •• Pressing the PC or AUX source buttons when there
                                                                                                                                 are no devices connected to the corresponding con-
                                                                  •• Make sure the system breaker switch is in the ON            nections will result in a black screen. The PC and AUX
                                                                     position. This switch is by power inlet connector           sources will time out after 10 seconds and return to
                                                                     found at the base of the cart. Then, press the Power        the Main camera (default) view.
                                                                     button on the right side of the console until the but-
                                                                     ton illuminates blue.
                                                                                                                              I can’t make a video call.
                                                                  •• Ensure the power cord is properly connected to the
                                                                     system and to the AC outlet. You should see the LED      •• Ensure the system has network connectivity:
                                                                     power indicator on the front of the console illumi-         •• check Ethernet connection
                                                                     nate blue.                                                  •• check wireless connection and/or the wireless
                                                                                                                                    configurations

                                                                  Why is the screen black?                                    •• Make sure the system codec’s network configurations
                                                                                                                                 are properly set and registered. Contact your network
                                                                  •• Ensure the system is powered on and the display’s           administrator or refer to the Cisco SX20 codec docu-
                                                                     power cord and HDMI cable are properly inserted.            mentation at:
                                                                     Press the display’s power button to turn on.                      http://cisco.com/go/sx-docs
                                                                  •• The display setting may have been changed or set
                                                                     incorrectly:                                             When I try to show my laptop or
                                                                     1.	 Ensure the display’s HDMI cable is properly
                                                                                                                              other device I get a black screen.
                                                                         inserted.
                                                                     2.	 Press and hold the system power button on the        •• Check that the video cable from the laptop or device
                                                                         side of the console until the blue LED turns off.       is in the appropriate connection on the console.
                                                                     3.	 Wait a few seconds and turn the system back
                                                                                                                              •• Make sure the laptop display setting is appropriately
                                                                         on. The HDMI setting on the display should be
                                                                                                                                 configured to mirror or extend to another display.
                                                                         automatically reset and no longer show a black
                                                                         screen.




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             CA750 | Installation & User Guide                                                                                                                                                   43




Product Specifications
AVZ-CA750-1-IP40                                                  VIDEO                                                          POWER
Avizia Clinical Assistant 750 - Single Screen with Drawer Mod-    • Cisco SX20 codec with 8x Precision HD camera                 • 45 Ah Lithium Iron battery provides 3-4 hr. of power
ule - includes integrated SX20 Codec, PHD camera (8X), single                                                                    • Additional 45 Ah Lithium Iron battery provides 6-8 hr. of power
24” HD LED monitors, peripheral device drawer with integrated     DISPLAY                                                          (option)
power and inputs, foam drawer insert for Horus Scope, remote      • 24” HD LCD (with integrated mic)
control, premium resolution software option, 4-hour battery,      • 2nd 24” HD LCD (option)                                      CLEANABILITY
wired networking and integrated Wi-Fi.                                                                                           • Edge-to-edge glass displays
                                                                  CONTROL OPTIONS                                                • Anti-microbial work surfaces
                                                                  • Button panel with call, menu, camera and content control     • Downward facing speakers (no speaker grill on front)
AVZ-CA750-2-IP40                                                  • Cisco IR remote (use is optional)
Avizia Clinical Assistant 750 - Single Screen with PC Cabinet                                                                    PHYSICAL DIMENSIONS
- includes integrated SX20 Codec, PHD camera (8X), single 24”     VIDEO INPUTS                                                   • Width: 23” (58.5cm)
HD LED monitors, PC Cabinet, peripheral device drawer with        • Three HDMI (fourth included in PC cabinet option)            • Depth: 27” (68.6cm)
integrated power and inputs, foam drawer insert for Horus         • Two SD (composite)                                           • Height: 60-70 in. (152.4-177.8 cm)
Scope, remote control, premium resolution software option,        • Four USB 3.0 routable to PC (three in peripheral drawer)     • Weight:
4-hour battery, wired networking and integrated Wi-Fi.                                                                             ·· 180 lbs. (without options)
                                                                  VIDEO OUTPUT                                                     ·· 215 lbs. (with 2nd display and PC cabinet)
AVZ-CA750-3-IP40                                                  • One HD (internal HDMI for 2nd display option)                  ·· 230 lbs. (with 2nd display, PC cabinet, and 2nd battery)
Avizia Clinical Assistant 750 - Dual Screen with PC Cabinet
- includes integrated SX20 Codec, PHD camera (8X), dual 24”       AUDIO INPUT                                                    OPERATING TEMPERATURE AND HUMIDITY
HD LED monitors, PC Cabinet, peripheral device drawer with        • Mic (integrated)                                             • 50 to 95°F (10 to 35°C) ambient temperature
integrated power and inputs, foam drawer insert for Horus         • Three 3.5mm                                                  • 20 to 90% relative humidity (RH)
Scope, remote control, premium resolution and dual display                                                                       • Atmospheric pressure: 700 to 1060 hPa
software options, 4-hour battery, wired networking and inte-      AUDIO OUTPUT
grated Wi-Fi.                                                     • Speakers (integrated)                                        STORAGE AND TRANSPORT TEMPERATURE
                                                                  • One 3.5mm (integrated headphone and mic jack)                • 14 to 140°F (-10 to 40°C) at RH 10 to 80% (noncondensing) at
                                                                                                                                   RH 20 to 90%
OPTIONS                                                           NETWORK                                                        • Atmospheric pressure: 700 to 1060 hPa
• Dual display with articulating arm                              • Wired Ethernet (10/100/1000 Mbps)
• Additional 45 Ah Lithium Iron battery                           • Integrated Wireless (option) (2.4 GHz and 5 GHz, 802.11
• MultiSite for SX20 Codec                                          a/b/g/n, WEP/WPA/WPA2, 802.11x LEAP, PEAP, TTLS, FAST)
• Lockable PC cabinet                                             • Will support client certificate loading in the future.
• Keyboard tray
• Retractable cable reels (power, Ethernet)                       POWER SHARING
                                                                  • Two IEC-C13 120VAC connections (third included in PC cabi-
                                                                    net option)
                                                                  • Four USB 3.0 (three in peripheral drawer)
                                                                  STORAGE
                                                                  • Lockable drawer (13”x 10”x5.25”)                             APPROVALS AND COMPLIANCE
                                                                  • Bin (13.25”x2.75”x2.75”)                                     • ANSI/AAMI 60601-1-3rd edition
                                                                  • Lockable PC cabinet (option) (13.25”x2.75”x2.75”)            • CAN/CSA-C22.2 No. 60601-1:2014
                                                                                                                                 • Compliance with FCC 47 CFR Part 15 Class A
                                                                  HEIGHT ADJUSTMENT                                              • FDA Class I Medical Device Data System (MDDS)
                                                                  • 10” (24.5cm)                                                 • Medical Device Directive EN 60601-1 Class I Equipment



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                         Exhibit K
                                                                                           Case 1:99-mc-09999 Document 1144-1 Filed 10/12/20 Page 213 of 300 PageID #: 115077
                                                                                                                                                                                                               TELEMEDICINE CART
    At a Glance                                                                                                                                                                                              American Well 760




                                                                 American Well 760
Save patients’ lives by providing
timely care in life-threatening
situations

The American Well 760 telemedicine cart is
an FDA Class I medical device designed to bring
remote specialists to support acute care teams
                                                                                                                              WHAT WE DO




                                                     TELEMEDICINE CART
on-site. The cart’s intuitive interface allows for                                             American Well is a leading telehealth platform in the United States and globally,
immediate use by medical teams in acute                                                        connecting and enabling providers, insurers, patients, and innovators to deliver
situations and its superior camera supports                                                                    greater access to more affordable, higher quality care.
the remote physician in quickly diagnosing
the patient and recommending a treatment.
                                                                                                American Well believes that digital care delivery will transform healthcare. The
                                                                                                Company offers a single, comprehensive platform to support all telehealth needs

THE 760 CART FEATURES:                                                                         from urgent to acute and post-acute care, as well as chronic care management and
                                                                                               healthy living. With over a decade of experience, American Well powers telehealth
     New Cisco Webex Codec Plus
                                                                                                solutions for over 130 health systems comprised of 2,000 hospitals and 55 health
     Easier controls with the Touch 10 panel
                                                                                                      plan partners with over 7,000 employers, covering over 150 million lives.
     Higher performance camera with 20x zoom

                                                                                                               For more information, please visit AmericanWell.com




                                                                                                                                                                                                American Well 760 Cart

                                                                                     (617) 204-3500                                                                      www.americanwell.com
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                                                                                                                                                                                                               TELEMEDICINE CART
    At a Glance                                                                                                                                                                                              American Well 760




                                                                 American Well 760
Save patients’ lives by providing
timely care in life-threatening
situations

The American Well 760 telemedicine cart is
an FDA Class I medical device designed to bring
remote specialists to support acute care teams
                                                                                                                              WHAT WE DO




                                                     TELEMEDICINE CART
on-site. The cart’s intuitive interface allows for                                             American Well is a leading telehealth platform in the United States and globally,
immediate use by medical teams in acute                                                        connecting and enabling providers, insurers, patients, and innovators to deliver
situations and its superior camera supports                                                                    greater access to more affordable, higher quality care.
the remote physician in quickly diagnosing
the patient and recommending a treatment.
                                                                                                American Well believes that digital care delivery will transform healthcare. The
                                                                                                Company offers a single, comprehensive platform to support all telehealth needs

THE 760 CART FEATURES:                                                                         from urgent to acute and post-acute care, as well as chronic care management and
                                                                                               healthy living. With over a decade of experience, American Well powers telehealth
     New Cisco Webex Codec Plus
                                                                                                solutions for over 130 health systems comprised of 2,000 hospitals and 55 health
     Easier controls with the Touch 10 panel
                                                                                                      plan partners with over 7,000 employers, covering over 150 million lives.
     Higher performance camera with 20x zoom

                                                                                                               For more information, please visit AmericanWell.com




                                                                                                                                                                                                American Well 760 Cart

                                                                                     (617) 204-3500                                                                      www.americanwell.com
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                                                                                                                                           TELEMEDICINE CART
    Extensions                              Features                                                                                    American Well 760
                                                                                                                                                                          Integrated 2nd Display with
                                                                                                                                                                          Articulating Arm (optional)

Grow your telehealth program –            SAFETY                                        VIDEO OUTPUTS
Launch new telehealth services by           FDA Class I Medical Device Data System          1 – HD (HDMI) Audio Input                                                                HD Camera
                                          		(MDDS)
adding new workflows to the device            ANSI/AAMI 60601-1-3rd edition                                                                       24” Display
                                                                                        AUDIO INPUT
at any time.                                  CAN/CSA-C22.2 No. 60601-1:2014               1 - Mic (integrated, 2 with 2nd display
                                             Compliance with FCC 47 CFR Part 15         		 option) 3 – 3.5 mm
                                          		 Class A
Designed around you – Run your
                                             Medical Device Directive EN 60601-1        AUDIO OUTPUT
telehealth programs on American           		 Class I Equipment
                                                                                            Downward Facing Integrated Speakers
Well’s telehealth platform or within                                                        1 – 3.5mm
an existing Cisco infrastructure.         DIMENSIONS
                                              70.5” (179 cm) Max. Height (adjustable)
                                                                                        NETWORK
                                              23” (58 cm) Width
                                                                                          Wired (10/100/1000 Mbps Gigabit
Superior experience for remote                27” (69 cm) Depth                         		Ethernet)                                                               Integrated WiFi
providers – Full control of the                                                            Integrated Wireless (2.4 GHz and 5 GHz,
camera and 20x zoom improve the           CODEC & CAMERA                                		 802.11 a/b/g/n, WEP/WPA/WPA2,
                                              Cisco Webex Codec Plus (CE9)              		 802.11x LEAP, PEAP, TTLS, FAST)
remote providers’ ability to diagnose
                                             Pan-tilt-zoom camera with far end
the patient with the same precision       		 camera control                             POWER
as in-person care.                           Precision 60 20x zoom camera                   45 Ah Lithium Iron battery provides 4 hrs                                 Height Adjust Handle
                                          		 Increased image clarity with f/2.8 lens      2nd 45 Ah Lithium Iron battery for 8 hr.
                                                                                        		(option)
Intuitive touchscreen interface                                                                                                                                    Antimicrobial Work Surface
                                          DISPLAY
– An improved touchscreen user               24” (61 cm) Edge-to-Edge Glass LCD         POWER SHARING
                                          		 Display (with integrated microphone*)
                                                                                                                                         Peripherals Drawer        Keyboard Tray (optional)
interface enables simple dialing                                                           2 – IEC-C13 120V AC connections
                                             (option) 2nd 24” (61 cm) Edge-to-Edge      		 (3rd with PC cabinet option)
and peripheral control.                   		 Glass LCD Display (with integrated             4 – USB 3.0 (3 in drawer)
                                          		microphone)                                                                                 PC Cabinet (optional)

Worry-free Fleet Monitoring –                                                           STORAGE
                                          CONTROL OPTIONS
                                                                                           Lockable drawer (13” x 10” x 5.25”)
Ensure your telehealth solution               Touch 10 panel                            		 (33 cm x 25.5 cm x 10.3 cm)
is up and running at all times by                                                          Bin (13.75” x 2.75” x 5”)
tracking the status of your devices,      VIDEO INPUTS                                  		 (34.9 cm x 7 cm x 12.7 cm)                                                  Cable Reel (optional)
                                              3 – HDMI (4 with PC cabinet option)          Lockable PC cabinet (option)
enabling auto-alerts and proactively                                                                                                      Lithium Iron Battery
                                              2 – SD (composite)                        		 (13” x 11.75” x 3.25”)
responding to support needs.                                                            		 (33 cm x 29.8 cm x 8.2 cm)                         with 4HR Charge
                                              4 – USB 3.0 (3 in drawer)                                                                  (optional 8hr Battery)
Remote device management                                                                                                                                             Hospital Grade Casters
service available to monitor
your carts 24/7/365.
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                                                                                                                                           TELEMEDICINE CART
    Extensions                              Features                                                                                    American Well 760
                                                                                                                                                                          Integrated 2nd Display with
                                                                                                                                                                          Articulating Arm (optional)

Grow your telehealth program –            SAFETY                                        VIDEO OUTPUTS
Launch new telehealth services by           FDA Class I Medical Device Data System          1 – HD (HDMI) Audio Input                                                                HD Camera
                                          		(MDDS)
adding new workflows to the device            ANSI/AAMI 60601-1-3rd edition                                                                       24” Display
                                                                                        AUDIO INPUT
at any time.                                  CAN/CSA-C22.2 No. 60601-1:2014               1 - Mic (integrated, 2 with 2nd display
                                             Compliance with FCC 47 CFR Part 15         		 option) 3 – 3.5 mm
                                          		 Class A
Designed around you – Run your
                                             Medical Device Directive EN 60601-1        AUDIO OUTPUT
telehealth programs on American           		 Class I Equipment
                                                                                            Downward Facing Integrated Speakers
Well’s telehealth platform or within                                                        1 – 3.5mm
an existing Cisco infrastructure.         DIMENSIONS
                                              70.5” (179 cm) Max. Height (adjustable)
                                                                                        NETWORK
                                              23” (58 cm) Width
                                                                                          Wired (10/100/1000 Mbps Gigabit
Superior experience for remote                27” (69 cm) Depth                         		Ethernet)                                                               Integrated WiFi
providers – Full control of the                                                            Integrated Wireless (2.4 GHz and 5 GHz,
camera and 20x zoom improve the           CODEC & CAMERA                                		 802.11 a/b/g/n, WEP/WPA/WPA2,
                                              Cisco Webex Codec Plus (CE9)              		 802.11x LEAP, PEAP, TTLS, FAST)
remote providers’ ability to diagnose
                                             Pan-tilt-zoom camera with far end
the patient with the same precision       		 camera control                             POWER
as in-person care.                           Precision 60 20x zoom camera                   45 Ah Lithium Iron battery provides 4 hrs                                 Height Adjust Handle
                                          		 Increased image clarity with f/2.8 lens      2nd 45 Ah Lithium Iron battery for 8 hr.
                                                                                        		(option)
Intuitive touchscreen interface                                                                                                                                    Antimicrobial Work Surface
                                          DISPLAY
– An improved touchscreen user               24” (61 cm) Edge-to-Edge Glass LCD         POWER SHARING
                                          		 Display (with integrated microphone*)
                                                                                                                                         Peripherals Drawer        Keyboard Tray (optional)
interface enables simple dialing                                                           2 – IEC-C13 120V AC connections
                                             (option) 2nd 24” (61 cm) Edge-to-Edge      		 (3rd with PC cabinet option)
and peripheral control.                   		 Glass LCD Display (with integrated             4 – USB 3.0 (3 in drawer)
                                          		microphone)                                                                                 PC Cabinet (optional)

Worry-free Fleet Monitoring –                                                           STORAGE
                                          CONTROL OPTIONS
                                                                                           Lockable drawer (13” x 10” x 5.25”)
Ensure your telehealth solution               Touch 10 panel                            		 (33 cm x 25.5 cm x 10.3 cm)
is up and running at all times by                                                          Bin (13.75” x 2.75” x 5”)
tracking the status of your devices,      VIDEO INPUTS                                  		 (34.9 cm x 7 cm x 12.7 cm)                                                  Cable Reel (optional)
                                              3 – HDMI (4 with PC cabinet option)          Lockable PC cabinet (option)
enabling auto-alerts and proactively                                                                                                      Lithium Iron Battery
                                              2 – SD (composite)                        		 (13” x 11.75” x 3.25”)
responding to support needs.                                                            		 (33 cm x 29.8 cm x 8.2 cm)                         with 4HR Charge
                                              4 – USB 3.0 (3 in drawer)                                                                  (optional 8hr Battery)
Remote device management                                                                                                                                             Hospital Grade Casters
service available to monitor
your carts 24/7/365.
                                        Case 1:99-mc-09999 Document 1144-1 Filed 10/12/20 Page 217 of 300 PageID #: 115081
                                                                                                                                           TELEMEDICINE CART
    Extensions                              Features                                                                                    American Well 760
                                                                                                                                                                          Integrated 2nd Display with
                                                                                                                                                                          Articulating Arm (optional)

Grow your telehealth program –            SAFETY                                        VIDEO OUTPUTS
Launch new telehealth services by           FDA Class I Medical Device Data System          1 – HD (HDMI) Audio Input                                                                HD Camera
                                          		(MDDS)
adding new workflows to the device            ANSI/AAMI 60601-1-3rd edition                                                                       24” Display
                                                                                        AUDIO INPUT
at any time.                                  CAN/CSA-C22.2 No. 60601-1:2014               1 - Mic (integrated, 2 with 2nd display
                                             Compliance with FCC 47 CFR Part 15         		 option) 3 – 3.5 mm
                                          		 Class A
Designed around you – Run your
                                             Medical Device Directive EN 60601-1        AUDIO OUTPUT
telehealth programs on American           		 Class I Equipment
                                                                                            Downward Facing Integrated Speakers
Well’s telehealth platform or within                                                        1 – 3.5mm
an existing Cisco infrastructure.         DIMENSIONS
                                              70.5” (179 cm) Max. Height (adjustable)
                                                                                        NETWORK
                                              23” (58 cm) Width
                                                                                          Wired (10/100/1000 Mbps Gigabit
Superior experience for remote                27” (69 cm) Depth                         		Ethernet)                                                               Integrated WiFi
providers – Full control of the                                                            Integrated Wireless (2.4 GHz and 5 GHz,
camera and 20x zoom improve the           CODEC & CAMERA                                		 802.11 a/b/g/n, WEP/WPA/WPA2,
                                              Cisco Webex Codec Plus (CE9)              		 802.11x LEAP, PEAP, TTLS, FAST)
remote providers’ ability to diagnose
                                             Pan-tilt-zoom camera with far end
the patient with the same precision       		 camera control                             POWER
as in-person care.                           Precision 60 20x zoom camera                   45 Ah Lithium Iron battery provides 4 hrs                                 Height Adjust Handle
                                          		 Increased image clarity with f/2.8 lens      2nd 45 Ah Lithium Iron battery for 8 hr.
                                                                                        		(option)
Intuitive touchscreen interface                                                                                                                                    Antimicrobial Work Surface
                                          DISPLAY
– An improved touchscreen user               24” (61 cm) Edge-to-Edge Glass LCD         POWER SHARING
                                          		 Display (with integrated microphone*)
                                                                                                                                         Peripherals Drawer        Keyboard Tray (optional)
interface enables simple dialing                                                           2 – IEC-C13 120V AC connections
                                             (option) 2nd 24” (61 cm) Edge-to-Edge      		 (3rd with PC cabinet option)
and peripheral control.                   		 Glass LCD Display (with integrated             4 – USB 3.0 (3 in drawer)
                                          		microphone)                                                                                 PC Cabinet (optional)

Worry-free Fleet Monitoring –                                                           STORAGE
                                          CONTROL OPTIONS
                                                                                           Lockable drawer (13” x 10” x 5.25”)
Ensure your telehealth solution               Touch 10 panel                            		 (33 cm x 25.5 cm x 10.3 cm)
is up and running at all times by                                                          Bin (13.75” x 2.75” x 5”)
tracking the status of your devices,      VIDEO INPUTS                                  		 (34.9 cm x 7 cm x 12.7 cm)                                                  Cable Reel (optional)
                                              3 – HDMI (4 with PC cabinet option)          Lockable PC cabinet (option)
enabling auto-alerts and proactively                                                                                                      Lithium Iron Battery
                                              2 – SD (composite)                        		 (13” x 11.75” x 3.25”)
responding to support needs.                                                            		 (33 cm x 29.8 cm x 8.2 cm)                         with 4HR Charge
                                              4 – USB 3.0 (3 in drawer)                                                                  (optional 8hr Battery)
Remote device management                                                                                                                                             Hospital Grade Casters
service available to monitor
your carts 24/7/365.
                                                                                           Case 1:99-mc-09999 Document 1144-1 Filed 10/12/20 Page 218 of 300 PageID #: 115082
                                                                                                                                                                                                               TELEMEDICINE CART
    At a Glance                                                                                                                                                                                              American Well 760




                                                                 American Well 760
Save patients’ lives by providing
timely care in life-threatening
situations

The American Well 760 telemedicine cart is
an FDA Class I medical device designed to bring
remote specialists to support acute care teams
                                                                                                                              WHAT WE DO




                                                     TELEMEDICINE CART
on-site. The cart’s intuitive interface allows for                                             American Well is a leading telehealth platform in the United States and globally,
immediate use by medical teams in acute                                                        connecting and enabling providers, insurers, patients, and innovators to deliver
situations and its superior camera supports                                                                    greater access to more affordable, higher quality care.
the remote physician in quickly diagnosing
the patient and recommending a treatment.
                                                                                                American Well believes that digital care delivery will transform healthcare. The
                                                                                                Company offers a single, comprehensive platform to support all telehealth needs

THE 760 CART FEATURES:                                                                         from urgent to acute and post-acute care, as well as chronic care management and
                                                                                               healthy living. With over a decade of experience, American Well powers telehealth
     New Cisco Webex Codec Plus
                                                                                                solutions for over 130 health systems comprised of 2,000 hospitals and 55 health
     Easier controls with the Touch 10 panel
                                                                                                      plan partners with over 7,000 employers, covering over 150 million lives.
     Higher performance camera with 20x zoom

                                                                                                               For more information, please visit AmericanWell.com




                                                                                                                                                                                                American Well 760 Cart

                                                                                     (617) 204-3500                                                                      www.americanwell.com
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                         Exhibit L
                                                                                                                        Case 1:99-mc-09999 Document 1144-1 Filed 10/12/20 Page 220 of 300 PageID #: 115084

                                                                                                                                                                                                                                                       TELEMEDICINE CART
                                                                                                                                                                                                                                                     American Well C250




                                                                                                                                                         WHAT WE DO
                                                                                                                            American Well is a leading telehealth platform in the United States and globally,
                                                                                                                            connecting and enabling providers, insurers, patients, and innovators to deliver
                                                                                                                                          greater access to more affordable, higher quality care.


SUPERIOR PROVIDER EXPERIENCE                                                                                                 American Well believes that digital care delivery will transform healthcare. The
This purpose-built cart comes pre-configured and will automatically display      Purpose-built operating system              Company offers a single, comprehensive platform to support all telehealth needs
your active workflows so you can get started right away. Providers can start     One-touch consult
                                                                                                                            from urgent to acute and post-acute care, as well as chronic care management and
a telehealth consult with one touch and peripheral images are seamlessly         Peripheral integration
integrated into the telehealth consult. Remote providers also benefit from                                                  healthy living. With over a decade of experience, American Well powers telehealth
                                                                                 20x zoom camera
having full control of the camera and 20x zoom to diagnose patients with the
same precision as in‑person care.
                                                                                 Remote camera control                       solutions for over 130 health systems comprised of 2,000 hospitals and 55 health
                                                                                                                               plan partners with over 7,000 employers – covering over 150 million lives.


EASY ACCESS TO THOUSANDS OF PROVIDERS                                                                                                     For more information, please visit AmericanWell.com
The American Well C250 cart connects you to not just your own providers, but     Your own providers
to thousands of cloud providers in the Online Care Group or through ecosystem    Online Care Group
partners in The Exchange. The American Well software will look for available     The Exchange
providers in the American Well provider network, dynamically route them to
                                                                                 Provider Service Organizations
the cart and only display available providers on the cart’s interface.
                                                                                                                                                                                                                           Thousands of Providers,
                                                                                                                                                                                                                           Unlimited Use Cases.
WORRY-FREE FLEET MONITORING                                                                                                                                                                                                All in One Cart.
Ensure your telehealth solution is up and running at all times by tracking the   Full system control
status of your devices, enabling auto-alerts and over-the-air updates, and       Seamless OTA updates
proactively responding to support needs. 24/7/365 management service is          Remote monitoring
available as an add‑on option.

                                                                                                                  (617) 204-3500                                                                    www.americanwell.com
                                                                                                                        Case 1:99-mc-09999 Document 1144-1 Filed 10/12/20 Page 221 of 300 PageID #: 115085

                                                                                                                                                                                                                                                       TELEMEDICINE CART
                                                                                                                                                                                                                                                     American Well C250




                                                                                                                                                         WHAT WE DO
                                                                                                                            American Well is a leading telehealth platform in the United States and globally,
                                                                                                                            connecting and enabling providers, insurers, patients, and innovators to deliver
                                                                                                                                          greater access to more affordable, higher quality care.


SUPERIOR PROVIDER EXPERIENCE                                                                                                 American Well believes that digital care delivery will transform healthcare. The
This purpose-built cart comes pre-configured and will automatically display      Purpose-built operating system              Company offers a single, comprehensive platform to support all telehealth needs
your active workflows so you can get started right away. Providers can start     One-touch consult
                                                                                                                            from urgent to acute and post-acute care, as well as chronic care management and
a telehealth consult with one touch and peripheral images are seamlessly         Peripheral integration
integrated into the telehealth consult. Remote providers also benefit from                                                  healthy living. With over a decade of experience, American Well powers telehealth
                                                                                 20x zoom camera
having full control of the camera and 20x zoom to diagnose patients with the
same precision as in‑person care.
                                                                                 Remote camera control                       solutions for over 130 health systems comprised of 2,000 hospitals and 55 health
                                                                                                                               plan partners with over 7,000 employers – covering over 150 million lives.


EASY ACCESS TO THOUSANDS OF PROVIDERS                                                                                                     For more information, please visit AmericanWell.com
The American Well C250 cart connects you to not just your own providers, but     Your own providers
to thousands of cloud providers in the Online Care Group or through ecosystem    Online Care Group
partners in The Exchange. The American Well software will look for available     The Exchange
providers in the American Well provider network, dynamically route them to
                                                                                 Provider Service Organizations
the cart and only display available providers on the cart’s interface.
                                                                                                                                                                                                                           Thousands of Providers,
                                                                                                                                                                                                                           Unlimited Use Cases.
WORRY-FREE FLEET MONITORING                                                                                                                                                                                                All in One Cart.
Ensure your telehealth solution is up and running at all times by tracking the   Full system control
status of your devices, enabling auto-alerts and over-the-air updates, and       Seamless OTA updates
proactively responding to support needs. 24/7/365 management service is          Remote monitoring
available as an add‑on option.

                                                                                                                  (617) 204-3500                                                                    www.americanwell.com
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                                                                                                                                                                          TELEMEDICINE CART
    At a Glance                                           Use Cases                                                                                                   American Well C250                                                         Locking Drawer/ 3 USB




The American Well C250 Telemedicine Cart is the           ED Triage                                                                                                     SAFETY
                                                                                                                                                                                                                                     PTZ Camera
                                                                                                                                                                           Registered with the US FDA as a Class I
first cart to connect you to the American Well provider   Divert select ED cases to onsite virtual visits on the C250 telemedicine cart and address increasing          		 Medical Device
network as well as to your own providers, giving you      patient volumes and patient wait times in the emergency department to improve efficiency. With just              Compliant with FDA 21 CFR 820 Quality
                                                                                                                                                                                                                               Integrated Camera
access to thousands of specialists on demand. This        one touch to start a virtual visit, the C250 simplifies ED staff connections to remote providers who can      		 System Requirements
                                                                                                                                                                           Certified to the IEC 60601-1 Electrical Safety
versatile cart supports every workflow, from patient      utilize tools like enhanced camera control and integrated peripherals to assess patients and enable a         		 Standard
triage to specialist consults, and is designed to help    quicker discharge of the patient.                                                                                Manufactured in ISO 13485:2016 certified              Touchscreen                                       USB & Audio Inputs

you scale your telehealth program.                                                                                                                                      		 production facility
                                                                                                                                                                           Certified to the FCC 47 CFR Part 15:Radiate
                                                                                                                                                                                                                            Amplified Speakers
                                                          Telestroke                                                                                                    		 Emissions

                                                          Utilizing the C250 cart for telestroke care allows providers to more quickly diagnose and treat stroke
BENEFITS                                                  patients. New cases can be created with one click to document vital information in the stroke intake
                                                                                                                                                                        DIMENSIONS                                                                                            Adjustable Pivot Mount
                                                                                                                                                                            72” (182.88cm) max. height (adjustable)
    Access to American Well’s provider network            form. The cart’s agility and small footprint make it a great solution for busy emergency departments,             19” (48.26cm) wide
                                                          allowing on-site staff the ability to move it quickly to where it is needed most. Enhanced camera control         21” (53.34cm) depth
    Start a telehealth consult with one touch
                                                          and 20x zoom enable the remote neurologist to examine the patient carefully and recommend the
                                                                                                                                                                        CAMERA
    Seamless integration of peripheral images             best treatment.
                                                                                                                                                                            Integrated or PTZ (optional)

  New 20x zoom camera and remote camera                                                                                                                                     10x or 20x zoom with PTZ option

		control                                                 Acute Behavioral Health
                                                                                                                                                                        DISPLAY                                                                                                      Cord Wrap
                                                          Increasing numbers of mental health patients presenting in the ED are driving demand for more efficient
    Fleet Monitoring                                                                                                                                                        13.3” Display
                                                          and flexible treatment solutions. The C250 telemedicine cart permits staff to bring in a psychiatrist            Control option: Touchscreen (optional                Height Adjust Handle
                                                          with one touch. The agile cart can be easily moved in and out of treatment rooms to ensure patient            		 USB keyboard)

                                                          safety. Leveraging American Well’s provider network through the C250, health systems can address
                                                                                                                                                                        INPUTS/OUTPUTS
                                                          psychiatrist shortages, ensure better treatment for patients in mental distress, and reduce lengths of
                                                                                                                                                                            4 - USB 2.0
                                                          stay.
                                                                                                                                                                            1 - USB 3.0
                                                                                                                                                                            1 - integrated microphone 3.5 mm

                                                          School Health
                                                                                                                                                                        NETWORK
                                                          Being able to access care in a school environment provides students and parents a convenient means of             Wired Ethernet
                                                          seeking care without missing school or work. The C250 telemedicine cart allows onsite staff to connect           Integrated wireless (2.4 GHz and 5 GHz,
                                                                                                                                                                        		 802.11 a/b/g/n/ac), WPA and WPA2,
                                                          to a board-certified provider in American Well’s provider network or to your own providers. The cart’s
                                                                                                                                                                        		 802.1X (PEAP)
                                                          user-friendly interface makes it easy to use, and the seamless integration of peripheral devices helps
                                                          with diagnosis of illnesses and the treatment of chronic diseases.                                            POWER
                                                                                                                                                                            Lithium Iron battery provides 3 hrs
                                                                                                                                                                                                                                                          Hospital Grade Casters

                                                                                                                                                                        STORAGE
                                                                                                                                                                            Lockable Drawer (7.5” x 11.5” x 2.25”)
                                                          Case 1:99-mc-09999 Document 1144-1 Filed 10/12/20 Page 223 of 300 PageID #: 115087

                                                                                                                                                                          TELEMEDICINE CART
    At a Glance                                           Use Cases                                                                                                   American Well C250                                                         Locking Drawer/ 3 USB




The American Well C250 Telemedicine Cart is the           ED Triage                                                                                                     SAFETY
                                                                                                                                                                                                                                     PTZ Camera
                                                                                                                                                                           Registered with the US FDA as a Class I
first cart to connect you to the American Well provider   Divert select ED cases to onsite virtual visits on the C250 telemedicine cart and address increasing          		 Medical Device
network as well as to your own providers, giving you      patient volumes and patient wait times in the emergency department to improve efficiency. With just              Compliant with FDA 21 CFR 820 Quality
                                                                                                                                                                                                                               Integrated Camera
access to thousands of specialists on demand. This        one touch to start a virtual visit, the C250 simplifies ED staff connections to remote providers who can      		 System Requirements
                                                                                                                                                                           Certified to the IEC 60601-1 Electrical Safety
versatile cart supports every workflow, from patient      utilize tools like enhanced camera control and integrated peripherals to assess patients and enable a         		 Standard
triage to specialist consults, and is designed to help    quicker discharge of the patient.                                                                                Manufactured in ISO 13485:2016 certified              Touchscreen                                       USB & Audio Inputs

you scale your telehealth program.                                                                                                                                      		 production facility
                                                                                                                                                                           Certified to the FCC 47 CFR Part 15:Radiate
                                                                                                                                                                                                                            Amplified Speakers
                                                          Telestroke                                                                                                    		 Emissions

                                                          Utilizing the C250 cart for telestroke care allows providers to more quickly diagnose and treat stroke
BENEFITS                                                  patients. New cases can be created with one click to document vital information in the stroke intake
                                                                                                                                                                        DIMENSIONS                                                                                            Adjustable Pivot Mount
                                                                                                                                                                            72” (182.88cm) max. height (adjustable)
    Access to American Well’s provider network            form. The cart’s agility and small footprint make it a great solution for busy emergency departments,             19” (48.26cm) wide
                                                          allowing on-site staff the ability to move it quickly to where it is needed most. Enhanced camera control         21” (53.34cm) depth
    Start a telehealth consult with one touch
                                                          and 20x zoom enable the remote neurologist to examine the patient carefully and recommend the
                                                                                                                                                                        CAMERA
    Seamless integration of peripheral images             best treatment.
                                                                                                                                                                            Integrated or PTZ (optional)

  New 20x zoom camera and remote camera                                                                                                                                     10x or 20x zoom with PTZ option

		control                                                 Acute Behavioral Health
                                                                                                                                                                        DISPLAY                                                                                                      Cord Wrap
                                                          Increasing numbers of mental health patients presenting in the ED are driving demand for more efficient
    Fleet Monitoring                                                                                                                                                        13.3” Display
                                                          and flexible treatment solutions. The C250 telemedicine cart permits staff to bring in a psychiatrist            Control option: Touchscreen (optional                Height Adjust Handle
                                                          with one touch. The agile cart can be easily moved in and out of treatment rooms to ensure patient            		 USB keyboard)

                                                          safety. Leveraging American Well’s provider network through the C250, health systems can address
                                                                                                                                                                        INPUTS/OUTPUTS
                                                          psychiatrist shortages, ensure better treatment for patients in mental distress, and reduce lengths of
                                                                                                                                                                            4 - USB 2.0
                                                          stay.
                                                                                                                                                                            1 - USB 3.0
                                                                                                                                                                            1 - integrated microphone 3.5 mm

                                                          School Health
                                                                                                                                                                        NETWORK
                                                          Being able to access care in a school environment provides students and parents a convenient means of             Wired Ethernet
                                                          seeking care without missing school or work. The C250 telemedicine cart allows onsite staff to connect           Integrated wireless (2.4 GHz and 5 GHz,
                                                                                                                                                                        		 802.11 a/b/g/n/ac), WPA and WPA2,
                                                          to a board-certified provider in American Well’s provider network or to your own providers. The cart’s
                                                                                                                                                                        		 802.1X (PEAP)
                                                          user-friendly interface makes it easy to use, and the seamless integration of peripheral devices helps
                                                          with diagnosis of illnesses and the treatment of chronic diseases.                                            POWER
                                                                                                                                                                            Lithium Iron battery provides 3 hrs
                                                                                                                                                                                                                                                          Hospital Grade Casters

                                                                                                                                                                        STORAGE
                                                                                                                                                                            Lockable Drawer (7.5” x 11.5” x 2.25”)
                                                          Case 1:99-mc-09999 Document 1144-1 Filed 10/12/20 Page 224 of 300 PageID #: 115088

                                                                                                                                                                          TELEMEDICINE CART
    At a Glance                                           Use Cases                                                                                                   American Well C250                                                         Locking Drawer/ 3 USB




The American Well C250 Telemedicine Cart is the           ED Triage                                                                                                     SAFETY
                                                                                                                                                                                                                                     PTZ Camera
                                                                                                                                                                           Registered with the US FDA as a Class I
first cart to connect you to the American Well provider   Divert select ED cases to onsite virtual visits on the C250 telemedicine cart and address increasing          		 Medical Device
network as well as to your own providers, giving you      patient volumes and patient wait times in the emergency department to improve efficiency. With just              Compliant with FDA 21 CFR 820 Quality
                                                                                                                                                                                                                               Integrated Camera
access to thousands of specialists on demand. This        one touch to start a virtual visit, the C250 simplifies ED staff connections to remote providers who can      		 System Requirements
                                                                                                                                                                           Certified to the IEC 60601-1 Electrical Safety
versatile cart supports every workflow, from patient      utilize tools like enhanced camera control and integrated peripherals to assess patients and enable a         		 Standard
triage to specialist consults, and is designed to help    quicker discharge of the patient.                                                                                Manufactured in ISO 13485:2016 certified              Touchscreen                                       USB & Audio Inputs

you scale your telehealth program.                                                                                                                                      		 production facility
                                                                                                                                                                           Certified to the FCC 47 CFR Part 15:Radiate
                                                                                                                                                                                                                            Amplified Speakers
                                                          Telestroke                                                                                                    		 Emissions

                                                          Utilizing the C250 cart for telestroke care allows providers to more quickly diagnose and treat stroke
BENEFITS                                                  patients. New cases can be created with one click to document vital information in the stroke intake
                                                                                                                                                                        DIMENSIONS                                                                                            Adjustable Pivot Mount
                                                                                                                                                                            72” (182.88cm) max. height (adjustable)
    Access to American Well’s provider network            form. The cart’s agility and small footprint make it a great solution for busy emergency departments,             19” (48.26cm) wide
                                                          allowing on-site staff the ability to move it quickly to where it is needed most. Enhanced camera control         21” (53.34cm) depth
    Start a telehealth consult with one touch
                                                          and 20x zoom enable the remote neurologist to examine the patient carefully and recommend the
                                                                                                                                                                        CAMERA
    Seamless integration of peripheral images             best treatment.
                                                                                                                                                                            Integrated or PTZ (optional)

  New 20x zoom camera and remote camera                                                                                                                                     10x or 20x zoom with PTZ option

		control                                                 Acute Behavioral Health
                                                                                                                                                                        DISPLAY                                                                                                      Cord Wrap
                                                          Increasing numbers of mental health patients presenting in the ED are driving demand for more efficient
    Fleet Monitoring                                                                                                                                                        13.3” Display
                                                          and flexible treatment solutions. The C250 telemedicine cart permits staff to bring in a psychiatrist            Control option: Touchscreen (optional                Height Adjust Handle
                                                          with one touch. The agile cart can be easily moved in and out of treatment rooms to ensure patient            		 USB keyboard)

                                                          safety. Leveraging American Well’s provider network through the C250, health systems can address
                                                                                                                                                                        INPUTS/OUTPUTS
                                                          psychiatrist shortages, ensure better treatment for patients in mental distress, and reduce lengths of
                                                                                                                                                                            4 - USB 2.0
                                                          stay.
                                                                                                                                                                            1 - USB 3.0
                                                                                                                                                                            1 - integrated microphone 3.5 mm

                                                          School Health
                                                                                                                                                                        NETWORK
                                                          Being able to access care in a school environment provides students and parents a convenient means of             Wired Ethernet
                                                          seeking care without missing school or work. The C250 telemedicine cart allows onsite staff to connect           Integrated wireless (2.4 GHz and 5 GHz,
                                                                                                                                                                        		 802.11 a/b/g/n/ac), WPA and WPA2,
                                                          to a board-certified provider in American Well’s provider network or to your own providers. The cart’s
                                                                                                                                                                        		 802.1X (PEAP)
                                                          user-friendly interface makes it easy to use, and the seamless integration of peripheral devices helps
                                                          with diagnosis of illnesses and the treatment of chronic diseases.                                            POWER
                                                                                                                                                                            Lithium Iron battery provides 3 hrs
                                                                                                                                                                                                                                                          Hospital Grade Casters

                                                                                                                                                                        STORAGE
                                                                                                                                                                            Lockable Drawer (7.5” x 11.5” x 2.25”)
                                                                                                                        Case 1:99-mc-09999 Document 1144-1 Filed 10/12/20 Page 225 of 300 PageID #: 115089

                                                                                                                                                                                                                                                       TELEMEDICINE CART
                                                                                                                                                                                                                                                     American Well C250




                                                                                                                                                         WHAT WE DO
                                                                                                                            American Well is a leading telehealth platform in the United States and globally,
                                                                                                                            connecting and enabling providers, insurers, patients, and innovators to deliver
                                                                                                                                          greater access to more affordable, higher quality care.


SUPERIOR PROVIDER EXPERIENCE                                                                                                 American Well believes that digital care delivery will transform healthcare. The
This purpose-built cart comes pre-configured and will automatically display      Purpose-built operating system              Company offers a single, comprehensive platform to support all telehealth needs
your active workflows so you can get started right away. Providers can start     One-touch consult
                                                                                                                            from urgent to acute and post-acute care, as well as chronic care management and
a telehealth consult with one touch and peripheral images are seamlessly         Peripheral integration
integrated into the telehealth consult. Remote providers also benefit from                                                  healthy living. With over a decade of experience, American Well powers telehealth
                                                                                 20x zoom camera
having full control of the camera and 20x zoom to diagnose patients with the
same precision as in‑person care.
                                                                                 Remote camera control                       solutions for over 130 health systems comprised of 2,000 hospitals and 55 health
                                                                                                                               plan partners with over 7,000 employers – covering over 150 million lives.


EASY ACCESS TO THOUSANDS OF PROVIDERS                                                                                                     For more information, please visit AmericanWell.com
The American Well C250 cart connects you to not just your own providers, but     Your own providers
to thousands of cloud providers in the Online Care Group or through ecosystem    Online Care Group
partners in The Exchange. The American Well software will look for available     The Exchange
providers in the American Well provider network, dynamically route them to
                                                                                 Provider Service Organizations
the cart and only display available providers on the cart’s interface.
                                                                                                                                                                                                                           Thousands of Providers,
                                                                                                                                                                                                                           Unlimited Use Cases.
WORRY-FREE FLEET MONITORING                                                                                                                                                                                                All in One Cart.
Ensure your telehealth solution is up and running at all times by tracking the   Full system control
status of your devices, enabling auto-alerts and over-the-air updates, and       Seamless OTA updates
proactively responding to support needs. 24/7/365 management service is          Remote monitoring
available as an add‑on option.

                                                                                                                  (617) 204-3500                                                                    www.americanwell.com
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                        Exhibit M
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                                     Horus Scope
                                             Series 3
                                       User Manual


                                              PMNL 160 Rev 0 9/19
                                             Copyright@2019 MiiS
                                             Inc. All right reserved.
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                       Preparations

    Before use
    Prior to installation and start-up of the Horus Scope, carefully read the user manual. As with all
    technical devices, the proper function and safety operation of this device depend on the user
    complying with the safety recommendations presented in these operating instructions. In
    addition, please make sure it does not appear damaged or broken. If there are breaks on the
    outer casing or other visual defects, please contact the manufacturer or a certified service facility.

        This device to be sold and distributed, and it should be used only by or on the order of a
        physician in hospital or Clinic.
        This instrument must not be used for the following patients:
          • Patients who are hypersensitive to light.
          • Patients who recently underwent photodynamic therapy (PDT).
          • Patients taking medication that causes photosensitivity.
          • Patients with a history of migraines.
          • Patients with a history of photosensitive epilepsy.
          • Patients with any kind of disease which could be induced by flash or strong light.

    Camera handling
    Protect the camera from excessive vibration, force, or pressure.
       Avoid using the camera under the following conditions, which may damage the lens, the
       monitor, or the control unit and may also cause the camera to malfunction or prevent
       recording:
         • Dropping or hitting the camera against a hard surface.
         • Exerting excessive force on the lens or the monitor.

    The camera is not dust resistant, splash resistant, or waterproof. Avoid using the camera in
    places with excessive dust or sand, or where water can come into contact with the camera.
        Avoid using the camera under the following conditions, which present the risk that sand,
        water, or foreign material entering the camera through the lens or gaps around buttons. Be
        especially careful because these condition may dam- age the camera, and such damage may
        not be repairable:
          • Operate in extremely dusty or sandy places
          • Exposing the camera to rain or moisture

    Condensation (when the lens or the monitor is fogged up)
       Condensation may occur when the camera is exposed to sudden changes of temperature or
       humidity. Avoid these conditions because they may soil the lens or the monitor, cause mold,
       or damage the camera.
       If condensation does occur, turn oﬀ the camera and wait for about two hours before using
       it. Once the camera adjusts to the surrounding temperature, the fogging will clear naturally.

    Safe eye screening
       While no acute optical radiation hazards have been identified with the camera, it is
       recommended that the intensity of light directed into the patient’s eye be limited to the
       minimum level necessary for diagnosis. Infants, aphakes, and persons with diseased eyes are

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       at greater risk. The risk may also be increased if the person being examined has had any
       exposure to the same instrument or any other ophthalmic instrument that uses a visible light
       source within the previous 24 hours. This will apply particularly if the eye has been exposed
       to retinal photography. The intended use of this device is for routine ophthalmic exams of
       typically less than 60 seconds per eye. While any medical procedure has its beneﬁt versus
       risk factor, more complicated exams should not exceed three minutes of exam time within
       24 hours. Signiﬁcant use of this device beyond its intended use is not recommended as it
       may cause harm to the eyes.
       During the operation of using the camera, please follow the below instructions.
          • Always use the camera or accessories in accordance with the directions and
            recommendations contained in this user manual.
          • When operating the device, please make sure that the optical lens does not touch the
            eyes or nose of the patient in order to avoid harm.
          • For illumination and photography with the camera, do not select an exposure higher
            than required. Do not shine light on the eye beyond the recommended time during
            examination. Otherwise, the examined eye may experience pain or be injured.

    No compensation for missed shots
       We cannot compensate for missed shots if technical problems with the camera or card
       prevent recording.

    Usage cautions and notes
    When in use
       The camera may become warm if used for long periods of time, but this is not its fault.
       Keep the camera as far away as possible from electromagnetic equipment (such as micro-
       wave ovens, TVs, video games, etc.).
       Do not use the camera near radio transmitters or high-voltage lines.
       Never leave the camera and the battery in a car or on a car hood in the summer. Doing so
       may cause leakage of the battery electrolyte, overheating, ﬁre, or a battery explosion due to
       the high temperature.
       If the fundus lens and control unit get wet, do not attempt to dry with a heater, microwave,
       autoclave, or UV light.
       Do not extend the supplied cables. Do not keep the power cord near any heat source.
       When the camera is not in use, please disconnect the power plug and keep it in a safe place.
       In any operating conditions, the camera can be returned to the photo mode is regarded as
       the normal state.
       The eye cannot be exposed to the illumination light of DOC 100S/300S, DDC 100/200 and
       DGC 100 at operation.

    Charging the battery
       The time required for charging varies depending on the conditions of battery usage. Charging
       takes longer at high or low temperatures and when the battery has not been used for some
       time.
       The battery will get warm during charging and for some time thereafter.
       The battery will be drained completely if not used for long periods of me, even after being
       charged.
       Only use Li-ion Battery 3.6V / Capacity 3350mAh which shall be provided by the
       manufacturer or distributors. The battery has designed the protection circuit. To ensure the

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         safety of the product operation, if the battery reaches its life time, please contact the
         manufacturer or distributor to buy the spare battery.
    NOTE
    The battery cannot be aﬀected by external force impact. Its appearance cannot be damaged.
    If the battery is broken or damaged by external force, DO NOT USE to avoid dangerous.

    Memory cards
      If you purchase diﬀerent memory capacity of memory card, must be preceded format to
      FAT32.
      To prevent damage to cards and data:
         • Avoid high temperatures, direct sunlight, electromagnetic ﬁelds, and static electricity.
         • Do not bend, drop, or expose to strong impacts.
         • Do not touch the terminals or allow them to become dirty or wet.
         • When operating this device, please do not remove or insert the memory card.
    When disposing of/transferring memory cards:
      If using the “format” or “delete” functions on your camera or computer, this only changes
      the ﬁle management information and does not completely delete the data from the memory
      card. When disposing of or transferring your memory cards, we recommend physically
      destroying them or using commercially available computer data erasing so ware to
      completely delete the data from the card. Data on memory cards should be managed
      responsibly.

    Accessories
    About the slit lamp jig:
       Attach the slit lamp jig only to slit lamp equipment that has been qualiﬁed by JEDMED.
       Make sure the jig is completely locked by pushing it downward.
       The slit lamp jig is only suitable for 39-7428.

    Protection
       Do not attempt to remove the cover from the product to prevent the product from
       malfunctioning.
       No modiﬁcation of this device is allowed. The performance would be subject to any
       modiﬁcation and may cause hazardous radiation exposure.

    EMC (electromagnetic compatibility)
    During installation and opera on of the device, observe the following instructions:
       Do not use the device simultaneously with other electronic equipment to avoid
       electromagnetic interference with the operation of the device.
       Do not use or stack the device near, on, or under other electronic equipment to avoid
       electromagnetic interference with the opera on of the device.
       Do not use the device in the same room as other electronic equipment, such as life-support
       equipment that has major eﬀects on the life of the patient and results of treatment, or any
       other measurement or treatment equipment that involves small electric current.
       Do not use the system with portable and mobile radio frequency communication systems
       because that may have an adverse eﬀect on the operation of the device.
       Do not use cables or accessories that are not speciﬁed for the device because that may
       increase the emission of electromagnetic waves from the device and decrease the immunity

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       of the device to electromagnetic disturbance.
       Do not touch the lens connecting pins of the control unit or the signal pad of the lenses
       without special precautions.

    Cleaning and Disinfection
    The device is a precision photo electronic instrument that shall be handled with speciﬁc care.
    Please note the following cleaning instructions:
        Turn oﬀ the device before cleaning it.
        Disinfect the control unit and charging station with CaviWipes and maintain 3~5 mins. Wait
        for the cleaning liquid to dissolve before turning the power on and connecting the charging
        station and USB cable to the control unit.
        It is recommended to clean the fundus lens with a CaviWipes that is commercial product and
        be manufactured by THORLABS Inc. (www.thorlabs.com).
        If a replacement for the eyecup or contact plate is needed, please contact the manufacturer
        or retailer. Clean the eyecup or contact plate before each use:
        Disinfect the eyecup or contact plate with CaviWipes
    NOTE
    The device is not intended to be sterilized. Disinfect the control unit and charging station with
    CaviWipes).

    Maintenance
       Please check control unit and optical lens once every 3 months.


             It is the health care provider to protect patient health information and to
             meet regulatory and HIPAA compliance. The images on 39-7420-3P may
             contain identifiable patient information and it is the responsibility of the
             health care provider to ensure that data safeguards are implemented to
             protect patient health information.
             Please note that the actual controls and components, menu items, and
             other information of your camera may diﬀer from those in the illustrations
             provided in these instructions.




    Operating Environment
    • Ambient temperature:            10°C to +35°C
    • Relative humidity:              30% to 90%
    • Atmospheric pressure:           800hPa to 1013hPa
    • Shock (without packing):        10G, duration 6ms

    Environment for Storage
    • Ambient temperature:            -10°C to +55°C
    • Relative humidity range:        10% to 95%
    • Atmospheric pressure:           700hPa to 1013hPa

    Environment for Transportation

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    • Ambient temperature:        -40°C to +70°C
    • Relative humidity range:    10% to 95%
    • Atmospheric pressure:       500hPa to 1013hPa
    • Vibration, sinusoidal:      10Hz to 500 Hz: 0.5G
    • Shock:                      30G, duration 6ms
    • Bump:                       10G, duration 6ms
    NOTE
    It is recommended to remove the battery if the device is stored over two weeks.

    Regulations
    • U.S. Federal law restricts this device to be sold and distributed, and it should be used only by
      or on the order of a physician in hospital.
    • This device has been tested and found to comply with the limits for medical devices to the IEC
      60601-1-2: 2014. These limits are designed to provide reasonable protection against harmful
      interference in a standard medical installation. If this device does cause harmful interference
      to other devices, which can be determined by turning the system oﬀ and on, the user is
      encouraged to try to correct the interference through one or more of the following measures:
      Reorient or relocate the receiving device.
           • Increase the separation between the system and other devices.
           • Connect the device to an outlet on a circuit diﬀerent from that to which the other
             device(s) are connected.
           • Consult the manufacturer or ﬁeld service technician for help.
    • The International Electro Technical Commission sets the essential requirements for electrical
      and electronic equipment that may disturb or be disturbed by other equipment. The device
      complies with these requirements as shown in the tables in “Symbols and standards: EMC”.
      Follow the guidance in the tables for use of the device in an electromagnetic environment.




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     Names of components
    Scope of Delivery


    Product Name                Model Name                        Accessories
    Control unit                39-7420-3P                        1. Battery
                                                                  2. Power adapter
                                                                  3. Mini USB cable 1.8m (Shield)
                                                                  4. Micro HDMI cable 2.0m (Shield)
                                                                  5. Charging station
                                                                  6. Memory card
                                                                  7. Portable chin rest (Optional)
                                                                  8. Image Management System,
                                                                      Model: SA 1 standalone (option)
                                                                  9. Image Management System,
                                                                      Model: SB 1 (free download)
    Digital Otoscope          39-7422-3P                          1. Specula (Disposable/Optional)
                              39-7422-1
    Digital eye fundus camera 39-7428                             1. Eyecup
    Digital Ophthalmoscope                                        2. Horus Portable Chin Rest
                                                                  3. Slit-Lamp Jig (Optional)

    Digital Anterior Scope      39-7431                           1. Forehead(Optional)
                                39-7433-3P


    Digital Dermatoscope        39-7424-2P                        1. Contact plate (Optional)
                                39-7424
    Digital Speculum            39-7426
    Horus Scope Adapter         Horus Scope Adapter                1. Coupler (Optional)



    Intended for use


             It is the health care provider to protect patient health information and
             to meet regulatory and HIPAA compliance. The images on 39-7420-3P
             may contain identifiable patient information and it is the responsibility
             of the health care provider to ensure that data safeguards are
             implemented to protect patient health information.




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     Product name                           Model Name

     Control unit                           39-7420-3P

     An interchangeable lens digital camera used to record digital photographs and video of
     human eye, human ears, human skin and human body.

     Digital Otoscope                       39-7422-3P
                                            39-7422-1

     A digital hand-held otoscope used to record digital photographs and video of the human
     ear's canal and tympanic membrane.

     Digital Eye Fundus Camera              39-7428


     A digital hand-held eye fundus camera used to record digital photographs and video of
     fundus (including retina, macula and optic disc) of the human eye and surrounding area.

     Digital Anterior Scope                 39-7431
                                            39-7433-3P


     A digital hand-held anterior scope used to record digital photographs and video of anterior
     area of the human eye and surrounding area.

     Digital Dermatoscope                   39-7424-2P
                                            39-7424

     A digital hand-held Dermatoscope used to record digital photographs and video of the
     human skin.

     Digital Speculum                       39-7426

     A digital hand-held camera used to record digital photographs and video of the human body
     and oral cavity.

     Horus Scope Adapter                    39-7420-3P

     An adapter designed to connect the control unit of MiiS Horus Scope DSC 300P and the
     existing endoscope in the market. The assembly system (control unit & MiiS Adapter &
     existing endoscope in the market) can be used to record digital photographs and video of
     the human body.




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    User interface

    Control Unit

      Top view ››


                                  Power button
                                  Lens locker




      Front view ››




                              3.5” LCD touch panel




                              Zoom button: zoom in/out in live view
                              OK button:
                              • Press down half or fully to take photo
                              • Back to photo/video mode while reviewing
                                photos
                              Brightness decrease/increase in photo mode


                              Power indicator




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     Bottom view ››




                                    Mini USB

                                    Pogo pad

                                    Micro HDMI
                                    Strap hook
     Rear view ››




                                    Lens assembling mark

                                    Cover glass and sensor
                                    Lens connecting pins




                                    Focus wheel



                                    Battery cover




                               Repair hole
                           Memory card slot




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    Charging Station




                Mini USB connector




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    Introduction of scopes
    Digital Otoscope
    39-7422-3P
         Structure




      Technical Description
          Focus Range                    7~20 mm (Typical)
           Dimension                     4.3 X 4.3 X 7 cm (Typical)
           Weight                        69 Grams (Typical)
           Camera / video light source   Natural White Light Emitting Diode (LED)



    39-7422-1
         Structure
                                                               Specula (Disposal)


                                                              Signal Pad


                                                               Contact Ring


                                                              Lens mark


                                                               Position Bar
      Technical Description
          Focus Range                    5~50 mm (Typical)
           Dimension                     4.3 X 4.3 X 7 cm (Typical)
           Weight                        69 Grams (Typical)
           Camera / video light source   Natural White Light Emitting Diode (LED)




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    Digital Eye Fundus Camera
    39-7428
      Structure




      Technical Description
           View Angle                   40 Degree (Typical)
           Diopter                      -20 ~ +20D (Typical)
           Dimension                    4.3 X 4.3 X 12.9cm (Typical)
           Weight                       141 Grams (Typical)
                                        Two modes, natural white Light Emitting Diode (LED)
           Search Fundus Lighting
                                        or infrared LED
           Camera / video flash light   Natural White Light Emitting Diode (LED)




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    MiiS Horus Scope DEA 100 (Digital Anterior Scope)
      Structure
                                                                  Lens Cover


                                                                  LED Switching Button


                                                                  Signal Pad


                                                                  Contact Ring

                                                                  Lens mark


                                                                  Position Bar


      Technical Description
                                             11 mm (V)*19.6 mm (H)*22.47 mm (Diagonal) @
           View Angle
                                             Working Distance 30 mm (Typical)
           Dimension                         4.3 X 4.3 X 4.5 cm (Typical)
           Weight                            91 Grams (Typical)
           Camera / video light source       Natural White/Blue Light Emitting Diode (LED)
                                             Switch to blue LED by the LED Switching Button to
           LED Switching Button
                                             take fluorescence image of cornea.


    Illumination Light Source for Eye anterior illumination system
       Structure
                                                                            ①                    ②
       ① Forehead stopper
       ② Locking structure
       ③ Battery groove
       ④ Slit light control knob
                                                          ⑦                                      ③
       ⑤ Auxiliary light position switch
       ⑥ Filter wheel
       ⑦ Auxiliary lighting                                       ⑥                          ④
       ⑧ Charge port                                                                     ⑤
       ⑨ Auxiliary light control knob
       ⑩ Silt wheel

                                         ⑧


                                             ⑨
                                                              ⑩


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                                      Power Indicator
                                      Fully charged: Green
                                      color
                                      Charging: Orange color




     NOTE
     If you connect the USB cable illuminator with a computer, please connect two USBs. If you
     use the power adapter to charge, just use one USB.

     Technical Description
         View Area                            25.02 mm (typ. ±5%)
         Working distance                     80mm
          Illumination Angle (degrees)        ± 45 degree (± 5%)
          Slit Length(mm)                     10 mm (± 10%)
          Min Slit Width (mm)                 <0.2 mm
          Max Slit Width (mm)                 Equal to slit length. (10mm)
          Slit Width Selection                <0.2, 0.2, 0.5, 2, 5, φ10 mm
          Filter                              Transparent, Cobalt Blue, Red-free (Green)
          Light                               Conform to Group II of ISO 15004-2:2007(E)
          Weight                              345g (typ. , include Forehead stopper)
          Dimension                           178mm x 160mm x 107mm
                                              Rechargeable Li-ion Battery 3.7V/800mAh
           Power source
                                              (2.96Wh)
           Operation time                     90 minutes for continuously use




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    Digital Anterior Scope
      Structure




      Technical Description
          View Area                       Wind End (H) 23.88*(V) 17.71 mm (typ. ±5%)
                                          Tele End (H) 11.88*(V) 8.91 mm (typ. ±5%)
           Working distance               80mm (Typical)
           Illumination Angle (degrees)   ± 45 degree (± 5%)
           Slit Length                    10mm (typ. ±10%)
           Slit Width Selection           <0.2, 0.2, 0.5, 2.0, φ10 mm
           Filter                         Transparent, Cobalt blue, Red-free (Green)
           Light                          Conform to group II of ISO 15004-2:2007
           Weight                         580 Grams (Typical)




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    MiiS Horus Scope DDC 200/ DDC 100 (Digital Dermatoscope)

    39-74247-2P
      Structure




      Technical Description
          View Angle                      20 mm diameters (Diagonal) (Typical)
          Dimension                       5.5 X 5.5 X 3.45 cm (Typical)
          Weight                          65 Grams (Typical)
          Camera / video light source     Natural White Light Emitting Diode (LED)
          Polarization function           Polarized light changed by the icon on screen


    39-7424
      Structure




      Technical Description
          View Angle                      10 mm diameters (Diagonal) (Typical)
          Dimension                       4.5 X 4.5 X 5.6 cm (Typical)
          Weight                          114 Grams (Typical)
          Camera / video light source     Natural White Light Emitting Diode (LED)
          Polarization function           Polarized light changed by the switch on lens


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    Digital Speculum
         Structure




      Technical Description
          View Angle                    88 Degree (Diagonal) (Typical)
          Dimension                     4.3 X 4.3 X 2.4 cm (Typical)
          Weight                        48 Grams (Typical)
          Camera / video light source   Natural White Light Emitting Diode (LED)




    Endoscope Adapter
      Structure




      Technical Description
          View Angle                    88 Degree (Diagonal) (Typical)
          Dimension                     4.3 X 4.3 X 2.4 cm (Typical)
          Weight                        48 Grams (Typical)
          Camera / video light source   Natural White Light Emitting Diode (LED)




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     Charging the battery
    Always charge before ﬁrst use
    Prior to ﬁrst use, insert the battery into the control unit and close the battery cover referred to
    the below section. Connect USB connector to the power adapter. Let the battery be charged
    for at least ﬁve hours.




                                                                                    Connect to a
                                                                                    power adapter




    Battery replacement
    Open the battery cover by digging out the gap in the bottom of battery cover with a ﬁnger or
    something pointed.
    • Tilt the battery cover and remove the battery cover by lifting it up.
    • Remove the original battery and replace a new battery along the correct direction.
    • Place the battery cover and secure it in place.




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     Power indicator




               Power indicator




     System Status                                                             Power on
                                 Blinking blue                                Blinking blue   Mixed blue
     Light color      No Light
                                     Light
                                               Orange Light     Blue Light
                                                                                  Light
                                                                                                 and
                                                                                              orange Light




                                                                                          Connect to PC
                                  Power less                  Normal opera-    Power less via USB cable
                                                 Charging
                                  than 25%                                     than 25% or enable USB
                                                                                            live video




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     Assembling
    Optical lens & control unit
  (Take digital otoscope as an example.)
      Step 1. ↘
      Align the marks of the optical lens and control unit.

         Mark on the optical lens
                                                                                           Mark




      Step 2. →
      Hold the optical lens and attach it to
      the control unit. Rotate and fasten the
      optical lens in a clockwise direction.
      You will hear a click when the lens locks
      into the control unit.

                                       Step 3. ←
                                      Turn on the power (→ 9). When
                                      optical lens and control unit are
                                      assembled correctly, the information
                                      icons will appear on the top of LCD touch
                                      panel. The screen will turn on, and then the blue light of the
                                      power indicator (→ 20) will also turn on.



                                      Step 4. →
                                      To unlock the optical lens,
                                      press the lens lock and then
                                      rotate the optical lens in a
                                      counterclockwise direction.
                                      Then the optical lens will be
                                      unfastened.




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    Forehead stopper assembly

    Structure of forehead Stopper
                                                                             Screw B
                 Rubber pad
                                            Screw A




                                       Shaft




                      Inner axis       Shaft circle hole     Forehead stopper hole


    Step 1: Rolling the inner axis and the shaft to find out forehead stopper hole.
                                    Shaft




                   Inner axis       Shaft circle hole      Forehead stopper hole


    Step 2: Tighten screw A in clockwise direction to forehead stopper hole.

                                       Screw A




    Step 3: Assemble rubber pad to the front end of inner axis.

                     Rubber pad




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    Step 4: Tighten screw B in clockwise direction to fix correction rod.




                                           screw B




   Holding position
   Hold the control unit with one hand and use the other hand to hold the lighting track. Maintain
   the lens at the same height of the eye being examined. To stabilize the lens, rest the track on the
   part of the hand between the thumb and index finger and put your middle and index fingers on
   the examinee’s forehead, as showed in the left image. Besides, using the accessory of forehead
   holder can replace the support on the examinee’s forehead, as the below right image.




   View the examined eye keeping the lens horizontal to the examined eye. Then move forward
   slowly until you can see the full exterior of eye in the controller screen. (For sanitary reasons, make
   sure the controller lens does not touch the patient’s eyes or nose.)




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    Assembly of Horus Scope Adapter
    Step 1: Rotate the Coupler in clockwise direction to connect the “Horus Scope Adapter” an
    “Coupler”, then connect the Endoscope and Coupler.

                 Adapter              Coupler           Endoscope




    Step 2: Follow the Assemble in P.19 to fasten the Horus Scope Adapter to the Control Unit.

                                                                          Marks on Control Unit
          Marks on Adapter




    Step 3: Connect light source with endoscope. Horus Scope Control unit & Adapter & Existing
    endoscope, coupler and light source in the market.

    Endoscope Coupler      Adapter Control unit    Endoscope      Coupler Adapter      Control unit




              Portable Light Source                          Desktop Light Source




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    Otoscope Specula Installation and Removal
    Step 1: Put the specula on the tip of otoscope lens.


                      Otoscope Lens      Specula




    Step 2: Rotate the specula tightly to otoscope lens in clockwise direction.




    Step 3: To remove the specula, rotate in counter-clockwise direction.




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    Derm Contact Plate Replacement
    Step 1: Hold the white portion of DDC 100 lens, and rotate to loosen the contact plate module
    in counter-clockwise direction.




    Step 2: Separate the white plastic parts, and use new one for replacement.




    Step 3: Put contact plate module in front of derm lens, rotate tightly in clockwise direction.




    NOTE
    Before replacement the contact plate, check the glass is clean. User can wipe clean with
    alcohol and dust-free paper whenever the glass is dirty or particle on it.




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    Derm Contact Plate Replacement
    Step 1: Hold the black portion of DDC 200 lens, and rotate to loosen the contact plate module in
    counter-clockwise direction.




    Step 2: Separate the black plastic parts, and use new one for replacement.




    Step 3: Put contact plate module in front of derm lens, rotate tightly in clockwise direction.




    NOTE
    Before replacement the contact plate, check the glass is clean. User can wipe clean with alcohol
    and dust-free paper whenever the glass is dirty or particle on it.




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     Using the setup mode
    Turn on the power
    To turn on the system, press the power button (→ 10) to turn on the control unit. Approximately
    one to two seconds later, the boot screen will appear on the LCD panel.




    Once the LCD panel shows the live image, it takes few seconds for the on-screen display (OSD)
    to be superimposed.
    Note:
    When below conditions occur, user needs to turn oﬀ the power and reassemble the optical lens
    and control unit.
    1. Optical lens isn’t correctly assembled to the control unit.
        When turning on the device, the device stays at boot screen and can’t enter to control
        interface.
    2. The black screen appears on the LCD panel during operation.
        Please check the optical lens is well-assembled to the control unit.

    A. Digital Otoscope
       Digital speculum
       Digital Anterior Scope
       Endoscope adapter

    Enter the Setup mode
    Using the [Setup] menu
     It is recommended that all setting items are set according to user’s requirements for ﬁrst time
     use.
    Bring up the [Setup] menu




    Exit the [Setup] menu
     Once a setting adjustment is made, the new value aﬀects the system immediately. Use the
     upper back button     or the OK button to exit the screen.

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    Settings
    [ILS mode]
      User can touch ILS icon to change to ILS mode when the device is assembled with illuminator.




     NOTE
     ILS mode only can be used when the device is assembled with illuminator.


    Auto White Balance
     Using the auto white balance function to remove unrealistic color casts.
     Aiming the endoscope lens at a white paper, the distance between lens and white paper is 3
     to 5cm, and then press “AWB” and choose “Yes”. The screen will show “calibrating” for 3
     seconds, and then the auto white balance is completed.




     NOTE
     Auto white balance only can be used when the device is assembled with adapter.


    [Standby]
      User can set standby mode to be on or off. Once the mode is on, the LCD panel will be turned
      off if the system is idle for three minutes. To touch the screen or press OK button to wake up
      the system.




                                                    30
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    [Date Setting]
      User can change the current date setting from the screen.




    [Time Setting]
      User can change the current time setting from the screen.




    [UVC]
      While connecting the device to a computer via USB cable, the product works as a USB storage
      device. If UVC mode is on, pictures can be shown both on the LCD panel of the product and the
      screen of the computer. To display image on the computer, please install webcam application
      prior to enabling UVC mode. A freeware webcam application (e.g., Horus UVC view, AMCap) is
      a software that can receive UVC signal on the computer. User can search for relevant
      information over the Internet.




            Free UVC viewer is available in any search engine.




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     [Format SD Card]
     User can format the memory card (SD card).




     NOTE
     All information will be deleted after memory card is formatted.

    [DICOM]
      Export image with or without DICOM format.




    [Factory Setting]
      User can recover the device to its factory settings.




    Wireless connection
    [Wi-Fi]
     User can turn on/off the Wi-Fi/Bluetooth.




     Note
     Wi-Fi and Bluetooth function will be turned on at the same time.

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    [Wi-Fi setting – Direct Mode]
     User can select “Direct mode” to connect 39-7420-3P with PC directly.




     Click “Change” icon to change the password.




    [Wi-Fi setting – AP Mode]
     User can select “AP mode” to connect to internet through an AP.




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    [Bluetooth setting]
      User can turn on the Bluetooth function and collect the data from specific vital sign devices.




     When the Bluetooth is on, the vital sign collection icon will be shown on menu. Click it to enter
     the collection page.




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    B. Digital Eye Fundus Camera
    Enter the Setup mode
    Using the [Setup] menu
     It is recommended that all setting items are set according to user’s requirements for ﬁrst time
     use.

    Bring up the [Setup] menu
     Touch the photo icon and then touch the setup icon.




    Exit the [Setup] menu
     Once a setting adjustment is made, the new value aﬀects the system immediately. Use the
     upper back button     or the OK button to exit the screen.

    Settings
    [Aiming Light/Capture Light]
      The default setting of [Aiming Light/Capture Light] is [IR/White LED]. In the setting, 39-7428
      employs IR illumination for alignment and focusing to assure patient comfort. With IR, the
      user observes fundus images monochromatically. At the moment of pressing the shutter
      button, the system will turn on the white LED instantly. Static images and motion
      pictures will be captured in full color.




     If the setting is [White LED/White LED], then the user observes images in full color and capture
     static images and motion pictures in full color.

    [IR brightness]
      The IR brightness has 5 levels; the default setting is level 3. The range is from 1 to 5.




                                                       35
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    [WHT brightness]
     The WHT brightness has 16 levels; the default setting is level 10. The range is from 0 to 15.




    [Standby]
      User can set standby mode to be on or off. Once the mode is on, the LCD panel will be turned
      off if the system is idle for three minutes. To touch the screen or press OK button to wake up
      the system.




    [Date Setting]
     User can change the current date setting from the screen.




    [Time Setting]
      User can change the current time setting from the screen.




                                                     36
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    [UVC]
     While connecting the device to a computer via USB cable, the product works as a USB storage
     device. If UVC mode is on, pictures can be shown both on the LCD panel of the product and the
     screen of the computer. To display image on the computer, please install webcam application
     prior to enabling UVC mode. A freeware webcam application (e.g., Horus UVC view, Amcap) is
     a software that can receive UVC signal on the computer. User can search for relevant
     information over the Internet.




              Free UVC viewer is available in any search engine.



    [Format SD Card]
      User can format the memory card (SD card).




     NOTE
     All information will be deleted after memory card is formatted.


    [DICOM]
      Export image with or without DICOM format.




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    [Factory Setting]
      User can recover the device to its factory settings.




    [Red Free Function]
      39-7428 allows digital red free images to be created directly from the information of the
      initial color image.
      You can turn on red free function in the menu as below.




     After turn on red free function, it will take more than 3 seconds to do image process after
     shooting. And there is a red free switch icon at the left-down corner of image. By press the icon
     to switch image into red free mode.




    Wireless connection
    [Wi-Fi]
     User can turn on/off the Wi-Fi/Bluetooth.




     Note
     Wi-Fi and Bluetooth function will be turned on at the same time.

                                                      38
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    [Wi-Fi setting – Direct Mode]
     User can select “Direct mode” to connect 39-7420-3P with PC directly.




     Click “Change” icon to change the password.




    [Wi-Fi setting – AP Mode]
     User can select “AP mode” to connect to internet through an AP.




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    [Bluetooth setting]
      User can turn on the Bluetooth function and collect the data from specific vital sign devices.




     When the Bluetooth is on, the vital sign collection icon will be shown on menu. Click it to enter
     the collection page.




                                                     40
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    Digital Anterior Scope
    Enter the Setup model
    Using the [Setup] menu
     It is recommended that all setting items are set according to user’s requirements for ﬁrst-
     time use.
    Bring up the [Setup] menu
     Touch the photo icon and then touch the setup icon.




    Exit the [Setup] menu
     Once a setting adjustment is made, the new value aﬀects the system immediately. Use the
     upper back button     or the OK button to exit the screen.

    Settings
    [Background Illumination]
     User can turn on/off and adjust brightness of the background illumination by icon in live
     view mode. The brightness levels are between 0B to 5B.




     [Exposure time/Color]
      User can adjust Exposure time/Color setting by touching the corresponding column
      1. Color adjusting range from 0 to 20. (Default: R:3, B:15)




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     2. Exposure time from 1/30” to 1/120”. (Default: 1/60”)




    [Standby]
     User can set standby mode to be on or off. Once the mode is on, the LCD panel will be turned
     off if the system is idle for three minutes. To touch the screen or press OK button to wake up
     the system.




    [Date Setting]
      User can change the current date setting from the screen.




    [Time Setting]
      User can change the current time setting from the screen.




                                                   42
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    [UVC]
      While connecting the device to a computer via USB cable, the product works as a USB storage
      device. If UVC mode is on, pictures can be shown both on the LCD panel of the product and the
      screen of the computer. To display image on the computer, please install webcam application
      prior to enabling UVC mode. A freeware webcam application (e.g., Horus UVC view, AMCap) is
      a software that can receive UVC signal on the computer. User can search for relevant
      information over the Internet.




             Free UVC viewer is available in any search engine.




    [Format SD Card]
      User can format the memory card (SD card).




     NOTE
     All information will be deleted after memory card is formatted.


    [DICOM]
     Export image with or without DICOM format.




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    [Factory Setting]
     User can recover the device to its factory settings.




    Wireless connection
    [Wi-Fi/Bluetooth]
     User can turn on/off the Wi-Fi/Bluetooth.




     Note
     Wi-Fi and Bluetooth function will be turned on at the same time.

    [Wi-Fi setting – Direct Mode]
     User can select “Direct mode” to connect DSC 300P with PC directly.




     Click “Change” icon to change the password.




                                                     44
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    [Wi-Fi setting – AP Mode]
     User can select “AP mode” to connect to internet through an AP.




    [Bluetooth setting]
      User can turn on the Bluetooth function and collect the data from specific vital sign devices.




     When the Bluetooth is on, the vital sign collection icon will be shown on menu. Click it to enter
     the collection page.




                                                     45
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    Digital Dermatoscope

    Choose the type of lens
     On the first-time use, User have to choose which lens is used in order to get the optimized
     settings in the [setup].




    Polarization (39-7424)
     User can use the polarization switch on lens to change the light mode.




    Polarization (DDC 200)
     User can turn on the polarization function (   ) to get polarized light, and view the dermis.




                                                    46
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    Color temperature adjustment (39-7424-2P)
     In 39-7424-2P, user can click the color temperature         or      ) to get warm or cold color
     icon ( temperature images.




    Enter the Setup model
    Using the [Setup] menu
     It is recommended that all setting items are set according to user’s requirements for ﬁrst-
     time use.
    Bring up the [Setup] menu
     Touch the photo icon and then touch the setup icon.




    Exit the [Setup] menu
     Once a setting adjustment is made, the new value aﬀects the system immediately. Use the
     upper back button     or the OK button to exit the screen.

    Settings
    [Standby]
     User can set standby mode to be on or off. Once the mode is on, the LCD panel will be turned
     off if the system is idle for three minutes. To touch the screen or press OK button to wake up
     the system.




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    [Date Setting]
      User can change the current date setting from the screen.




    [Time Setting]
      User can change the current time setting from the screen.




    [UVC]
     While connecting the device to a computer via USB cable, the product works as a USB storage
     device. If UVC mode is on, pictures can be shown both on the LCD panel of the product and the
     screen of the computer. To display image on the computer, please install webcam application
     prior to enabling UVC mode. A freeware webcam application (e.g., Horus UVC view, AMCap) is
     a software that can receive UVC signal on the computer. User can search for relevant
     information over the Internet.




               Free UVC viewer is available in any search engine.




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    [Format SD card]
     User can format the memory card (SD card).




     NOTE
     All information will be deleted after memory card is formatted.

    [DICOM]
     Export image with or without DICOM format.




    [Factory Setting]
     User can recover the device to its factory settings.




    Wireless connection
    [Wi-Fi/Bluetooth]
     User can turn on/off the Wi-Fi/Bluetooth.




     Note
     Wi-Fi and Bluetooth function will be turned on at the same time.

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    [Wi-Fi setting – Direct Mode]
     User can select “Direct mode” to connect 39-7420-3P with PC directly.




     Click “Change” icon to change the password.




    [Wi-Fi setting – AP Mode]
     User can select “AP mode” to connect to internet through an AP.




                                                   50
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    [Bluetooth setting]
      User can turn on the Bluetooth function and collect the data from specific vital sign devices.




     When the Bluetooth is on, the vital sign collection icon will be shown on menu. Click it to enter the
     collection page.




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     Entering the patient ID
   Using patient ID as partial file name is supported in 39-7420-3P.

   Create a new patient ID from scratch (DICOM off)
      By gently pressing the OK button, the user always goes back to a shooting mode, either photo
      or video mode; from the top information icons, tap          to start the process.




   Create a new patient ID from scratch (DICOM on)
      By gently pressing the OK button, the user always goes back to a shooting mode, either photo
      or video mode; from the top information icons, tap           to start the process.
      NOTE
      1. All of the information are necessary to finish this step.
      2. Please note that the device could only record with 1 patient information.




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   Create a new patient ID on an existing one
      After a patient ID is set, the user can quickly create a new patient ID that is based on the existing
      ID plus 1 e.g., ABCDE12345 → ABCDE12346.




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   Meaning of each symbol:

     Symbol           Refer to
     OL               Left ear photo taken by the otoscope
     OR               Right ear photo taken by the otoscope
     EL               Left eye photo taken by the eye fundus camera
     ER               Right eye photo taken by the eye fundus camera
     AL               Left eye photo taken by the eye anterior camera
     AR               Right eye photo taken by the eye anterior camera
     DM               Epidermis photo taken
     DP               Dermis photo taken
     GI               Photo taken by general lens
     EN               Photo taken by Adapter
     HH               Hour
     MM               Minute
     SS               Second
     XXXXX            Patient ID, up to 20 characters

   Example:




   The image name is explained as follows:
   EL: Left eye photo taken by the eye fundus camera; hour: 16, minute: 14, and second: 31.
   If the given patient number is ABCD12345, the image mane would be written as
   ELABCD12345161431.jpg




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                     Taking pictures

    Sequence of operations
    Step 1: Turn on the power
    Press the power button to turn on the control unit. Approximately one to two seconds later, the
    boot screen will appear on the LCD panel. After about 15 seconds, the information icons will
    appear on the top of the LCD panel.
    Step 2: Make sure memory card is inserted
    Once the memory card has been inserted, the user can start to take photographs in any shooting
    mode, either photo or video mode.
    Step 3: Choose a shooting mode
    Tap the photo or the video mode icon to enter a shooting mode.




    Step 4: Mark left /right (DOC 300S, DOC 100S, DEC 100, EEC 100, DEA 100(with ILS 100), DEA 200P)
    By doing so, the user can tell whether a photo/video is left ear/eye or right ear/eye of examinee
    record from its ﬁle name.




    Step 5: Aim and preview
    Position the camera correctly and adjust to appropriate settings to get a clear preview. The image
    brightness can only be changed in photo mode. And using the focus wheel to adjust focus
    manually.
    Step 6: Press the OK button to shoot.




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     Photo mode
    The device’s default setting is “photo mode.” User can take a picture or video in “photo mode”
    or “video mode,” respectively.

    Photo mode:
    Using focus wheel to adjust focus manually, and then press down OK button to take picture.
    When a picture is just taken, the screen shows the result image in auto review mode. To leave
    auto review, gently press the OK button.
    To adjust the magnification in live view, user can press the zoom adjustment button, to change
    the magnification from 1 to 4 times.
    To adjust the brightness of the image, user can press the brightness adjustment button of the
    control unit. The higher value you set, the brighter image you get. Image brightness adjustment
    range:




    Reference brightness table for 39-7428:
                                      Aiming light (IR)            Capturing light
      Light Skin Blond                         1B                        3-5B
      Light Skin Brunette                      3B                       8-10B
      Dark Skin                                5B                      12-14B
     The default setting of aiming light (IR) is 3, and Capture light is 10
     NOTE
     When taking pictures, please do not remove or insert the memory card and delete pictures,
     otherwise the system will be abnormal.




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     Video mode
    Video mode: Completely press the OK button to start recording. Press again to end recording.
    For 39-7428, the default setting in video mode of “Aiming Light/Capture Light” is “White/
    White LED.” During the video shooting, user can press “the brightness adjustment key +” to
    enhance the white LED for two seconds. It helps capture brighter motion pictures within a
    video.




    NOTE
    When recording videos, please do not remove or insert the memory card and delete pictures,
    otherwise the system will be abnormal.




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     Examination conditions of 39-7428
    Examination conditions
    After the optical lens is attached to the control unit and setup is complete, the user can start
    taking images. Approaches for taking the image of human eye fundus are as follows:

          • Have the examinee stay in <5 lux dark room; in such an environment, a newspaper is
            nearly impossible to see. Remove the patient’s glasses. Make sure that the eye’s pupil
            has a diameter larger than 4mm, or be sure to suﬃciently dilate in advance.

    Eye Cup Installation
    Step 1: Put the eye cup on the front of optical lens.
    Step 2: If you want to change the direction of mask wing, one hand holds the lens, the other
    hand rotates mask to the direction you wanted. The idea is using the mask wing

     Step.1                                          Step.2



              Optical lens


                                                                                   Mask wing


                                      Eye cup




    Holding position
    Holding the control unit with one hand and use the other hand to hold the front side of the lens.
    Maintain the lens at the same height of the eye being examined. To stabilize the lens, rest the
    lens on the part of the hand between the thumb and index ﬁnger and put your middle and index
    ﬁngers on the examinee’s forehead, as showed in the following image.




    View the examined eye keeping the lens horizontal to the examined eye. Then move forward
    slowly until you can see the optic disk in the controller screen. (For sanitary reasons, make sure
    the controller lens does not touch the patient’s eyes or nose.)




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    Q&A troubleshooting of 39-7428

    A good image should have two characteristics:
                                                                                      Optic disc
            1. Positions
               The macula and the optic disc are                                      Macula
               horizontally aligned in the middle.
            2. High contrast
               The macula, optic disc, and vessels are
               all clear.
                                                                                      Vessels


    If the above characteristics can’t be found in the shot, possible failures might be the following:
                                       2. White hot spot on the top 3. Dark shadow on the top
            1. Small fundus image                                            of the image
                                               of the image




       The lens is too far away from The lens is too close to the     The lens is much lower than
           the examinee's eye.            examinee's eye.                    the visual axis.
       4.     Dark shadow on the         5. Line or spot within the   6. Blue or white shadow on
              bottom of the image                   view                  the bottom of image




       The lens is much higher than      Eyelashes are in the light        Cornea reﬂection
              the visual axis.                    path.




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                        Playback

    Display mode
    Touch the photo icon and then the display icon to see the photos that have been taken.


        Display mode:




    Click the left or right arrow symbol to go to the previous or next photo, respectively. Click
    the up or down arrow symbol to backward or forward in days. Click zoom in icon and using
    two fingers to zoom in and out with pinching. Tap Zoom icon again to return the original
    scale. Click delete icon to delete photos.

    The device does not support the video ﬁle display on the control unit. Please download the
    video ﬁle (.avi) to the computer to watch.


    Enlarged viewing
    Click zoom in icon        and using two fingers to zoom in and out with pinching. Tap Zoom
    icon again to return the original scale.




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    Deleting pictures
    Tap the delete icon      to delete the image. By using the delete functions on your camera, this
    only changes the ﬁle management information and does not completely delete the data from
    the memory card. When disposing of or transferring your memory cards, we recommend
    physically destroying them or using commercially available computer data erasing software to
    completely delete the data from the card.




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                      Miscellaneous
    Files transferring
    Transfer images to an electronic device (e.g., personal computer, laptop, or mobile phone) via
    the USB cable or memory card.


          It is the health care provider to protect patient health information and
          to meet regulatory and HIPAA compliance. The images on 39-7420-3P
          may contain identifiable patient information and it is the responsibility
          of the health care provider to ensure that data safeguards are
          implemented to protect patient health information.



    Viewing on a computer/laptop screen
    Turn on UVC mode to simultaneously view images both on LCD panel and the computer/
    laptop screen.


    Viewing on a TV screen
    Connect the camera and a TV through the Micro HDMI cable, you can simultaneously view live
    images on both sides.



    UVC and HDMI
    Photo mode:
    When UVC was on and connected with the USB cable, HDMI will be turned off.

    Video mode:
    UVC and HDMI always be off.

    Preview and playback mode:
    When UVC was on and connected with the USB cable, HDMI will be turned off.




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     Technical description

    MiiS Horus Scope DSC 300P, control unit:
      Focus                          Manual focus
      Picture Resolution             2560 x 1920 pixels
      Video Resolution               2560 x 1920 pixels
      LCD Monitor                    3.5” TFT LCD
      Image Format                   JPEG (Photograph) and H.264 (Video)
      Interface                      Mini USB, Micro HDMI
      File Transfer                  Mini USB Port to PC with USB cable 1.8m (Shield)
                                     HDMI output with A-D HDMI cable 2.0m (Shield)
      Dynamic Video Output
                                     USB live video enable from USB port with USB cable 1.8m
      File Storage                   Memory card, Supports 2GB to 32GB by FAT32 Format.
      Dimension                      (L)202.5±5% x (W)89 ±5% x (H)79 ±5% mm
      Weight                         275±5% grams
      Power Source                   Rechargeable Lithium Battery 3.6V / Capacity 3350mAh
      External Power                 Source: 100~240 VAC, 50/60 Hz
                                     Input Spec.: 100-240Vac, 0.6-0.3A, 50-60Hz;
      Power Adapter Spec.
                                     Output Spec.: 5V DC, 1.2A
      Charging station Input Spec.   5V DC, 1.2 A
                                     Standby mode: 6 hours
      Operating Time
                                     Operating mode: 1.5~4.5 hours (Depend on optical lens used)
      Charging Time                  6 hours by DSC 300P
      Expected service life          5 years from the date of initial operation
      (deﬁned by manufacturer)       *Proper maintenance is necessary.

    Series 3 (Digital Otoscope)
    • Focus Range：7~20mm (Typical)
    • Dimension：4.3*4.3*7cm (Typical)
    • Weight：69grams (Typical)
    • Camera / video light source：Natural white light-emitting diode (LED)

    Series 1 (Digital Otoscope)
    • Focus Range：5~50mm (Typical)
    • Dimension：4.3*4.3*7cm (Typical)
    • Weight：69grams (Typical)
    • Camera / video light source：Natural white light-emitting diode (LED)



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    Digital Eye Fundus Camera
    • View Angle：40 degree (Typical)
    • Diopter：-20 ~ +20D (Typical)
    • Dimension：4.3*4.3*12.9cm (Typical)
    • Weight：141grams (Typical)
    • Search Fundus Lighting：Natural white light-emitting diode (LED) or infrared LED
    • Camera / video flash light：Natural white light-emitting diode (LED)

    Digital eye anterior camera
    • View Area：Wind End (H) 23.88*(V) 17.71mm (typ.±5%)
                    Tele End (H) 11.88*(V) 8.91mm (typ.±5%)
    • Working Distance：80mm (Typical)
    • Illumination Angle：±45 degree (typ.±5%)
    • Slit Length：10mm (typ.±10%)
    • Slit Width：0.2~10mm
    • Slit Width Selection：≤0.2, 0.2, 0.5, 2.0, 5.0, Φ10mm
    • Filter：Transparent, Cobalt blue, Red-free (Green)
    • Light：Conform to group II of ISO 15004-2:2007
    • Weight：580grams (Typical)

    Digital Anterior Scope
    • View Angle：11 (V)*19.6 (H)*22.47mm (Diagonal) @Working Distance 30 mm (Typical)
    • Dimension：4.3*4.3*4.5cm (Typical)
    • Weight：48grams (Typical)
    • Camera / video light source：Natural white light-emitting diode (LED)
    • LED Switching Button：Switch to blue LED by the LED Switching Button to take fluorescence
       image of cornea.

    Illumination Light Source
     • View Area：25.02mm (Typical)
     • Working distance：80mm
     • Weight：38grams (Typical)
     • Illumination Angle (degrees)：± 45 degree (Typical)
     • Slit Length (mm)：10mm (Typical)
     • Min Slit Width (mm)：<0.2 mm




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    •   Max Slit Width (mm)：Equal to slit length (10mm)
    •   Slit Width Selection：<0.2, 0.2, 0.5, 2, 5, φ10mm
    •   Filter：Transparent, Cobalt Blue, Red-free (Green)
    •   Light：Conform to Group II of ISO 15004-2:2007(E)
    •   Weight：345g (typ., include forehead stopper)
    •   Dimension：178*160*107mm
    •   Power source：Rechargeable Li-ion Battery 3.7V/800mAh (2.96Wh)
    •   Operation time：90 minutes for continuously use

    Series 2 (Digital Dermatoscope)
    • View Angle：20mm diameters (Diagonal) (Typical)
    • Dimension：5.5*5.5*3.45cm (Typical)
    • Weight：65grams (Typical)
    • Camera / video light source：Natural white light-emitting diode (LED)
    • Polarization function：Polarized light changed by the icon on touch screen

    Series 1 (Digital Dermatoscope)
    • View Angle：10mm diameters (Diagonal) (Typical)
    • Dimension：4.5*4.5*5.6cm (Typical)
    • Weight：114grams (Typical)
    • Camera / video light source：Natural white light-emitting diode (LED)
    • Polarization function：Polarized light changed by the switch on lens

    Digital Speculum
    • View Angle：88 degree (Diagonal) (Typical)
    • Dimension：4.3*4.3*2.4cm (Typical)
    • Weight：48grams (Typical)
    • Camera / video light source：Natural white light-emitting diode (LED)

    Horus Scope Adapter, Endoscope adapter
    • Dimension：5.0*5.0*1.8cm (Typical)
    • Weight：38grams (Typical)




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     Liability
    Manufacturer considers itself responsible for the eﬀects on safety, reliability, and performance
    of the device only if
         • Assembly operations, extensions, readjustments, modiﬁcations or repairs are carried
            out by persons authorized.
         • The electrical installation of the relevant room complies with the requirements.
         • The equipment is used in accordance with these instructions for use.

    Disposition
       Follow the local governing ordinances and recycling plans regarding disposal or recycling of
       device components, especially when disposing of the lithium ion battery, circuit board,
       plastic parts that contain brominated ﬂame retardant, LCD, or power cord.
       Follow the local governing ordinances and recycling plans when disposing of the circuit board
       with the lithium battery. Inappropriate disposal may contaminate the environment.
       When disposing of packing materials, sort them by material and follow local ordinances and
       recycling regulations.
       Inappropriate disposal may contaminate the environment.
       When disposing of eyecup, follow the disposal procedures for medical waste such as needles,
       infusion tubes, and metal instruments for surgery as speciﬁed by your medical facility to
       avoid infection outside the facility and environmental pollution.




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     Symbols and standards
    Symbols

                   CAUTION
                   The caution statements in this manual identify conditions or
                   practices that could result in damage to the equipment or other
                   property, or loss of data.

                   Type BF-Indicates this is a product with Type BF applied parts.
                   The device is complying with IEC 60601-1:2005.

                   Operating Instructions for Use.


                   Mandatory - Consult Directions for Use


                   Manufacturer


                   Date of Manufacture


                   CE-mark
              or   Note: Minimum height of CE is 5mm.


                   Non-ionizing electromagnetic radiation

                   The identification number assigned by
                   the Federal Communication Commission
                   2AFB3M-DSC300

                   Certification for Taiwan
                   NCC ID: CCAJ19LP7630T2

                   HDMI (High Definition Multimedia Interface)
                   Confirmation Number: ST-19-039

                   European Authorized Representative


                   Catalogue Number


                   Global Trade Item Number



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                  Lot number


                  Serial Number


                  GS1 Data Matrix


                  Medical Prescription only


                  Direct current


                  Recycling lithium-ion batteries


                  Specific Battery Recycling


                  Disposal of      noncontaminated    electrical   and   electronic
                  equipment

                  This product had an internal rechargeable battery with a Class II
                  power supply.




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    Standards
    Electrical safety                          IEC 60601-1:2005+A1:2012 (EN 60601-
                                               1:2006+A1:2013)
    EMC and regulatory compliance              IEC 60601-1-2:2014
                                               (EN 60601-1-2:2015)
    Ophthalmic instruments-Fundamental         ISO 15004-2:2007
    requirements and test methods Part 2:
    Light hazard protection
    Ophthalmic instruments - Fundamental
    requirements and test methods - Part 1:    ISO 15004-1:2006
    General requirements applica-
    ble to all ophthalmic instruments
    General radio compliance                   Federal Communications Commission (FCC)
                                               Innovation, Science and Economic
                                               Development Canada’s (ISED)
                                               National Communications Commission (NCC)
       • Equipment connected to the analog or digital interfaces must be certified according to the
         representative appropriate national standards (such as EN 60601-1 and IEC 60601-1).
         Furthermore, all conﬁgurations shall comply with the system standard IEC 60601-1.
         Anyone who connects additional equipment to the signal input part or signal output-part
         conﬁgures a medical system and is therefore responsible for the system complying with
         the requirements of the system standard IEC 60601-1. If in doubt, consult the technical
         service department of your local representative.


    IC
    Innovation, Science and Economic Development Canada
    This device complies with Industry Canada licence-exempt RSS standard(s).
    Operation is subject to the following two conditions:
    (1) this device may not cause interference, and
    (2) this device must accept any interference, including interference that may cause undesired
    operation of the device.
    Innovation, Sciences et Développement économique Canada
    Le présent appareil est conforme aux CNR d’Industrie Canada applicables aux appareils radio
    exempts de licence. L’exploitation est autorisée aux deux conditions suivantes:
    (1) l’appareil ne doit pas produire de brouillage, et
    (2) l’appareil doit accepter tout brouillage radioélectrique subi, même si le brouillage est
    susceptible d’en compromettre le fonctionnement.


    NCC
    第十二條
    經型式認證合格之低功率射頻電機，非經許可，公司、商號或使用者均不得擅自變更頻率、加大功率
    或變更原設計之特性及功能。

    第十四條
    低功率射頻電機之使用不得影響飛航安全及干擾合法通信；經發現有干擾現象時，應立即停用，並改
    善至無干擾時方得繼續使用。
    前項合法通信，指依電信法規定作業之無線電通信。
    低功率射頻電機須忍受合法通信或工業、科學及醫療用電波輻射性電機設備之干擾。


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    SAR
    The device is designed and tested to meet the applicable limits for radio frequency (RF)
    exposure established by the Federal Communications Commission (U.S.A.) Specific
    Absorption Rate; (SAR) refers to the rate at which the body absorbs RF energy.
    The minimum allowable SAR distance is 5 mm, and the maximum allowable SAR limit is 4.0 W/kg,
    averaged over 10 gram of tissue for the device. The following SAR values were measured during
    product certification, 1.060 W/kg with a (0mm gap) a value well below the maximum allowable
    limit of 4.0 W/kg.
    L’appareil est conçu et testé pour respecter les limites applicables aux fréquences radio (RF)
    exposition établie par la Federal Communications Commission (États-Unis).
    Taux d'absorption; (SAR) fait référence à la vitesse à laquelle le corps absorbe de l'énergie RF.
    La distance DAS minimale autorisée est de 5 mm et la limite DAS maximale admissible est de 4,0
    W / kg, avec une moyenne de 10 grammes de tissu pour le périphérique. Les valeurs de DAS
    suivantes ont été mesurées lors de la certification du produit, à 1,060 W / kg avec un (écart de
    0 mm), une valeur bien inférieure à la limite maximale autorisée de 4,0 W / kg.


    EMC (Electromagnetic Compatibility)
    The device complies with the International Electrotechnical Commission standards (IEC 60601-
    1-2: 2014) for electromagnetic compatibility as listed in the tables below. Follow the guidance
    in the tables for use of the device in a Professional Healthcare Environment.

    EMC (IEC 60601-1-2: 2014)
                           Guidance and manufacturer's declaration - electromagnetic emissions
     The device is intended for use in the electromagnetic environment specified below. The customer or the user of
     the device should assure that it is used in such an environment.
         Emissions Test             Compliance                     Electromagnetic environment - guidance

                                                        The device uses RF energy only for its internal function. Therefore,
      RF emissions CISPR 11            Group 1          its RF emissions are very low and are not likely to cause any
                                                        interference in nearby electronic equipment.

      RF emissions CISPR 11            Class B
                                                        The device is suitable for use in all establishments, including
      Harmonic emissions IEC                            domestic establishments and those directly connected to the public
                                     Class A *1
           61000-3-2                                    low voltage power supply network that supplies buildings used for
        Voltage fluctuations/                           domestic purposes.
       Flicker emissions IEC              *2
             61000-3-3
     *1 For the regions where the rated voltage is 220 V or greater, this device complies with class A. For the regions
     where the rated voltage is 127 V or less, this standard is not applicable.

     *2 For the regions where the rated voltage is 220 V or greater, this device complies with this standard.
     For the regions where the rated voltage is 127 V or less, this standard is not applicable.




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                           Guidance and manufacturer's declaration - electromagnetic immunity

    The device is intended for use in the electromagnetic environment specified below. The customer or the user of the
    device should assure that it is used in such an environment.

       Immunity test         IEC 60601 test level       Compliance level            Electromagnetic environment - guidance
                                                                                  Floor should be wood, concrete or ceramic
    Electrostatic           ±8 kV contact             ±8 kV contact               tile. If floors are covered with synthetic
    Discharge (ESD)         ±2, 4, 8, 15 kV air       ±2, 4, 8, 15 kV air         material, the relative humidity should be at
    IEC 61000-4-2                                                                 least 30%.
                            ±2 kV                     ±2 kV
    Electrical fast         for power supply lines    for power supply lines      Mains power quality should be that of a
    transient/burst IEC
                            ±1 kV                     ±1 kV                       typical commercial or hospital environment.
    61000-4-4
                            for input/output lines    for input/output lines

                            ±0.5, 1 kV line(s) to     ±0.5, 1 kV line(s) to
    Surge                   line(s);                  line(s);                    Mains power quality should be that of a
    IEC 61000-4-5           ±0.5, 1, 2 kV             ±0.5, 1, 2 kV               typical commercial or hospital environment.
                            Line to ground            Line to ground

                            0% UT for 0.5 cycle (1    0% UT for 0.5 cycle (1      Mains power quality should be that of a
    Voltage, dips, short    phase)                    phase)                      typical commercial or hospital environment.
    interruptions and                                                             If the user of the device requires continued
                            0% UT for 1 cycles        0% UT for 1 cycles
    voltage variations
                            70% UT for 25/30          70% UT for 25/30 cycles     operation during power mains interruptions,
    on power supply
                            cycles (50/60 Hz)         (50/60 Hz)                  it is recommended that the device be
    input lines
    IEC 61000-4-11          0% UT for 250/300         0% UT for 250/300           powered from an uninterruptible power
                            cycles (50/60Hz)          cycles (50/60Hz)            supply or a battery.

    Power frequency
                                                                                  Power frequency magnetic fields should be at
    (50 or 60 Hz)
                           30 A/m (50 or 60 Hz)       30 A/m at 50 Hz             levels characteristic of a typical location in a
    magnetic field IEC
                                                                                  typical commercial or hospital environment.
    61000-4-8

    NOTE: UT is the a.c. mains voltage prior to application of the test level.


                           Guidance and manufacturer's declaration - electromagnetic immunity
    The device is intended for use in the electromagnetic environment specified below. The customer or the user of
    the device should assure that it is used in such an environment.
     Immunity test         IEC 60601 test level      Compliance level             Electromagnetic environment - guidance
                                                                              Portable and mobile RF communications equipment
                                                                              should be used no closer to any part of the device,
                                                     3 Vrms (V1=3) at         including cables, than the recommended separation
                          3 Vrms at 0.15 – 80                                 distance calculated from the equation applicable to
    Conducted RF                                     0.15
                          MHz & 6V at ISM                                     the frequency of the transmitter.
    IEC 61000-4-6                                    – 80 MHz & 6V at
                          Frequency                                           Recommended separation distance
                                                     ISM Frequency




                                                                              where P is the maximum output power rating of the
                                                                              transmitter in watts (W) according to the transmitter
                                                                              manufacturer and d is the recommended separation
                                                                              distance in meters (m).
                                                                              Field strengths from fixed RF transmitters, as
                    3 V/m                            3 V/m (E1=3)             determined by an electromagnetic site survey a
    Radiated RF IEC
                    80 MHz to 2.7 GHz                80 MHz to 2.7 GHz        should be less than the compliance level in each
    61000-4-3
                    80% AM at 1kHz                   80% AM at 1kHz           frequency rangeb
                                                                              Interference may occur in the vicinity of equipment
                                                                              marked with the following symbol:




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    NOTE 1: At 80 MHz and 800 MHz, the higher frequency range applies.
    NOTE 2: These guidelines may not apply in all situations. Electromagnetic propagation is affected by absorption and
    reflection from structures, objects and people.
    a
      Field strengths from fixed transmitters, such as base stations for radio (cellular/cordless) telephones and land mobile
    radios, amateur radio, AM and FM radio broadcast, and TV broadcast cannot be predicted theoretically with accuracy.
    To assess the electromagnetic environment due to fixed RF transmitters, an electromagnetic site survey should be
    considered. If the measured field strength in the location in which the device is used exceeds the applicable RF
    compliance level above 3V/m., the device should be observed to verify normal operation. If abnormal performance is
    observed, additional measures may be necessary, such as reorienting or relocating the device.
    b
        Over the frequency range 150 kHz to 80 MHz, field strengths should be less than 3 V/m.

                  Test specifications for enclosure port immunity to RF wireless communications equipment
                                                                                                                     Immunity
                                                                                          Maximum       Distance
        Test frequency (MHz)      Banda MHz        Servicea           Modulationb                                    test level
                                                                                          power (W)        (m)
                                                                                                                       (V/m)

                                                                   Pulse modulationb
                385                380-390       TETRA400                                    1.8           0.3             27
                                                                         18 Hz

                                                 GMRS460,         FMc±5kHz deviation
                450                430-470                                                    2            0.3             28
                                                  FRS460              1 kHz sine
                                                                                      b
                710               704 -787     LTE band 13,17      Pulse modulation          0.2           0.3             9


                  Test specifications for enclosure port immunity to RF wireless communications equipment
    745                                                                 217 Hz
    780
    810               800-960        GSM 800/900, TETRA800, i DEN           Pulse modulationb 18 Hz          2      0.3         28
                                     820, CDMA 850, LTE Band 5
    870
    930
                      1700-1990      GSM 1800; CDMA 1900; GSM 1900;         Pulse modulationb 217 Hz
    1720                             DECT; LTE Band 1,3,4,25; UMTS
    1845
                                                                                                             2      0.3         28
    970

                                     Bluetooth, WLAN, 802.11 b/g/n, RFID Pulse modulationb 217 Hz
    2450              2400-2570                                                                              2      0.3         28
                                     2450, LTE Band 7
    5240              5100-5800      WLAN 802.11 a/ n
    5500                                                                 Pulse modulationb 217 Hz           0.2     0.3         9
    5785
    a
     For some services, only the uplink frequencies are included.
    b
     The carrier shall be modulated using a 50 percent duty cycle square wave signal.
    c
      As an alternative to FM modulation, 50 percent pulse modulation at 18 Hz may be used because while it does not
    represent actual modulation, it would be worst case.
                  WARNING Portable RF communications equipment (including peripherals such as antenna cables and
    external
                   antennas) should be used no closer than 30 cm (12 inches) to any part of the device, including cables
    specified
                   by the manufacturer. Otherwise, degradation of the performance of this equipment could result.

    The minimum separation distance for higher immunity test levels shall be calculated using the followin
    equation:               , where P is the maximum power in watts (W),d is the minimum separation distance in meters
    [m),


     and Fis the immunity test level in V/m.




                                  Please visit www.miis.com.tw for more information.



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